Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 1 of 145




             EXHIBIT 1
Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 2 of 145




          Expert Report of Alexandra Levine, M.D., M.A.C.P

                      Hardeman v. Monsanto
     Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 3 of 145




I.     Qualifications


       I am a hematologist/oncologist and Professor of Medicine at City of Hope
National Medical Center, an NCI sponsored Comprehensive Cancer Center, where I
also served as Chief Medical Officer from 2007 through 2016. I am a Distinguished
Professor of Medicine, Emeritus, at the University of Southern California, where I also
served as the Bloom Family Chair in Medicine and Lymphoma, the Executive Associate
Dean of the Medical School (1985-1990), the Chair of the Division of Hematology
(1991-12/2006), and the Medical Director of the USC/Norris Cancer Hospital (1996-
2006). I specialize in diagnosis and treatment of patients with hematological
malignancies, particularly non-Hodgkin lymphoma (NHL), and the lymphomas
associated with HIV. I have an active clinical practice seeing patients, and have cared
for over a thousand patients with NHL over my career. I was elected a Master of the
American College of Physicians in 2009.

        I have been an active researcher, related primarily to NHL, and to the
lymphomas associated with infectious organisms, including HIV and CMV among
others. I have published over 325 papers in the scientific/medical peer-reviewed
literature, and was funded consistently as a Principal Investigator for my research by the
National Institutes of Health (NIH), from 1982 through 2012. I have served two 5-year
terms on the Board of Scientific Counselors of the NCI, and one 5 year term on the
Oncologic Drug Advisory Committee of the FDA. I was chosen by President Bill Clinton
to become a member of his Presidential Advisory Committee on HIV/AIDS in 1995, and
served as Chair of the Research Committee for this group until 2000. I have served as
a consultant to the public health departments of India, China, Russia, Chile and Mexico
concerning the epidemic of HIV and the malignancies associated with this infection.

       I graduated Phi Beta Kappa from the University of California at Berkeley, and
then obtained my MD degree from the Keck School of Medicine, University of Southern
California, where I received the Alpha Omega Alpha award, the equivalent of Phi Beta
Kappa in medical schools. I completed a residency in Internal Medicine at Los Angeles-
USC Medical Center. Subsequently, I completed an oncology fellowship at Emory
University in Atlanta, Georgia, then returned to LAC-USC Medical Center to complete a
fellowship in hematology.

       A copy of my Curriculum Vitae is attached to this report as Exhibit A. In forming
my opinions in this matter, I have relied on my training and expertise, as well as
standard scientific literature in the field. I have reviewed the medical literature and other
materials listed in Exhibit B. I have also reviewed the medical records and other
materials relevant to Mr. Hardeman’s case listed in Exhibit C. I am being compensated
at the hourly rate of $500 for my work in this matter. I have not testified as an expert
witness either in deposition or trial in the past four years.




                                             2
        Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 4 of 145




II.      Assignment and Summary of Opinions

        I have been asked to evaluate the medical history of Mr. Edwin Hardeman, to
determine if there is medical evidence indicating that exposure to Roundup (glyphosate)
caused or substantially contributed to his development of diffuse, large B-cell non-
Hodgkin lymphoma. My report has been prepared using the same methodology and
scientific rigor as used in my academic and clinical practice, and my opinions are
offered to a reasonable degree of medical certainty. Many of the concepts discussed in
this report involve basic scientific principles from the fields of oncology and hematology.
As such, I reserve the right to provide context for my opinions by testifying to the basic
science in these fields. I further reserve the right to supplement this report in the event
that additional information is made available to me; to respond to any additional
testimony by plaintiff’s experts; and to use graphics or demonstratives at trial to illustrate
the concepts discussed in my report.

      As explained more fully below, my opinions and the bases for my opinions to a
reasonable degree of medical certainty are as follows:

•     In most cases, the cause of a patient’s Non-Hodgkin Lymphoma (NHL) is unknown
      and most patients have no known risk factors other than age. This remains true for
      Diffuse Large B Cell Lymphoma (DLBCL), the most common subtype of NHL and
      the subtype diagnosed in Mr. Hardeman.

•     In Mr. Hardeman’s case, his medical records and testimony indicate that he had
      long-term infection by the Hepatitis C Virus (HCV), which is a known cause of NHL
      and was the likely cause of his DLBCL.

•     Mr. Hardeman also had evidence of a history of infection with the Hepatitis B Virus
      (HBV), which may have caused or contributed to his DLBCL.


•     Mr. Hardeman is obese, as documented in his medical records. Obesity is a modest
      risk factor for development of DLBCL.

•     The opinions of Plaintiff’s experts, Drs. Weisenbuger, Shustov, and Nabhan are
      methodologically inappropriate. First, there is no reliable evidence that Roundup
      (glyphosate) causes NHL, or B-cell lymphoma, or specifically DLBCL. Second,
      when considering the possible causes of lymphoma, it is inappropriate to lump all
      NHLs together, as there are more than 60 subtypes of NHL that are etiologically
      diverse. Third, the use of agricultural workers who were, or were not exposed to
      glyphosate is an entirely valid population group in which to study the question which
      was posed in the updated (2018) Agricultural Health Study, contrary to the opinion of
      the plaintiff’s expert. Fourth, population based data in the USA do not confirm an
      increase in the incidence of NHL or DLBCL after use of glyphosphate increased
      substantially in the USA, starting in the late 1990’s.




                                              3
         Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 5 of 145




•      Finally, there is no methodology by which one could conclude that Roundup caused
       or contributed to a given patient’s NHL. There is no test, biomarker, or genetic
       signature associated with DLBCL that either suggests or proves that a given case of
       DLBCL was caused or contributed to by Roundup. Even if we assume that
       glyphosate is a risk factor for NHL (which is unproven), one cannot assign any level
       of contribution of glyphosate to an individual’s NHL within the context of the vast
       majority of DLBCL patients who lack history of such exposure, even when use of the
       product increased substantially in the USA. The methods used by Plaintiff’s
       experts are inconsistent, selective, and unreliable as evidenced by the relatively
       superficial manner in which other known (IARC Group 1) risk factors for DLBCL,
       such as HCV, and HBV are considered.

III.      Non-Hodgkin Lymphoma Overview

        There are a number of standard medical textbooks and published peer-reviewed
articles in the medical literature that explain the complex field of lymphoma in detail,
some of which are listed in the accompanying footnote.1 What follows below is an
extremely brief overview of some key points and reviews regarding non-Hodgkin
lymphoma.

          A.     General Concepts: Causes of Cancer

        Cancer is a complex group of diverse diseases, manifest by an uncontrolled
growth of cells. This unregulated growth, or unregulated ability of cells to die
(apoptosis) is ultimately a defect of the DNA, which is the genetic material found in each
cell, and derived from a person’s mother and father. During the course of life, DNA
controls all biologic life processes, from something as simple as the color of a person’s
hair, to processes as complex as the control of cell growth and death. After birth, DNA
may be damaged by a number of factors, including sunlight, radiation, chemicals,
viruses, and others. If DNA is damaged, multiple repair mechanisms come into play,
allowing death of the cell itself, or repair of the DNA damage. Cancer may be caused
by an inability of cells to die normally, in the case of DNA damage, or the inability to
repair DNA damage, once it has occurred. Depending upon the specific area of DNA
damage, uncontrolled cell growth, and malignancy may ensue.

       Individuals may also be born with specific defects in the DNA, which lead to an
increased risk of cancer over the course of life. Aside from these known, congenital
DNA defects, other defects must also exist, which are not yet recognized. Thus, certain
families appear to have a high prevalence of cancer among family members, with
multiple different types of cancer diagnosed, and no specific congenital defect yet


1
 Horning,SJ,Hardy,R (2012); Dunleavy. K; Wilson,WH (2014); Pasqualucci,L; Dalla-Favera,R (2018);
Zelentz,AD, et al (2016); Armitage,JO, et al (2017); Jakobsen,LH, et al (2017).




                                                 4
     Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 6 of 145




identified. These “cancer prone” families suggest the presence of other genetic
defects, not yet recognized, which may explain the increased prevalence of multiple
types of cancer in these families.

        The immune system is responsible for recognizing foreign cells, and destroying
them, so that we may continue to live. If the immune system is weakened due to any
cause, an individual may develop very serious infections, termed “opportunistic
infections”, since the germs involved have taken the opportunity of the person’s
weakened resistance to cause serious infections. Similarly, the immune system is
responsible for recognizing cancer cells as foreign, and destroying these cancer cells,
before they have the opportunity to divide and metastasize widely throughout the body.
In the setting of immune deficiency, individuals may be at increased risk for cancer,
since normal mechanisms of “immune surveillance” do not allow the early recognition
and destruction of these few cancer cells. Thus, the risk of cancer is also increased by
various factors which weaken the immune system.

       The occurrence of cancer is thus a multi-step process, consisting of both
congential and/or environmental factors which have occurred in one individual, leading
to the eventual diagnosis of cancer. Ultimately, the cause of cancer is related to the
development of specific abnormalities of the DNA, in the absence of appropriate repair
mechanisms, or appropriate immune mechanisms to detect and destroy the malignant
cell before it can divide and spread.

       B.     What is Non-Hodgkin Lymphoma?

       Non-Hodgkin lymphoma (NHL) is a form of cancer that originates in lymphocytes,
a type of white blood cell produced in the lymph glands and bone marrow, which then
circulate in the blood and tissues. The function and purpose of these lymphocytes is to
keep the body free of foreign “invaders”, such as germs or other foreign substances. In
general, lymphocytes may be classified as either B-lymphocytes, whose function is to
recognize and then kill foreign invaders via production of protein antibodies; or T-
lymphocytes, which directly kill these invaders.

         There are over 60 different types of NHL, and each of these is a specific entity,
with differing mechanisms of pathogenesis, and often, differing modes of optimal
therapy and prognosis. In general, lymphomas may be classified as having been
derived from either B lymphocytes or from T lymphocytes. Approximately 90 percent of
NHLs originate in B-cells, and approximately 10% originate in T-cells. Hodgkin
lymphoma is a specific type of B cell lymphoma; all other types of either B or T-cell
lymphomas are termed and considered sub-types of “non-Hodgkin lymphoma”.

        In general, lymphoma is caused by an error which has occurred within the
genetic material (DNA) of a given B or T lymphocyte. The error occurs during the
lifetime of the affected individual, and does not occur prior to birth as a congenital
defect. The specific error which occurs in a given patient/case is not uniform among all
lymphomas, but is specific to the type of lymphoma which ensues. While scientists
currently understand the mechanisms or causes of some of these errors in the DNA


                                            5
        Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 7 of 145




(how or why they first occurred), we do yet understand the specific cause or mechanism
in most cases of lymphoma.

          In a very abbreviated and simplistic way, the specific accident or error within the
DNA, leading to the various types of lymphoma, causes the damaged lymphocyte to
divide over and over, without the ability to stop. Furthermore, while normal cells have a
finite lifetime, and die only to be replaced by new, normal cells, this is not the case in
lymphoma, where the accident in the DNA often also causes these damaged cells to
lose the ability to die. Thus, while normal cells are well controlled and regulated in
terms of their growth and death, this is not the case with the malignant lymphocyte,
which divides forever and never dies, eventually taking up all of the space in the bone
marrow, so normal blood cells cannot be made. Since lymphocytes normally circulate
throughout the entire body, these malignant lymphocytes can do the same, and the
lymphoma cells come to settle (or metastasize) in many parts of the body, including the
liver, spleen, lymph nodes, and other organs. The function of these involved organs
will be compromised, as the lymphoma cells come to replace more and more of the
normal tissues.

          C.      How common is NHL?

      According to the American Cancer Society, NHL accounts for about 4% of all
cancers in the United States. In 2018, approximately 74,680 people will be diagnosed
with NHL. The average American’s risk of developing NHL during his or her lifetime is
about 1 in 47.2 Approximately 30-35% of these cases will be diagnosed as Diffuse
Large B Cell Lymphoma (DLBCL).

          D.       What Causes Diffuse Large B Cell Lymphoma?

                  1.     Hepatitis C as a cause of DLBCL

       In most instances, the cause of NHL, or the specific error in the DNA which
causes it, is unknown. However, it has been established that certain germs—viruses,
bacteria or parasites-- can cause the changes leading to lymphoma. Thus, the
International Agency for Research in Cancer (IARC) defines 10 organisms as well
established, definite carcinogenic agents in humans (Group 1). These organisms
include:

•     Hepatitis C (as causing liver cancer and lymphoma);
•     Hepatitis B (as causing liver cancer);
•     Human Papillomavirus (HPV, causing cervical, penile, vulvar, vaginal, anal and
      oropharyngeal cancers);
•     Human T-cell lymphotropic virus type I (HTLV-1, causing Adult T cell
      leukemia/lymphoma);


2
    https://www.cancer.org/cancer/non-hodgkin-lymphoma/about/key-statistics.html



                                                    6
      Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 8 of 145




•   Epstein-Barr Virus (EBV, causing Hodgkin lymphoma, Burkitt lymphoma,
    nasopharyngeal cancer; NK/T lymphoma; and squamous cell cancer of the
    conjunctiva);
•   Helicobacter pylori (H. pylori, causing non-cardia gastric cancer, gastric cardia
    cancer and gastric lymphoma);
•   Kaposi sarcoma-associated herpes virus (KSHV or HHV8, causing Kaposi sarcoma
    and Castlemans related lymphoma);
•   Opisthorchis and clonorchis (causing bile duct cancer); and
•   Schistosoma haematobium (causing bladder cancer).

      Additionally, IARC considers HIV as a co-factor, causing an increased risk of
aggressive, high grade B cell lymphomas.

       Of the approximate 14 million new cancer cases diagnosed globally in 2012,
92% of those caused by infectious agents were due to H pylori, HPV, HBV or HCV.
Furthermore, approximately 25% of all cancers in resource-poor regions of the world,
and 10% of those in resource rich areas are caused by germs.
       Thus, to reiterate in terms of HCV, IARC has concluded that “Chronic infection
with HCV causes…non-Hodgkin lymphoma… Chronic infection with HCV is
carcinogenic to humans (Group 1)” IARC Monograph 100B, Hepatitis C Virus (2012).

        The conclusion by IARC that HCV is carcinogenic to humans, and “causes..non-
Hodgkin lymphoma” is based upon numerous studies in the scientific and medical
literature that link Hepatitis C with certain types of NHL, and specifically link HCV with
the subtype of NHL with which Mr. Hardeman was diagnosed, namely DLBCL. These
studies include, but are not limited to the references listed in the accompanying
footnote.3

                2.      Hepatitis B as a Cause of DLBCL

      Hepatitis B is also listed by IARC as a human carcinogen (Group 1, definite), as
causing liver cancer.

      Recent evidence, both epidemiologic and biologic, indicates that HBV is also
associated with development of DLBCL. Meta-analyses have demonstrated that HBV


3
  Franzin,F, et al (1995), Duberg,A S, et al (2005), De Sanjose,S, et al (2008); Nieters,A, et al (2006);
Cerhan,JR, et al (2014) Marcucci,F; Mele,A (2011); De Martel,C, et al (2012); Villa,D (2016); Arcaini,L, et
al (2016); Levine,AM, et al (2003); Machida,K, et al (2004); Sung,VMH, et al (2003); Machida,K, et al
(2004); Machida,K; et al (2006); Kawamura,Y, et al (2007); Seeff,LB et al (2000); Zuckerman,E, et al
(1997); Zuckerman,E, et al (2001); Andreone,P, et al (1998); Kitay-Cohen,Y, et al (2000); Hermine,O, et
al (2002); Canioni,D, et al (2016); Austria,A, Wu,GY (2018); Dal Maso,L, Franceschi,S (2006); Pardo,M,
et al (2006); Arcaini,L, et al (2016); Chen,AY, et al (2013); Wood,DE, et al (2018); Bruix,J, Sherman,M
(2011); Stroffolini,T, et al (2004); Takeshita M, et al (2006); Mahale P, et al (2016)..




                                                     7
      Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 9 of 145




infected patients have a two- to three-fold higher risk of development NHL, including
DLBCL.

        Furthermore, molecular mechanisms have been described that define the precise
way in which malignancy may occur in HBV infected patients, leading to DLBCL. In a
study of 275 Chinese patients with DLBCL, whole-genome/exome sequencing of 96
tumors and respective peripheral blood samples, along with targeted sequencing of 179
tumors from these patients was performed. HBV infected patients (HbSag positive)
were compared to those who were HbSAg negative. An increased total mutation load
was found in the HbsAg+ patients, along with a distinct set of mutated genes. BCL6
was the lymphoma related gene most frequently mutated (79%) in the HBsAg+ DLBCL
tissues, similar to Mr. Hardeman’s DLBCL, which also revealed mutation of the BCL6
gene. Additional HBV associated gene expression included enrichment of genes
regulated by BCL6, FOXO1, and ZFP36L1. Aside from distinct molecular features in
the HBV positive DLBCL cases, the clinical presentation of these individuals was also
distinct. These patients often presented with a younger age, more aggressive disease,
and a shorter survival.

       Medical literature demonstrating the relationship between Hepatitis B and
increased risk of developing DLBCL is presented in the accompanying footnote.4

                3.      Autoimmune Disease, Atopic disease (Eczema), and Use of
                        Corticosteroids

       An increased incidence of aggressive lymphoma has been well described in
persons with congenital or acquired abnormalities of the immune system, or in those
who take medicines to suppress their immune systems. Patients with autoimmune
disease, such as Sjogren’s syndrome, rheumatoid arthritis and lupus erythematosis
have an increased risk of lymphoma, and specifically of DLBCL. The incidence of
lymphoma is also increased among people who have undergone organ transplantation,
with receipt of prednisone and/or other drugs which suppress the immune system to
prevent rejection of the transplanted organ. Use of corticosteroids, such as prednisone,
or other immunosuppressive medications (such as TNF inhibitors) have also been
associated with increased risk of NHL in general, and DLBCL in particular. Patients
with various immunodeficiency states, such as HIV infection are also at increased risk of
lymphoma.

        While allergic conditions (atopic diseases) such as asthma, hay fever and food
allergy are associated with a significant reduction in the risk of NHL, eczema has been
statistically associated with development of lymphoma in the skin.

     Medical literature which confirms the relationship between iatrogenic
immunosuppression (caused by use of medicines which suppress the immune system)

4
 Marcucci,F, et al (2006); Chen,MH, et al (2008); Engels,EA, et al (2010); Dalia,S, et al (2013); Deng,L,
et al (2015); Visentini,M, Casato,M (2018); Ren,W, et al (2018).



                                                    8
        Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 10 of 145




and increased risk of lymphoma includes the articles listed in the accompanying
footnote.5

                  4.      Obesity and Age

        Similar to most types of malignant disease, DLBCL is more likely to occur in older
people, over the age of 60 years. Nonetheless, while age > 60 years has traditionally
been considered a poor prognostic indicator for patients with DLBCL, scientific data has
shown that these older individuals, even those up to 80 or more, may do remarkably
well with standard R-CHOP chemotherapy, with over half attaining complete remission
of the lymphoma.

        Obesity (Body mass index ≥ 30 kg/m 2 ) has also been documented as a modest
risk factor for development of NHL, and for other types of cancer as well. While
published studies are inconsistent in terms of this risk, higher BMI (≥ 35 mg/m2 ) has
been statistically associated with increased risk of DLBCL as well as follicular
lymphoma. The relationship between obesity and cancer development is thought to
relate to chronic inflammation, mediated by development of insulin resistance, and the
pro-inflammatory state which ensues. Additionally, several pro-inflammatory cytokines
are increased among obese individuals, such as Tumor Necrosis Factor-alpha (TNF-α)
which is made by fat cells and released into the circulation, again creating a mileau of
chronic inflammation. Chronic inflammation is a known setting in which NHL may
develop, often referred to as “chronic antigenic stimulation”, causing on-going
proliferation and division of the immune cells, including lymphocytes, which are then at
increased risk of acquiring genetic errors.6



IV.       Roundup (Glyphosate) and NHL Epidemiology

      Roundup (active ingredient glyphosate) is an herbicide used in farming and
landscaping. Glyphosate interferes with the synthesis of aromatic aminos by inhibiting
the enzyme 5-enolpryuvylshikimate-3-phosphate synthase, which is responsible for
biosynthesis of tehamino acideds phenylalanine, tyrosine and tryptophan via the
shikimate pathway, a mechanism specific to plants. Several studies have investigated
whether exposure to pesticides or herbicides, including glyphosate, increases the risk of
NHL.



5
  Penn,I (1979); Penn,I (1988); Horning,SJ, Hardy,R (1997) (Page 561 states, “Risk Factors (for
lymphoma): People with congenital or acquired abnormalities of their immune systems or who take
medicine to suppress their immune systems have a higher incidence of lymphoma.”)



6
    Horning,SJ,Hardy,R (2012); Chiu BC, et al, (2007); Stallone DD (1994).



                                                     9
     Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 11 of 145




       An IARC Monograph published in 2015 collected the published epidemiological
evidence that was available at the time and found “limited evidence in humans for the
carcinogenicity of glyphosate. A positive association has been observed for non-
Hodgkin lymphoma” (IARC Monograph 112, Section 6.1). The Preamble to the
Monograph defines “limited evidence” as follows:

      Limited evidence of carcinogenicity: A positive association has been
      observed between exposure to the agent and cancer for which a causal
      interpretation is considered by the Working Group to be credible, but
      chance, bias or confounding could not be ruled out with reasonable
      confidence.

In an epidemiologic study, when chance, bias or confounding cannot be ruled out with
reasonable confidence, that means a true association has not been scientifically
established . At most, the association is a hypothetical possibility.

       I have reviewed the several key epidemiologic studies regarding glyphosate that
were considered by IARC (McDuffie 2001, Hardell 2002, DeRoos 2003, Ericksson
2008), all of which are case-control studies. In addition, I have reviewed important
findings from a large prospective cohort study, the Agricultural Health Study, that were
published in 2018; these data were published subsequent to the IARC Monograph and
were not considered or discussed in that review.

       A prospective cohort study is a type of observational scientific research study in
which a group of individuals who share pre-defined characteristics (eg, licensed
pesticide/herbicide applicators) is classified according to a certain characteristic (eg,
exposure or non-exposure to a particular type of herbicide) and then followed
prospectively over time. The health outcomes of the exposed and non-exposed groups
can then be compared to see if the exposure appears to have had an adverse effect.

       The Agricultural Health Study (Andreotti et al, 2018) is a prospective cohort
study, funded and sponsored by the US National Institutes of Health, of more than
57,310 licensed pesticide applicators from either Iowa or North Dakota, who were
enrolled between 1993 and 1997, and followed through 2012 or 2013. This is the
largest, most recent, and most rigorous study that has been conducted to investigate
exposure to pesticides/herbicides formulated with glyphosate as the active ingredient
and the risk of lymphoma.

       The study was specifically designed to investigate the possible association
between pesticide/herbicide use and other farming factors potentially related to cancer
and other health outcomes. An extensive survey which included description of the
number of days/year and number of years of total glyphosate usage was performed at
baseline. Approximately 63% completed a follow up phone interview approximately 5
years after enrollment (1999-2005). Approximately 75% of study participants were
exposed to glyphosate. Study data were adjusted for subject age, history of cigarette
smoking, alcohol use, family history of cancer, state (Iowa or North Dakota), body mass
index (BMI), and the 5 pesticides most highly correlated with glyphosate, based upon


                                           10
      Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 12 of 145




lifetime days and intensity-weighted lifetime days, derived from an algorithm based on
whether the participant mixed or applied pesticides, repaired pesticide-related
equipment, used personal protective equipment, and application method used. Where
specific data were missing over time, a data-derived multiple imputation procedure was
used to impute pesticide use since enrollment. Additional adjustments were made for
occupational exposure to solvents, gasoline, x-ray radiation, and engine exhaust and
pesticides linked to lymphohematopoietic malignancies in previous AHS analyses
(lindane, DDT, diazinon, terbufos, and permethrin).

       In primary analyses, exposure information was included from two time points:
baseline and then 5 years later. When restricted to exposure reported at enrollment,
the patterns of risk were the same as analyses that considered glyphosate use reported
both at enrollment and in follow up.

       The categories of lifetime days of glyphosate use were as follows: Quartiles: 1-
13.74; 13.75-38.74; 38.75-108.4; and >38.75 days. The linear trend was evaluated
using the median of each exposure category as a continuous variable. The authors
also evaluated lagged exposure, calculating cumulative exposure for each year of follow
up until cancer diagnosis, death, movement out of state or end of cohort cancer
incidence follow up, and then subtracted the lag interval of 5,10, 15 or 20 years.

      In this carefully controlled, large, prospective cohort study, “We observed no
association between glyphosate use and overall cancer risk, or with total
lymphohematopoietic cancers, including non-Hodgkins lymphoma and multiple
myeloma.”

      Specific data on cancer incidence in relation to intensity-weighted lifetime days of
glyphosate use in the AHS are as follows:


CANCER SITE         GLYPHOSATE USE               NO.         RR (95% CI) p TREND


All cancers         None                        1511          1.00 (reference)
                    Quartile 1                  1445          0.99 (.91-1.07)
                    Q2                          1443          0.99 (.91-1.07)
                    Q3                          1440          1.04 (.96-1.13)
                    Q4                          1451          0.99 (.91-1.08)    0.91

NHL                 None                        135           1.00 (reference)
                    Q1                          113           0.83 (.59-01.18)
                    Q2                          104           0.83 (.61-1.12)
                    Q3                          112           0.88 (.65-1.19)
                    Q4                          111           0.87 (.64-1.20)    0.95

B cell NHL          None                        128           1.00 (reference)



                                           11
     Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 13 of 145




                    Q1                          102          0.79 (.55-1.13)
                    Q2                           93          0.76 (.56-1.05)
                    Q3                          106          0.88 (.64-1.21)
                    Q4                          103          0.86 (.62-1.19)    0.86

         The AHS study is the largest and most comprehensive study of the effects of
glyphosate use on development of cancer yet published. This was a prospective cohort
study, enrolling only licensed applicators of pesticides/herbicides, which was controlled
for correlated pesticides, and was able to collect data on precise numbers of days of
glyphosate use/year and number of years/lifetime of exposure. The results of this
critically important study were not considered by IARC when they concluded in 2015
that there was “limited evidence in humans for the carcinogenicity of glyphosate”.

       Further epidemiologic data which speaks against the concept that glyphosate
may cause NHL or B-cell lymphoma relates to the incidence of NHL and DLBCL over
time in the United States. The risk of NHL increased statistically from 1975 through
1990 in the US, from 30/100,000 to 50/100,000 in persons over 50 years of age. From
1990-2005, the incidence also rose, but more modestly, from 50 to 64/100,000. By
2004, the incidence of NHL began to plateau, and this plateau has been maintained.
Roundup came onto the market in the USA in 1974. By the late 1990’s, the amount of
Roundup use increased substantially, due to the advent of crops that were genetically
engineered to be resistant to glyphosate. If glyphosate were the cause of NHL, or of B-
cell NHL, the incidence of these lymphomas would have increased statistically between
2004 and the present time. This is not the case. Further, any increase in DLBCL seen
between 1975-1990 in patients between the ages of 20-49 are considered to reflect the
epidemic of DLBCL seen in association with HIV/AIDS, and the lymphomas in these
individual decreased significantly between 1996 and 2014, at the precise time that
Roundup use was increasing substantially.

         Based upon the full extent of available epidemiologic data, I conclude to a
reasonable degree of medical certainty that glyphosate has not been proven to be a
cause of NHL or B cell NHL or DLBCL. In fact, according to IARC, glyphosate is a
Group 2A agent. At the very least, an objective scientist could not and would not
conclude that glyphosate is a cause of NHL or B-cell NHL. And, in fact, even IARC
itself, opining without availability of the important data from the updated AHS study
(2018) did not conclude that glyphosate was a definite (Group 1) human carcinogen.

V.    Mr. Hardeman’s Medical History

        Mr. Hardeman is currently a 70 year old male, who presented to his physicians in
12/2014 with symptoms of an upper respiratory tract infection and swollen cervical
lymph glands. With persistent enlargement of these nodes toward the end of January,
2015, the patient underwent fine needle aspiration of the node, which returned as
primarily necrotic material, without specific diagnosis. Subsequently, a needle biopsy of
a right sided cervical lymph node was performed on February 6, 2015, revealing diffuse
large B cell lymphoma. The lymphoma marked positive for CD20, Bcl2, and PAX 5, and


                                           12
    Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 14 of 145




had a proliferation index (Ki-67) of 80%. Molecular analysis (Flouresence in –situ
hybridization or FISH) revealed mutations of the following genes: Bcl6 and Bcl2,
without Myc rearrangement. PET scan on 2/20/2015 revealed abnormally high uptake
in multiple lymph nodes in the right neck, extending into the jugular region and into the
sternocleidomastoid muscle, as well as abnormalities in the submandibular nodes,
along with involvement of the retroperitoneal nodes in the abdomen, and the pancreatic
head. There was possible abnormal uptake in the right testes as well, though a
subsequent ultra-sound of this region revealed no mass, and only a spermatocele. The
bone marrow was negative for lymphoma when biopsied on 2/23/2015.

       The patient was stated to have stage IIIA disease, with an IPI (International
Prognostic Index) of 1, which was later amended to an IPI of 2 (low-intermediate
prognostic risk). He had lost about 5 pounds (218 pounds on 12/26/14 and 213 pounds
on 2/9/2015), and had apparently denied fevers or drenching night sweats. His only
symptom from the lymphoma, aside from enlarged lymph nodes in the neck, was
fatigue, which had been present in the past and was felt to be “symptomatic co-
morbidity from cirrhosis/marrow effects of Hepatitis B/C” (Physician note, 4/6/15).

        Mr. Hardeman began therapy using the R-CHOP regimen (rituximab-
cychlophosphamide, hydroxydaunomycin,oncovin (vincristine) and prednisone) on
2/24/2015. Subsequent cycles were given on 3/17/15 4/7/15; 4/28/15/ 5/19/15; and the
last cycle was given on 6/9/2015. He also received lamivudine as prophylaxis for re-
activation of his prior infection with Hepatitis B (see below), as well as other, routine
support medications with the chemotherapy. All enlarged lymph nodes in the neck were
described as “gone” after the second cycle. He had several episodes of low neutrophil
counts, and received dose reductions after cycle #3. He received a total of 6 cycles of
R-CHOP, the last of which was begun on 6/9/2015, and records indicate that he
seemed to tolerate the therapy reasonably well.

       A repeat post-therapy PET scan was performed on 7/13/2015 revealing that all
areas of increased tracer uptake had resolved, and the patient was considered to be in
a complete remission of his lymphoma. A repeat CT scan on 2/16/2016 revealed
improvement in cervical adenopathy (now 1.4 cm), fully consistent with the known
residual “lumps” post successful therapy in lymphoma patients. A repeat CT scan on
6/15/2018 revealed no evidence of enlarged lymph nodes anywhere in the body. There
was a questionable gall-bladder polyp (which he has had in the past), as well as non
specific thickening of the urinary bladder wall, and diverticulosis. There remains no
evidence of recurrent lymphoma as of this latest scan, nor has there been any clinical
evidence of relapse of his DLBCL.

      The patient had removal of an in situ melanoma from his left shoulder on
9/4/2018.

      Mr. Hardeman’s past medical history is of great importance, as it relates to his
diagnosis of diffuse large B cell lymphoma.




                                           13
    Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 15 of 145




        In 1966, Mr. Hardeman was living in the Haight Ashbury district in San Francisco.
Mr. Hardeman documents an approximate three year history of injection drug abuse at
that time, using amphetamines (speed) by vein. He also smoked marijuana at that time,
and was living with a girlfriend whom he believes was “possibly infected” (by HCV). He
also had sexual relations with three or four other women at the time. Mr. Hardeman
was also exposed to needles used for tattoos, having had a “homemade tattoo” on his
left arm, applied by “somebody” who was not a professional. Importantly, injection
drug use is a major cause of HCV transmission in the United States. Use of
contaminated needles for generating tattoos is another known cause of HCV
transmission, and HCV has also been shown to be transmissible by sexual
contact with an infected partner. The patient also states that he was denied
insurance by Kaiser in 1989 due to elevated liver enzymes. He subsequently re-
entered the Kaiser system in 1990, as part of job-acquired medical benefits, which did
not require exclusion for pre-existing conditions.

       In 2005, Mr. Hardeman was officially diagnosed with HCV infection, type 2b, after
cirrhosis of the liver was found on an ultrasound examination, ordered by his primary
physician at Kaiser. He was then tested for HCV as the possible etiology for the
cirrhosis, as he had a past history fully consistent with HCV exposure. A liver biopsy
was not performed to due to the presence of an enlarged spleen, and resultant low
platelet count, which would have been a risk for the procedure; both the enlarged
spleen and the low platelet count were caused by the cirrhosis. He received therapy for
the HCV from 12/2/2005 until 11/2006, a total of 48 weeks, using pegylated interferon
alfa and ribavirin. His HCV viral load at the start of antiviral therapy was 732,000
copies/ml (1/28/2005). At 12 weeks, his HCV viral load was negative, and he remained
HCV negative in terms of HCV viral RNA in the blood in January, 2007, and January
2009 and up to the present time (per 6/7/2015 lab result).

        Despite negative HCV viral load in the blood since early 2006, Mr. Hardeman
continues to undergo serial testing for hepato-cellular carcinoma (aka liver cancer,
HCC, or hepatoma), which is known to be caused by HCV (IARC). Surveillance for liver
cancer is recommended after successful HCV treatment and attainment of sustained
viral response (SVR) in the blood (serum). Despite elimination of HCV virus from the
serum, these patients remain at risk for HCC. This testing includes serial analysis of
alfa fetoprotein levels in the blood, as well as serial ultrasounds of the abdomen.
Consistent with recommendations, analysis of alfa fetoprotein, and ultrasound of the
abdomen were performed in Mr. Hardeman, on 7/31/2009, and 8/22/2014, a full 8 years
from the time of his first HCV negative test post therapy for same. These
recommendations are made, and were followed by Mr. Hardeman’s physicians because
the molecular abnormalities/errors induced by HCV, leading to liver cancer, occur years
prior to the time that a frank malignancy occurs or can be diagnosed, and persist even
though the virus itself may have been eradicated. The same concepts of trajectory for
HCV related lymphoma, and for most cancers in which we know the cause (eg, lung




                                           14
      Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 16 of 145




cancer and smoking) apply. The malignant disease may occur years after the precise
cause of that disease has been eradicated.7

        Aside from chronic HCV infection and cirrhosis, Mr. Hardeman also has history of
infection with Hepatitis B, with positive Core antibody to Hepatitis B determined on
1/28/15, causing him to be treated with lamivudine during the time of his R-CHOP
chemotherapy, to prevent re-activation of this virus, known to occur in the setting of
underlying Hepatitis B infection. The precise method of transmission of Hepatitis B to
Mr. Hardeman is presumably from his history of injection drug use, although sexual
transmission is also possible.

       Mr. Hardeman’s additional past medical history reveals occurrence of basal cell
carcinoma on the skin, as well as malignant melanoma in situ, removed from his left
shoulder on 9/4/2018. He also has history of atopic eczema, diagnosed on 1/25/2006,
but said to have been present “for years”. He has also received topical steroid creams in
the past for this. He was treated with oral prednisone in the past for sciatica, which
apparently occurred on one occasion; he did not take all of the prednisone pills, and had
some “left over” at the end of 2014.


VI.     Opinions Regarding Cause of Mr. Hardeman’s NHL

       There is no scientific basis or method to conclude that exposure to Roundup
caused or contributed to Mr. Hardeman’s NHL. The epidemiologic evidence discussed
above demonstrates that Roundup does not increase the risk of NHL in general, or of
the DLBCL subtype Mr. Hardeman developed. There is nothing in Mr. Hardeman’s
cancer pathology that implicates Roundup, nor is there anything different or unusual
about Mr. Hardeman’s clinical presentation suggestive of Roundup causation. There is
no test, biomarker, or genetic signature associated with Mr. Hardeman’s cancer that
either suggests or proves that his DLBCL was caused or contributed to by Roundup.

       On the other hand, it is likely that Mr. Hardeman’s chronic infection by the
Hepatitis C virus (HCV), caused or contributed to his DLBCL. HCV is a known human
carcinogen, as identified by IARC (Group 1, definite) and as proven by extensive data
published in the scientific and medical peer-reviewed literature, and provided herein.
The basis of this opinion is outlined below:

  • Epidemiologic studies confirming relationship between HCV infection and
subsequent development of lymphoma:


7
  Weissenberger (1992) (“One valid source of information on the latency period of NHL can be found in
the literature on NHL developing after the treatment of Hodgkin's disease with chemotherapy and/or
radiotherapy(24, 25). In such studies, the median latency period for NHL is about 5 to 6 yr (24, 25), not
unlike that for secondary acute leukemia (26, 27). In these studies (24, 25), the latency of NHL in some
cases was as short as 2 yr, but it may also be as long as >15 yr (28).”)



                                                    15
       Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 17 of 145




               -Case-control studies as well as large epidemiologic studies have
confirmed the statistically significant relationship between chronic HCV infection and the
subsequent development of lymphoma in general. In studies large enough to perform
subset analyses (De SanJose et al, 2008; Nieters et al, 2006), several sub-types of
lymphoma were found to be statistically increased among HCV infected persons,
including diffuse large B cell lymphoma (DLBCL), splenic marginal zone lymphoma, and
lymphoplasmactytic lymphoma.

   •    Biologic studies demonstrating plausibility that HCV can cause NHL:

             -HCV is capable of infecting B lymphocytes in humans, through binding of
 the HCV envelope glycoprotein E2 to CD81 and to the B cell receptor (BCR) on B
lymphocytes.

              -Binding of HCV to BCR results in chronic antigenic stimulation, allowing
ongoing proliferation of HCV infected B lymphocytes, thus allowing the opportunity for
development and accumulation of genetic lesions or “accidents/errors”, leading
eventually to the development of DLBCL and marginal zone lymphoma.

             -HCV has a “mutator phenotype”, potentially capable of causing multiple
mutations within the DNA of infected cells, with HCV thus capable of performing a
direct oncogenic role.

               -Expression of HCV core protein ( C ) and non-structural protein 3 (NS3)
 induce nitric oxide synthase (NOS) and reactive oxygen species (ROS), which could be
responsible for additional mutations as well as abnormalities in DNA repair systems,
eventually leading to the transformation to malignancy.

                -NS3 staining has been detected in both DLBCL cells (12/14 cases) and
Marginal zone lymphoma cells (4/14 cases), and expression of NS3 has been shown to
be statistically elevated in cases of DLBCL versus marginal zone (p=0.006, Canioni et
al, 2016).

              -Takeshita et al (2005) also demonstrated the presence of HCV-RNA
 within lymphoma tissue from 6 of 7 patients with DLBCL in the spleen; all tumor tissue
also demonstrated presence of HCV CD81, while 5/6 also demonstrated presence of
HCV NS3 and E2 proteins by immunohistochemistry. The presence of HCV-RNA, as
well as HCV NS3, E2 and CD81 proteins within DLBCL lymphoma cells, per se, is fully
consistent with the pathogenic role of HCV in lymphogenesis.

              -Successful treatment of HCV has resulted in complete remission of
marginal zone lymphoma among the majority of HCV infected patients studied by
Hermine et al (2002) and Arcaini et al (2016) among others, and in an HCV infected
patient with mantle cell lymphoma (Levine,AM et al). These data are consistent with
the concept that these malignant B cells remain addicted to the BCR signaling induced



                                           16
     Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 18 of 145




by HCV. While DLBCL cells are known to be infected by HCV by demonstration of HCV
RNA, and NS3 and E2 immunostaining within malignant lymphocytes, study of anti-HCV
treatment as sole therapy for aggressive lymphomas such as DLBCL would be ethically
difficult in this aggressive, fast growing lymphoma, and has not been accomplished to
date.

    • HCV remains present in peripheral blood lymphocytes and in liver cells
 after sustained virologic response to Pegylated interferon alfa and ribavirin, and
can thus cause lymphoma despite prior successful therapy for underlying HCV
infection:

               -The latency period, between the time that a given carcinogen is first
encountered, and the time at which a carcinogen-related malignancy is first diagnosed
is very long, often measured in several years or decades. Thus, while an overt cancer
may not become evident for many years after exposure, the malignant “event” or
mutation has already occurred in the cell of question. The fact that Mr. Hardeman’s
DLBCL occurred after his HCV had been treated successfully is not unusual, and has
been well described in the past. Furthermore, the definition of “Sustained Virologic
Response (SVR)” is rather arbitrary, and while initially thought to be consistent with
“cure” or complete elimination of HCV from the body, this has not been confirmed in
subsequent studies. The definition of SVR is as follows: Absence of detectable HCV-
RNA in the serum (or plasma) at 24 weeks (6 months) after completion of anti-HCV
therapy. As indicted above, we now understand that in the setting of SVR, occult
infection by HCV is often present. The definition of occult hepatitis C infection (OCI) is
the presence of HCV-RNA in hepatocytes (liver cells) or peripheral blood mononuclear
cells (specifically within the B lymphocytes in these PBMCs) without detectable HCV
RNA in the serum.

               -While HCV-RNA may become non-detectable in the serum after specific
 therapy for HCV, the peripheral blood B-lymphocytes, per se, often remain infected.
Thus, Pardo and colleagues (2006) studied the effect of pegylated-interferon and
ribavirin therapy (the same as received by Mr. Hardeman) in 10 HCV infected patients,
all of whom were HCV RNA positive in the peripheral blood mononuclear cells
(PBMC’s) at baseline. After completion of therapy, 80% of patients demonstrated
absence of HCV RNA in the PMBCs. However, at 24 weeks post therapy, only 30%
had sustained responses in terms of HCV RNA in PMBCs, and 5/5 patients who
underwent a second liver biopsy also had persistence of HCV within liver cells, even
though the HIV-RNA in serum had returned to non-detectable. This study indicates that
while HCV RNA in serum may become non-detectable post therapy with Peg-IFN and
ribavirin, the HCV RNA remains present within PBMCs (B-lymphocytes) and liver cells
in the majority of patients over time, allowing for on-going mutational events.

               -A second study by Chen et al (2013) has confirmed the lack of clearance
of HCV from peripheral blood B lymphocytes after treatment with pegylated interferon-a
plus ribavirin (PegIFN/R) had resulted in a non-detectable HCV viral load in serum (ie:
among 34 post-treatment samples, none was HCV RNA positive in the serum using



                                            17
     Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 19 of 145




standard clinical assays; they had attained “sustained virologic response/SVR” in the
serum, using standard techniques). Nonetheless, using more sensitive techniques
(750ul of plasma tested as opposed to 250ul, and using RT-PCT/NAH), 8 of 9 patients
had detectable plasma HCV-RNA. Overall, using the more sensitive technique, a 3-fold
greater rate of HCV RNA detection was found (15.5% versus 50%, p=0.001). And,
overall, among 45 on-or post-treatment samples that were re-examined, only 3 (6.6%)
were HCV RNA positive by routine clinical assays, while 26 (57.7%) were positive for
HCV RNA by the more sensitive assays, giving in total an 8.7 fold increase in detection
of plasma HCV RNA (p<0.0001).

              -Importantly, the Chen study (2013) also evaluated the presence of HCV-
RNA in PBMCs of these PegIFN/Ribavirin treated patients. Based upon a prior finding
that mitogen stimulation (activation) of lymphocytes from HCV infected patients
increased virus replication, and thus, virus detection, ex vivo stimulation of the PBMCs
was performed (using PHA and IL-2), and HCV RNA expression was then evaluated.
Overall, HCV-RNA was found in 17/23 (73.9%) of PBMC samples tested. Among
these, 8/10 (80%) samples obtained during PegIFN/R therapy, and 4/8 (50%) acquired
after completion of successful treatment were HCV-RNA positive, indicating that
“sustained virologic response” as measured by routine clinical assays, post Peg/IFN/R
is associated with persistence of HCV-RNA within lymphocytes.

               -The Chen study (2013) further studied presence of positive versus
negative strand HCV-RNA in these subjects, with negative strand associated with
actively replicating (dividing) virus. In 15 samples so studied, 10 (67%) revealed
presence of replicating, negative strand HCV-RNA. Further, cultured PBMC from
subjects with occult hepatitis C infection (OCI) after successful PegIFN/R therapy
released HCV virus-like particles (that were identified by immunoelectron microscopy
with anti-HCV E2 antibodies) and these transmitted infection to virus-naïve human
lymphocytes in culture. Taken together, the accumulated data demonstrated that
HCV in immune cells (lymphocytes) fully retain biologic function, including
infectivity. These cells are thus reservoirs of replicating HCV, both during and
after PegIFN/R therapy.

               -The concept of persistent HCV infection post attainment of SVR has also
been shown in the setting of infection within liver cells. On-going presence of HCV-RNA
within hepatocytes occurs in patients previously treated successfully for HCV, and the
standard of practice among patients with history of cirrhosis due to chronic HCV
infection post successful HCV therapy is to continue surveillance monitoring for
hepatoma with regular ultra-sound examinations and alfa feto-protein analyses, every 6
to 12 months after receipt of successful HCV therapy (Bruix, 2011; Stroffolini, 2004).
This surveillance testing was routinely performed on Mr. Hardeman, with the last such
formal testing occurring on 8/22/2014, a full eight years after having been “successfully”
treated for HCV. The recommendation that surveillance testing for HCV associated liver
cancer be routinely performed after successful therapy of underlying HCV is testament
to the fact that the latent period between the initial exposure to a carcinogen and
subsequent development of malignancy caused by that carcinogen may be separated



                                           18
     Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 20 of 145




by years/decades, and the risk persists even after successful virologic suppression of
HCV in the serum. Mr. Hardeman’s physicians obviously knew and understood this risk,
and have continued to obtain repeat ultrasounds of his liver, and tests of alfa fetoprotein
in his blood, despite the fact that they believe he has attained a “sustained virologic
response” and has maintained this SVR for many years after therapy with
PegIfn+Ribavirin.

               -The concept of a viral infection remaining latent in the body for the life-
time of an individual after initial infection is not unusual or confined to HCV alone. Thus,
after infection by the chicken pox virus (Varicella), the virus is not killed or cured, but
rather, is suppressed by the body’s immune system, and then lives within the nerve
endings for as long as that person lives, and can re-activate itself at times of stress or
weakening of the immune system, coming out as V. zoster, or shingles. Another
example is Human Immunodeficiency Virus (HIV), which can now be successfully
managed with use of anti-retroviral drugs (anti-HIV medications), such that the HIV viral
load in the blood (serum, plasma) is “non-detectable”. Nonetheless, after years of
successful “non-detectability”, once the anti-HIV drugs are stopped, the HIV comes right
back; it has not been cured at all, but rather, the amount of virus has decreased in the
blood, allowing a return to health, while allowing the virus to be “latent” or
“occult/hidden” in the lymphocytes within the blood and organs. Epstein-Barr virus
remains latent within the body for a lifetime after initial exposure/infection, as well.
Thus, the fact that HCV can be successfully suppressed with therapy, without having
been “cured” or eradicated is not at all unique in medicine.

              -The concept of long delay between exposure to a carcinogen and
subsequent development of cancer—even in the absence of on-going exposure to that
carcinogen—may be thought of as a “hit and run” phenomenon, whereby a given agent
causes specific mutations in the DNA which persist over time, eventually leading to
malignant transformation, even though the offending agent is no longer present. One
such example may be seen in the setting of smoking-induced lung cancer. Thus,
current recommendations from the National Comprehensive Cancer Network (NCCN)
for decreasing the death rate from lung cancer among prior smokers call for
performance of low-dose CT scans of the chest in patients aged 55-74, with ≥ 30 year
history of smoking, who have stopped smoking for <15 years. These guidelines are
based upon the National Lung Screening Trial, which showed a 20% relative risk
reduction in mortality with screening, as these patients can now be diagnosed with early
stage lung cancer, curable by surgery alone, since the tumor has not yet metastasized
or spread. Again, the latent period between exposure to a carcinogen and subsequent
development of malignancy is long, measured in years or decades, even when that
exposure has ended, many years or more than a decade before.


       A secondary cause or contributing factor to Mr. Hardeman’s DLBCL may be
related to the fact that he has been infected by Hepatitis B in the past. The basis of this
opinion is as follows:




                                            19
       Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 21 of 145




  • Hepatitis B (HBV) infection has been associated with development of
DLBCL:

              -HBV is considered a human carcinogen by IARC (Group 1), as causing
hepatocellular carcinoma (HCC). Recent studies have indicated that HBV is also
capable of causing lymphoma, and specifically causing DLBCL, the same sub-type of
lymphoma diagnosed in Mr. Hardeman. Mr. Hardeman was also found to have been
infected with HBV in the past, with positivity to HBV Core antibody.

               -Epidemiologic studies have confirmed that DLBCL is 2 to 3 times more
common among HBV infected patients than in others. Molecular analysis has revealed
presence of HBV genome within DLBCL cells, and biologic mechanisms whereby HBV
could induce malignant transformation have been well described. These mechanisms
are distinct from those operative in HCV associated DLBCL.

       Other secondary causes or contributing factors to Mr. Hardeman’s DLBCL may
be related to the fact that he is obese, based upon his medical records; has history of a
skin rash that was treated with topical steroids, and was diagnosed as “atopic eczema”
by his physician, and has also received intermittent oral prednisone for sciata in the
past. The basis of this opinion is as follows:

  • Obesity, atopic eczema and use of corticosteroids have been associated
with development of DLBCL

            -Obesity, atopic eczema and use of corticosteroids or other
immunosuppressive medications have each been associated with modest increases in
the development of various types of NHL, including DLBCL.


VII.    Comments Regarding Plaintiffs’ Expert Reports

        I reviewed the reports of Plaintiff’s experts, Dr. Dennis Weisenbuger, Dr. Chadi
Nabhan, and Dr. Andrei Shustov (discussed in greater detail below). Their conclusions
are not based on proper or rigorous epidemiologic methodology First, there is no
reliable evidence that Roundup (glyphosate) causes NHL, or specifically DLBCL.
Second, when attempting to discern the etiology of a given case of NHL, it is
inappropriate to lump data from all types of NHLs together, as there are over 60 sub-
types of NHL, with diverse etiologies. Third, the use of agricultural workers who were,
or were not exposed to glyphosate is an entirely valid population group in which to study
the question which was posed in the updated (2018) Agricultural Health Study, contrary
to the opinion of the plaintiff’s expert. Fourth, there is no methodology by which one
could conclude that Roundup caused or contributed to a given patient’s NHL. There is
no test, biomarker, or genetic signature associated with DLBCL that either suggests or
proves that a given case of DLBCL was caused or contributed to by Roundup. Even if
we assume that glyphosate is a risk factor for NHL (which has not been proven), one
cannot assign any level of contribution of glyphosate to an individual’s NHL within the


                                           20
    Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 22 of 145




context of the vast majority of DLBCL patients who lack history of such exposure, even
when use of the product increased substantially in the USA. The methods used by
Plaintiff’s experts are inconsistent, selective, and unreliable as evidenced by the
relatively superficial manner in which other known (IARC Group 1) risk factors for
DLBCL, such as HCV, and HBV are considered.

      A.     Comments Regarding The Opinions of Plaintiffs’ Expert, Dr. Dennis
             Weisenburger

       Dr. Weisenburger outlines Mr. Hardeman’s specific use of glyphosate, and
concludes that his level of exposure was consistent with a causative role in his
development of DLBCL. Nonetheless, regardless of the specific level of exposure, it
cannot be considered to have caused or contributed to Mr. Hardeman’s DLBCL for the
following reasons:

             1.     IARC considers glyphosate to be a “probable” human carcinogen
                    (Group 2A), not a definite human carcinogen (Group 1).

             2.     IARCs designation of glyphosate as a Group 2A carcinogen was
                    made prior to the recent update of the large, prospective
                    Agricultural Health Study (2018), which was a prospective
                    evaluation of over 50,000 agricultural workers, which found no such
                    association between glyphosate use at any level and development
                    of DLBCL

             3.     IARC has designated HCV as a definite human carcinogen (Group
                    1)

             4.     Dr. Weisenburger overlooks the fact that replicating, infectious HCV
                    virus remains within liver cells and peripheral blood mononuclear
                    cells (B lymphocytes) both during and after attainment of “sustained
                    virologic response” to PegInterferon and Ribavirin. Thus, the HCV
                    is not cured by this therapy, and is still present within the body,
                    capable of inducing the DLBCL which it is known to cause.

       Dr. Weisenburger also recounts the specific aspects of Mr. Hardeman’s weight
and level of obesity as a possible co-factor in his development of NHL. As he notes,
obesity is clearly a risk-factor for NHL, and for other types of cancer as well. The
relationship between obesity and cancer development is thought to relate to chronic
inflammation, which is a known setting in which NHL may develop, often referred to as
“chronic antigenic stimulation”, causing on-going proliferation and division of the
immune cells, including lymphocytes, which are then at increased risk of acquiring
genetic errors. Mr. Hardeman was obese at the time of his diagnosis, and as noted by
Dr. Weisenburger, this may contribute to his NHL. Of interest, however, Dr.
Weisenburger discounts this known and proven association in favor of another
explanation for the NHL in Mr. Hardeman, namely, his exposure to glyphosate, which
has never been proven as a Group 1, definite, human carcinogen. While obesity cannot


                                          21
     Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 23 of 145




be ruled out as contributing to his development of DLBCL, the most likely cause or
contributing factor to Mr. Hardeman’s NHL is his chronic HCV infection, a known Group
1 human carcinogen which causes DLBCL.

       B.     VIII. Comments Regarding The Opinions of Plaintiffs’ Expert, Dr.
              Chadi Nabhan

       Dr. Nabhan discusses the prognostic features of Mr. Hardeman’s DLBCL, and
concludes that he has poor prognosis disease. These factors are irrelevant, since the
patient has already proven that his prognosis is excellent. He attained complete
remission with R-CHOP, and remains in continuous complete remission, now about 3.5
years from the end of chemotherapy. His chance of relapse is exceedingly small at this
point, and is considered highly unlikely after a patient has been in complete remission
for two years or more.

       Dr. Nabhan states “While hepatitis C is considered a risk factor to developing
NHL, there is abundance [sic] evidence that when hepatitis C is successfully treated
and there is no detectable virus in patients, the risk of hepatitis C related DLBCL is
almost negligible. Hepatitis C is a risk factor when active and present in the blood.” In
fact, HCV is active and present in the blood, even in the presence of SVR, as SVC
assesses the amount of virus in the serum or plasma, not “hidden” in the cells). Thus,
HCV is present in liver cells and B lymphocytes of patients in SVR, and is fully capable
of causing DLBCL, as occurred with Mr. Hardeman.

         Dr. Nabhan states that the updated Agricultural Health Study (2018) had several
critical flaws, including the fact that “the control arm was farmers, an occupation
established as a known risk factor for NHL, making it rather difficult to show increased
risk for the glyphosate arm given the controls.” I disagree completely. In fact, the study
design was fully appropriate: all subjects were agricultural workers (i.e., farmers would
be included here), who either were, or were not exposed to the agents in question. In
other words, the investigators carefully controlled for potential confounding in their study
design and execution, which, along with the other methodologies employed, made the
results of this NIH sponsored study, published in a highly respected journal (Journal of
the National Cancer Institute) both valid and reliable.

       Dr. Nabhan also believes that the statistical analyses performed by DeRoos
(2003) did, in fact, show a significant association between glyphosate and NHL, and
states that the hierarchical regression analysis, which reduced the OR to 1.6 (95% CI:
0.9 to 2.8) was inappropriately used. He further states, “If the new assumption is
applied to the model, the output of the hierarchical regression would likely change.”
How does he know this? Maybe it would, and maybe it would not: this is not an
appropriate way to judge a statistical methodology. The key point is that when co-
exposures have been properly controlled, there is no significant association between
glyphosate and NHL.

       Dr. Nabhan states that “...epidemiologic studies would rarely be able to
investigate association between any occupational hazard and types of NHL….and we


                                            22
        Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 24 of 145




can conclude that studying epidemiologic evidence can be done for the entire disease
category, in this instance NHL.” I disagree completely. Non-Hodgkin Lymphoma is a
term which encompasses over 60 different types of lymphoma. Each of these is a
different disease, with differing pathogenesis, cause, molecular findings, clinical
findings, therapy and prognosis. If we truly want to study the cause of a given type of
lymphoma, we cannot generalize by studying the epidemiology of all lymphomas, rather
we must study the epidemiology of the specific type of lymphoma we are interested in.
Numerous epidemiologic papers in the medical literature have defined the specific
characteristics of given sub-types of NHL, including DLBCL, and many of these
references have been provided within this document. To say that this kind of work is
impossible, and that we must study all lymphomas in order to get the “truth” of one
given subtype or another is simply not correct.

         C.    Comments Regarding The Opinions of Plaintiffs’ Expert, Dr. Andrei
               R. Shustov

       Dr. Shustov states that Mr. Hardeman’s DLBCL revealed “absence of
translocations for bcl6, blc2, or myc genes. This is not so; his DLBCL revealed
abnormalities of both bcl6 and bcl2, both of which have been described in HCV related
DLBCL.

       Dr. Shustov states that “Without quick identification and urgent proper treatment,
the affected individual would die from their disease within months of being diagnosed.” I
agree, and it is for this reason that HCV treatment alone has not been used to treat
HCV-related DLBCL in the past. This is in contrast to patients with HCV-related splenic
marginal zone lymphoma, in whom anti-viral (anti-HCV) therapy alone will cure most
patients.

       Dr. Shustov also believes that Mr. Hardeman was “cured of HCV infection as of
2006, 8 years prior to lymphoma diagnosis”, and concludes that “it is highly unlikely that
HCV had any contribution to his risk of developing or caused his lymphoma.” Again,
SVR does not mean “cure” or eradication of the HCV, which remains present within liver
cells and B lymphocytes, and fully capable of causing DLBCL, which it is known to do,
even in the presence of SVR, or non-detectable HCV in the blood serum or plasma.

        Dr. Shustov concludes that “…Roundup exposure is associated with increased
risk of developing non-Hodgkin lymphomas.” “Moreover, I did not identify a single
additional known risk factor that could be contributory to causing or accelerating
lymphomagenesis in Mr. Hardeman’s case.” This is not correct. Mr. Hardeman had
several known risk factors, including HCV, HBV, obesity, age >60 years, and
intermittent use of corticosteroids, none of which can be ruled out under Dr. Shustov’s
methodology.

VIII.    Conclusion

       While a specific cause or contributing factor for DLBCL cannot be found in the
majority of affected patients, this is likely not true with Mr. Hardeman, whose DLBCL



                                           23
Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 25 of 145
Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 26 of 145




                         Exhibit A
       Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 27 of 145


                                                                           July, 2018


                              CURRICULUM VITAE
                             Alexandra Mary Levine


A.   PERSONAL INFORMATION:

     Name in Full:                             Alexandra Mary Levine, M.D., M.A.C.P.

     Business Address:                         City of Hope National Medical Center
                                               1500 E. Duarte Road
                                               Needleman Building, Room 213
                                               Duarte, CA 91010

     Business Phone:                           (626) 218-7213
                                               Fax (626) 218-7200




     Place of Birth:                           Berkeley, California
     Citizenship:                              U.S.A.
     Marital Status:                           Married


B.                                             EDUCATION

     High School:                              North Hollywood High School
                                               North Hollywood, California

     University:                               University of California, Berkeley
                                               Berkeley, California
                                               B.A., December, 1966

     Medical School:                           University of Southern California
                                               Los Angeles, California
                                               M.D., 1971

     Internship:                               LAC-USC Medical Center
                                               Los Angeles, California
                                               Straight Medicine Intern, 1971-1972

     Residency:                                LAC-USC Medical Center
                                               Los Angeles, California
                                               Internal Medicine, 1972-1974

     Fellowship:                               Hematology-Oncology Fellow
                                               Emory University School of Medicine
                                               Atlanta, Georgia
                                               July, 1974 - June, 1975
         Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 28 of 145


                                                             Clinical Research Fellow, Hematology
                                                             LAC-USC Medical Center Los Angeles,
                                                             California
                                                             January, 1976-December, 1977


Honors and Awards:

   •   Phi Beta Kappa

   •   Alpha Omega Alpha

   •   Phi Kappa Phi Honor Society

   •   George Morris Piersol Teaching and Research Scholar of American College of Physicians, 1977-
       1980

   •   Portrait of Excellence Award in Field of Medicine, presented by B'Nai B'rith Women, April, 1980

   •   Outstanding Clinical Professor Award, presented by graduating class of 1980, 1985, 1996,
       2000, 2005 and 2007: USC School of Medicine

   •   Woman of Achievement Award, presented by Business and Professional Women, 1980

   •   Commencement speaker, USC School of Medicine, chosen by graduating class of 1982,
       1994, 1997, 2005

   •   University Scholar, University of Southern California, l986

   •   Woman of the Year, California Museum of Science and Industry, 1987

   •   YWCA Woman of Achievement Award, 1988

   •   National Board Distinguished
       Physician/Scientist, 1988, awarded by the Medical College of Pennsylvania.
       National Competitive Award.

   •   Fellow, American College of Physicians, 1988

   •   Personal Profile: Our Life and Times.
       Public Television, PBS, KCET
       1992

   •   Good Housekeeping, 1992
       Best Cancer Doctors in America

   •   Chosen one of the "Fifty most interesting people in LA": Los Angeles Magazine, January, 1994

   •   Presidential Medallion
       University of Southern California
       March, 1994




                                                  2
      Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 29 of 145


•   Spirit of Hope Award
    Being Alive; Community based HIV support services
    Universal Hilton Hotel
    November, 1994

•   Angel Award
    Wellness Community
    Ritz-Carlton Hotel, Pasadena
    May, 1995

•   Member and Chair of Research Committee, Presidential Advisory Council on HIV/AIDS,
    appointed by President Bill Clinton, 1995-2000

•   Selected as one of top 50 AIDS Researchers in the USA. POZ Magazine, 1996

•   Board of Scientific Councilors, National Cancer Institute, NIH
    1996-1999

•   Recipient, Celebration of Remarkable Women, Prototypes. Century Plaza Hotel, Los Angeles,
    March 26, 1998

•   Woman of the Year. Adat Ari El Synagogue. May 6, 1998

•   Doctorate of Humane Letters, honoris causa, University of Judaism, Los Angeles,
    California, May, 1998

•   Steve Chase Humanitarian Award, Desert AIDS Project, Palm Springs, California, February 1999

•   Distinguished Professor, University of Southern California, March 2000

•   Hoffman Award for Service, USC School of Medicine, May 2000

•   Consultant: National AIDS Program, Chinese Academy of Preventive Medicine, Beijing and Inner
    Mongolia, September, 2000

•   Award for Humanism in Medicine. Healthcare Foundation of New Jersey. May, 2001

•   Woman of Action Award. Israeli Cancer Research Foundation. Beverly Hilton Hotel, Beverly
    Hills, California. August 8, 2001

•   Woman of Distinction Award. Hadassah. Beverly Hilton Hotel, Beverly Hills, California.
    November 4, 2001

•   Honoree, Gift of Love Dinner Dance, Auxiliary, USC/Norris Cancer Hospital. Ritz Carlton Hotel,
    Pasadena, California. February 14, 2003

•   Alumni Merit Award. University of Southern California. March 27, 2003

•   Woman of Excellence in Medicine. YWCA. Ritz Carlton Hotel, Pasadena, California. March 26,
    2004

•   Woman of Norris Award: USC/Norris Topping Dinner. Biltmore Hotel, Los Angeles, California.
    April 28, 2005




                                              3
         Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 30 of 145


   •   Physician Humanitarian Award. California Hospital Medical Center. Los Angeles, California.
       June 2, 2005

   •   Distinguished Faculty Service Award, chosen by the Academic Senate, University of Southern
       California, May 10, 2006

   •   Oncologic Drugs Advisory Committee of the Food and Drug Administration. November 10, 2003
       through June 30, 2007

   •   Elected Master of the American College of Physicians, Philadelphia, PA, April 23, 2009

   •   Board of Scientific Councilors, National Cancer Institute, NIH: 2010-2015

   •   Hospital Physician Leadership Award-Los Angeles County Medical Association-Nov 19, 2016

   •   Board of Directors: CARES support for patients at LACounty-USC Med Center-10/2017-present

   •   Board of Directors: Huntington Medical Research Institute-10/2017 to present


Named Professorships and lectureships; National elected office

   •   1985 Wightman Visiting Professor
       University of Toronto Medical School
       March, 1985

   •   Loren Stephens Visiting Lectureship Medicine: The Power of the Art
       USC School of Medicine, November, 1996

   •   FM Hill Visiting Professor, Women's College Hospital, Toronto, April 1987

   •   Hadduck Memorial Professor
       University of Puerto Rico
       February 25 - March 1, 1991

   •   Franz Inglefinger Professor
       Boston University School of Medicine
       March 12-15, 1991

   •   Visiting Professor
       Dana Farber Cancer Institute
       Harvard Medical School
       May, 1992

   •   First Carmelita Lawlor Memorial
       Endowed Lecturer
       University of Toronto Faculty of
       Medicine
       April 21, 1994

   •   Keynote address: British Society of Haematology
       Harrogate, UK
       April 28, 1994

   •   Hans Einstein Professorship


                                                 4
         Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 31 of 145


       Kern County Medical Center
       Bakersfield, California
       May 5, 1995

   •   Dameshek Visiting Professor
       Tufts University School of Medicine
       Boston, Massachusetts
       May 24-25, 1996

   •   Nominating Committee
       American Society of Clinical Oncology
       1996-1999

   •   Board of Councilors
       American Society of Hematology
       1996-1999

   •   Meet the Expert: Invited lecture “AIDS-related malignancies”.
       XIII International Conference on AIDS, Vancouver, Canada, July 8, 1996

   •   Presentation to Vice President Al Gore, White House, August 2, 1996

   •   Presentation to Harold Varmus, Ph.D., Director, NIH, in the White House, May 12, 1998

   •   Chair, National Women’s Interagency HIV Study, sponsored by NIAID, NICHD, NCI, NIDR, NIDA.
       1997-1998

   •   Chair, Nominating Committee, American Society of Clinical Oncology, 1997-99

   •   Presentation to President William Clinton, White House, September 22, 2000

   •   Bloom Family Chair in Medicine. Endowed Chair, Keck School of Medicine, USC. June,
       2001

   •   Advisory Committee to FDA, Oncology Drug Advisory Committee. September 11, 2001

   •   Visiting Professor, invited by the Ministry of Health, Singapore. September 23 through October 4,
       2002

   •   Arnold P. Gold Foundation 2003 Humanism in Medicine Award. Given by graduating class, USC
       School of Medicine, 2003

   •   Schwartz Lectureship: Scripps Medical Center. AIDS-Related Malignancies. La Jolla, California,
       February 18, 2007

   •   Advisory Board, Claremont College School of Global and Community Health. May 2008

   •   Editorial Board Member, Oncology: Perspectives on Best Practices. April 2011

   •   Melinda and Norman Payson Professor of Medicine. City of Hope. June, 2012


Licensure:    California G23375 (1972); Georgia 016381; Hawaii MD-04641




                                                 5
       Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 32 of 145


C.   PROFESSIONAL BACKGROUND:

     1. Academic Appointments

            Assistant Professor of Medicine
            USC School of Medicine, July, 1977

            Associate Professor of Medicine
            USC School of Medicine, July, 1982

        •   Professor of Medicine
            USC School of Medicine, July, 1986

        •   Distinguished Professor of Medicine
            University of Southern California, March, 2000 – 2006

        •   Distinguished Professor of Medicine, Emeritus
            Keck School of Medicine, University of Southern California, January 2007-present

        •   Professor of Hematology/Hematopoietic Cell Transplantation
            City of Hope National Medical Center, November, 2007 – present

        •   Melinda and Norman Payson Professor of Medicine
            City of Hope National Medical Center, 2012-present

        •   Adjunct Professor, School of Community and Global Health
            Claremont Graduate University: June 2010-present


     2. Specific Administrative Responsibilities (local)

        •   Chief Medical Officer
            City of Hope National Medical Center
            January 2007 – December 2016

        •   Medical Director, USC/Norris Cancer Hospital
            1996 to December 2006

        •   Chief, Division of Hematology
            USC School of Medicine
            January 1991 to December 2006

        •   Interim Chief, Division of Medical Oncology
            USC School of Medicine
            October 1996 to 1997

        •   Executive Associate Dean, USC School of Medicine 1985-1990

        •   Deputy Clinical Director, USC Norris Cancer
            Hospital and Research Institute, March 1, 1983 to 1997

            Clinical Director, Adult Hematologic Neoplasia Service, LAC-USC Medical Center, 1/77 to
            present

            Chairman, Affirmative Action Committee, University of Southern California, 1991 to 1993


                                               6
Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 33 of 145



   Chairman, AIDS Policy Committee, USC School of Medicine, July 1990 to 2006

   Member, Search Committee Chairman of Family Medicine, USC School of Medicine,
   1994

   Chairman, Committee to Recognize Educational Accomplishment
   USC School of Medicine, 1992

   Chairman, Space Task Force Committee, USC School of Medicine 1990

   Member, Presidential Selection Committee, University of Southern California, 1990

   Chairman, Professional Standards Review Committee, Norris Cancer Hospital, March 1,
   1983 to present

   Chairman, Search Committee, Chairman Department Preventive Medicine, 1990

   Chairman, Clinical Activities Committee/Cancer Committee, LAC-USC Cancer Center,
   March 1, 1983 to 1987

   Secretary-Treasurer: AOA. June, 1986 to present

   Member, Appointments and Promotion Committee, USC School of Medicine, December
   1985 to January, 1990

   Member, Medical Executive Staff Committee, Norris Cancer Hospital, 3/83 to December
   2006

   Member, Pharmacy and Therapeutics Committee, Norris Cancer Hospital and Research
   Institute, March 1983 to 1985

   Member, Clinical Investigations Committee, Norris Cancer Hospital, 3/83 to 12/06

   Member, Patient Education Committee, Norris Cancer Hospital, 3/83 to 1987

   Member, Faculty Research and Innovation Fund Awards Committee, USC, 1987 to 1990

   Member, Research Committee, USC, 1988 to 1990

   Secretary, USC Medical Alumni Association, 1/83 to 12/84

   Board member, USC Medical Alumni Association, 1/82 to 12/82

   Member, Search Committee for Head of Clinical Investigations and Chairman of Medical
   Oncology, 1984

   House Staff Rep. for Selection Committee for Chairman of Department of Medicine, LAC-
   USC Medical Center, 1974

   Chairman, House Staff Committee for Evaluation of Medical Curriculum LAC-USC
   Medical Center, 1974

   Member, Policy Committee, Cancer Information Service, LAC-USC, 1976 to 2006

   Member, Utilization Review, LAC-USC Medical Center, 1976-1982


                                     7
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 34 of 145


             Member, Task Force Committee on Internship Recruitment, LAC-USC Medical Center

             Member, Clinical Activities Committee, Cancer Center, LAC-USC, 1978-1983

             Member, Subcommittee of Cancer Patient and non-Physician Staff Education, LAC-USC
             Medical Center, 1977-1983

             Physician Advisor to "I Can Cope" Committee, Sponsored by the American Cancer
             Society and LAC-USC Medical Center

             Member, Ambulatory Care Committee, USC Diagnostic Clinic, 1982


     3. Other Significant Employment or Activity

           Functioned as role model to Marsha Mason and Technical Advisor to Jerome Hellman in the
           film "Promises in the Dark" released by Orion Films in November, 1979.

           Research Assistant, Biochemistry, under Dr. Eugene Roberts, Dr. James Kittredge and Dr.
           David Comings, City of Hope National Medical Center, Duarte, California, June through
           August, 1965 and June through August, 1966.

           Research Assistant, Microbiology, State University of New York, Upstate Medical Center,
           January through July, 1967.


D.   SOCIETY MEMBERSHIPS:

           Phi Beta Kappa

           Alpha Omega Alpha

           American College of Physicians

           American Society of Hematology

           American Federation for Clinical Research

           Society for Hematopathology (Charter Member)

           American Society of Clinical Oncology

           Golden Key National Honor Society


E.   RESEARCH ACTIVITIES:

     1.      Major Areas of Research Interest

             Definition of disease as it relates to lymphoproliferative malignancies. Therapeutic
             protocols involving hematologic neoplasia. Issues of patient education and patient
             compliance. AIDS and malignancies associated with AIDS.




                                                 8
        Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 35 of 145


Peer-Reviewed Research Grants and Government Contracts

      George Morris Piersol Teaching and Research Scholar of American College of Physicians, 1977-
      1980, $42,000.

      Co-Investigator: Lymphoma-Leukemia Program, Cancer Center, National Institutes of Health, CA
      19449, July 1, 1976 through December 31, 1982.

      Principal Investigator: Assessment and Enhancement of Compliance with Chemotherapy.
      National Cancer Institute, Bethesda, Maryland. 1RO1 CA31151 April 1, 1982 to March, 1985.
      $270,220.

      Principal Investigator: Serial Study of Epidemiology, Virology, Immunology in Homosexuals with
      Persistent Generalized Lymphadenopathy. 1RO1 CA36301 National Cancer Institute. July 15,
      1984 to June 30, 1987. $617,000.

      Co-Investigator: USC Comprehensive Cancer Center (CORE) Support Grant. NCI 5P30
      CA14089-10. National Cancer Institute. April 1, 1986 through November 30, 1987.

      Principal Investigator: Assessment and Enhancement of Compliance with Chemotherapy.
      National Cancer Institute, Bethesda, Maryland. 2R01-CA 31151, April, l985 - March, l986.
      $94,000.

      Principal Investigator: Clinical Trials with Suramin in Patients with Acquired Immunodeficiency
      Syndrome. NIAID. N01-AI-62509. 12/1/85 - 11/30/86. $60,000.

      Principal Investigator: Trial of leukocyte dialysate in patients with AIDS or ARC. IMREG Corp.
      April, 1984 - July, 1986. $250,000.

      Principal Investigator: AIDS Treatment and Evaluation Unit.
      NIAID-NIH: NOI-A1-62540. 7/1/86-6/30/91. $7,500,000.00.

      Principal Investigator: California Collaborative Treatment Group. State of California. 7/1/86 -
      6/30/88. $96,000/year.

      Principal Investigator and Sponsor: Contract ACS/AL/CL/1987. Audrey Myer Mars International
      Fellowship in Clinical Oncology, American Cancer Society, $30,000 7/87 - 6/88.

      Co-Investigator: Tumor Boards: Effectiveness. CA 467-47, NCI. 9/30/87 - 8/31/90.
      $1,200,000.00

      Principal Investigator: Use of Salk HIV-immunogen in HIV-seropositive subjects in an attempt to
      prevent progression to ARC/AIDS. Immune Response Corporation, La Jolla, California. 5/88 -
      6/91. $210,000/year.

      Principal Investigator: California Collaborative Treatment Group, Oncology Committee. 7/1/88 -
      6/30/89. $63,168.00. State of California.

      Principal Investigator: R01-CA 50850. Epidemiologic study of HIV related lymphoma. PHS:
      NCI. 7/1/89 to 6/30/94. $2,488,086.00.

      Principal Investigator: RO1-CA 55510. PHS.NCI. AIDS Lymphoma Network Grant. HIV,
      Cytokines, and Therapeutic Results in AIDS-Lymphoma. 7/15/91 to 7/14/94. $1,599,755.

      Principal Investigator: K12 CA01726. PHS NCI Training in Collaborative Clinical Oncology
      Research. 9/92 - 8/97. $1,583,180.00.


                                                 9
         Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 36 of 145


       Principal Investigator: UO1-A1-34986. "Southern California Women's Interagency HIV Study
       (WIHS) Consortium". NIAID-NIH, 8/11/93 - 7/31/97, $1,600,000-$2,003,000/year.

       Principal Investigator: NIH: #2018 MBO 1357. Health Careers Opportunity Program. 9/1/93 -
       8/31/96. $204,602/year.

       Principal Investigator: Neuropsychologic function in HIV infected women. University-wide Task-
       force on AIDS, University of California. 7/1/94 - 6/30/96. $45,070/year direct; $9,975/year
       indirect.

       Principal Investigator: Access to care among HIV infected men versus women in Los Angeles
       County. University-wide Task Force on AIDS, University of California. $189,446 direct; $15,156
       indirect.

       Principal Investigator: Role of HHV-8 in cancer outcome in HIV infected women. PHS. NCI;
       Administered through WIHS grant: UO1-A1-34986. NCI/NICHD. $333,095 direct; $88,983
       indirect. 10/1/95 - 9/30/96.

       Principal Investigator: UO1 CA 70072: AIDS malignancies Clinical Trials Consortium: PHS, NCI
       9/30/95 - 7/31/06. $160,000/year directs; Total of $260,637/year.

       Principal Investigator: K12 CA77823: AIDS-Oncology Clinical Scientist development program.
       NCI. June, 1998 - June, 2002. $904,500 total costs.

       Principal Investigator: UO1-A1-42377: “Southern California Interagency HIV Study (WIHS)
       Consortium. NICHD-NIH. 11/1/97 through 10/31/2002, $1,627,316 total costs for Year 01.

       Co-PI (PI: Renata Stripecke): K01 CA87864-01: “Autologous immune responses to lentivirus
       transduced acute myeloid leukemia cells”. NCI. 7/1/00 - 6/30/03, $413,000 total direct costs.

       Principal Investigator: UO1-HD32632-10: “Southern California Interagency HIV Study (WIHS)
       Consortium. NICHD-NIH. 11/1/2002 through 10/31/2004, $3,533,860 total costs for Year 01.

       Principal Investigator: Concern Foundation. Phase I trial of Veglin in patients with
       relapsed/refractory malignancies. 2/1/03 through 1/31/04, $30,000.

       Principal Investigator, USC site: National Cancer Institute-U01 CA 121947: AIDS Malignancy
       Clinical Trials Consortium. $160,000/year directs; $260,000/year total. 3/1/06 through 6/30/10.

       Principal Investigator: NICHD/NCI: 2 U01 HD 032632-15: Southern California Women’s
       Interagency HIV Study Consortium. $2,129,133 per year directs; $3,035,529/year total. 11/1/07
       through 10/31/2012. (Total funding = $15,331,900).


Industry Contracts/Grants (from 1995 to the present time)

       Principal Investigator: ILEX Oncology, #6-545-0-0. Phase II evaluation study of Mitoguazone in
       patients with relapsed or refractory lymphoma associated with acquired immunodeficiency
       syndrome. 03/01/95 - 02/28/97. FY 1995 - 96, $70,997.

       Principal Investigator: Pharmacia, #6649-0-0: Phase II randomized clinical trial comparing two
       dose-schedules of Idarubicin in combination chemotherapy including Cyclophosphamide,
       Vincristine, and Predinosone (CIOP) in the treatment of intermediate and high grade non-
       Hodgkin’s lymphoma with high risk factors. 3/96 -8/97. $40,000. FY 1995 - 96, $7,000.




                                                  10
  Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 37 of 145


Principal Investigator: Immunex, #6608-0-0. Infusional chemotherapy in the treatment of AIDS
related lymphoma. 2/96 - 3/97. $10,000.

Principal Investigator: ILEX Oncology, #6-537-0-0. Phase I/II evaluation study of Mitoguazone in
patients with newly diagnosed AIDS-related primary central nervous system lymphoma. FY 1995
- 97: $25,380 (Total).

Principal Investigator: ImmunoGen Inc., #6-536-0-0. Study using the treatment of HIV-
associated NHL with CHOP chemotherapy and a 28-day infusion of anti-B4-blocked ricin. FY
1995 - 97: $61,000 (Total).

Principal Investigator: ILEX Oncology, #6735-0-0. Comparison of Arrhythmias Occurring During
Administration of Mitoguazone dihydrochloride plus Saline versus Saline Alone in Patients with
AIDS-related Non-Hodgkin’s Lymphoma (AR-NHL). FY 1996 - 97: $4,374 (Directs); $1,094
(Indirects); $5,468 (Total).

Principal Investigator: Immune Response Corporation. To study the clinical, immunologic and
virologic consequences of immunization with a killed, envelope depleted HIV-1 immunogen,
employed as active, specific immunotherapy in patients with asymptomatic HIV-1 infection.
Study 3G (17HIV-94-3). FY 1995 - 98: $100,160/year (Total).

Principal Investigator: ILEX Oncology, #6618-0-0. Study of CHOP plus Mitoguazone in patients
with newly diagnosed systemic AIDS-NHL. FY 1995 - 98: $56,400 (Total).

Principal Investigator: Nexstar, #6586-0-0. Study of DaunoXome in patients with newly
diagnosed low grade lymphoma, and in patients with relapsed/refractory low grade NHL. FY
1995 - 98: $40,000 (Total).

Principal Investigator: Immune Response Corporation: An Expanded Access Open Label Protocol
of Remune in HIV-1 Infected Adults. 17HIV-94-3. FY 1998 - 99: $44,375 (Total).

Principal Investigator: Nexstar, #6760-0-0: Principal Investigator: Daunoxome as First Line
Treatment of Non-Hodgkin’s Lymphoma. FY 1996 - 1999: $21,915 (Total).

Principal Investigator: Ilex Oncology, #693300: Mitoguazone combined with rituximab (IDEC-
C288). FY 1998 - 99: $24,288 (Directs); $6,072 (Indirects); $30,360 (Total).

Principal Investigator: Ilex Oncology, #691000: Orally administered DFMO in HIV infected
women with cervical cancer. FY 1998 - 99: $26,332 (Directs); $6,583 (Indirects); $32,915 (Total).

Principal Investigator: Novuspharma/Theradex, #017020: A phase trial of BBR2778 in patients
with relapsed or refractory aggressive Non-Hodgkin’s Lymphoma. FY 2001 - 2003: $70,312
(Directs); $17,578 (Indirects); $87,890 (Total).

Principal Investigator: Genta, Inc., #016005: Randomized study of fludarabine and
cyclophosphamide with or without genasense (Bcl-2 antisense oligonucleotide) in patients with
relapsed or refractory chronic lymphocytic leukemia. GL303. FY 2001 -2003: $24,000 (Directs);
$6,000 (Indirects); $30,000 (Total).

Principal Investigator: Chiron, #006026: Phase I study of rituximab in combination with proleukin
(IL 2) in patients with Non-Hodgkin’s Lymphoma. IL2HNL01. FY 2000 - 2002: $17,875 (Directs);
$4,469 (Indirects); $22,344 (Total).




                                          11
       Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 38 of 145


     Principal Investigator: Liposome Co., #995044: A phase I/II dose-escalation study of liposome-
     encapsulated doxorubicin (TLC D-99); evacet) in combination with clyclophosphamide,
     vincristine, and prednisone (COPE) in newly diagnosed AIDS lymphomas. 17NHL-98-1. FY
     1999 - 2002. $95,500 (Directs); $23,875 (Indirects); $119,376 (Total).

     Principal Investigator: Liposome Co., #995043: Phase I/II dose escalation study of liposomal
     doxorubicin (TLC D-99) in combination with cyclophosphamide, vincristine, and prednisone
     (COPE) in newly diagnosed large cell Non-Hodgkin’s Lymphoma. 13NHL-98-4. FY 1999 - 2002:
     $187,022 (Directs); $46,756 (Indirects); $233,778 (Total).

     Principal Investigator: Inex Pharma, #002050: Vincristine sulfate liposomes in large b-cell Non-
     Hodgkin’s Lymphoma. FY 2000 - 2002: $23,110 (Directs); $5,778 (Indirects); $28,888 (Total).

     Principal Investigator: A phase I trial of BBR 2778 in patients with relapsed or refractory
     aggressive Non Hodgkin’s Lymphoma. Novuspharma/Theradex. IRB # 017020. $87,890.00
     10/3/01 through 10/24/03.

     Principal Investigator: Double-blind, randomized, phase 2 study of pegfilgrastim administered on
     the same day or the next day of R-CHOP chemotherapy in subjects with NHL. Amgen. $25,000.
     ($5,000/patient). 6/1/03 - present.

     Principal Investigator: An open label randomized study to develop a screening tool for functional
     capacity in anemic subjects with nonmyeloid malignancies receiving chemotherapy and NESP.
     Protocol 20000220. Amgen. $37,000. 1/1/02 - present.

     Principal Investigator: Phase II study of liposomal doxorubicin (Doxil) in combination with rituxan,
     cyclophosphamide, vincristine and prednisone (DR-COP) in newly diagnosed aggressive non-
     Hodgkin’s lymphomas. Ortho/J&J. 02C019 (IRB) $228,122. 8/14/03 - present.

     Principal Investigator: A phase II study evaluating the safety and efficacy of ABT-510 in subjects
     with refractory lymphoma. Abbott. $55,560. 8/14/03 to present.

     Principal Investigator: Protocol 102-12: A multicenter study to evaluate the effect of rituximab on
     primary humoral response, recall response, and maintenance of acquired immunity to specific
     antigens. Biogen/Idec. $14,000/patient. IRB 03B018; 13NHL-03-05. 10/7/03 to present.

     Principal Investigator: A phase II trial of BBR 2778 in combination with cytarabine,
     methylprednisolone, and cisplatin (BSHAP) as salvage in patients with relapsed aggressive non-
     Hodgkin’s lymphoma. CTI/Novuspharma. 13-NHLL-03-3: 38011. $52,355. 10/15/03.

     Principal Investigator: Phase I clinical trial to test ATN-224: dose escalation Phase I study of the
     safety, pharmacodynamics and pharmacokinetic of AT-224 capsules in patients with advanced
     hematologic malignancies. Attenuon LLC. OC-03-07. $48,150. 5/25/04.

     Principal Investigator: Pixantrone (BBR27780) versus other chemotherapy agents for third-line
     single agent treatment of patients with relapsed aggressive non-Hodgkin’s lymphoma: A
     randomized, controlled phase III comparative trial/protocol PIX301. 13-NHL-045. $7,710/patient.


F.   INTERNATIONAL ADVISORY BOARDS, CONSULTING

     Consultant to Ministry of Health, Mexico, regarding AIDS Program, 1992.

     Consultant to Ministry of Health, Chile, regarding AIDS Program, 1992 - 93.

     Consultant to Minister of Health, India, regarding HIV/AIDS. New Delhi, India, October, 1997.


                                                12
       Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 39 of 145


     Consultant to Minister of Health, Russia, regarding HIV/AIDS. Russian Embassy, Washington,
     D.C., March, 1998.


G.   NATIONAL AND STATEWIDE COMMITTEES, ADVISORY BOARDS AND STUDY SECTIONS

     Scientific Advisory Committee: National Cancer Institute, Frederick Cancer Research Facility,
     NCI, 7/1/87 - 1993.

     Task Force on AIDS Malignancy. National Cancer Institute. 1992 - 2000.

     Scientific Advisory Board: Northwestern School of Medicine, Cancer Center, 1990 to 1993.

     Scientific Advisory Board: Hoffman-LaRoche Pharmaceuticals, 1987 to 1991.

     Board of Directors: AIDS Project Los Angeles. 1986 - 1990.

     Board of Governors: APLA: 7/90 to present.

     Medical Advisory Board: Wellness Community, Santa Monica, California. 1984 -present.

     Board of Directors: El Centro Human Services Corp, Los Angeles, California. 1986 -1990.

     Chairman, Education session on lymphoma, American Society of Hematology. December, 1984 -
     1986.

     Nominating Committee, American Society of Clinical Oncology, 1992.

     Program Committee, American Society of Clinical Oncology. May, 1986 - 1988, and 1991 - 1993.

     Political Action Committee: American Society Clinical Oncology, 1987 - 1991.

     Scientific and Publications Committee: American Society of Clinical Oncology. 1988 - 1991.

     Patient Advocacy Committee, American Society of Clinical Oncology. 1990 - 1994.

     Advisory Committee: AIDS Fellowship. National Medical Fellowships. 1988 - 89.

     Study Section: AIDS Education and Training Grants. Health Resource and Services
     Administration, National Institutes of Health. August 10 - 11, 1987, and again 2/29 -3/1/88.

     Presidential Commission HIV infection: Solicited Testimony: Ethical Issues in AIDS research.
     Nashville, Tenn, March 17, 1988.

     Chair, Oncology Committee, National AIDS Clinical Trials Group, NIAID, 1992 - 4.

     Program Committee, American Society of Clinical Oncology, 1995 - 96.
     Committee on Hematology Training Programs, American Society of Hematology, 1995 - 96.

     Chair, Executive Committee, National Women's Interagency HIV Study. PHS. NIH, 1994.

     Clinical Research Committee, American Federation of Clinical Research, 1995 -1997.

     Chair, Research Committee. Presidential Advisory Committee on HIV/AIDS, White House, 1995
     - 2000.



                                                13
       Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 40 of 145


     Member, AIDS Malignancy Working Group, convened by Dr. Richard Klausner, Director, NCI,
     1995.

     Member, Lymphoma, Leukemia, Myeloma Program Review Group, NCI, December, 2000.

     Oncologic Drugs Advisory Committee of the Food and Drug Administration. November 10,
     2003 through June 30, 2007.

     Board of Scientific Counselors, National Cancer Institute, July 2010 through July 2015.


H.   REVIEWER and CONSULTANT: JOURNALS

          1.   Blood

          2.   Annals of Internal Medicine

          3.   Journal of Clinical Oncology

          4.   American Journal of Hematology

          5.   Journal of the American Medical Association

          6.   European Journal of Cancer and Clinical Oncology

          7.   New England Journal of Medicine

          8.   Journal of Laboratory and Clinical Medicine

          9.   Cancer


I.   EDITORIAL ADVISORY BOARD: JOURNALS

          1.   Journal of the National Cancer Institute-renewed January 2014

          2.   Journal of Clinical Oncology

          3.   Biotherapeutics and Cancer

          4.   Life Sciences

          5.   Journal of the Acquired Immune Deficiency Syndrome

          6.   Hematologic Oncology




                                              14
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 41 of 145


BIBLIOGRAPHY
MANUSCRIPTS

Peer-Review, Published

1.    Lichtenstein A, Levine AM, Lukes RJ, Cramer AD, Taylor CR, Lincoln T, Feinstein DI.
      Immunoblastic Sarcoma: A Clinical Description. Cancer 1979; 43:351-360.

2.    Levine AM, Collea J. Chronic Granulocytic Leukemia in Pregnancy. Contemporary OB/GYN
      1979; 13:47-50.

3.    Levine AM, Overturf GD, Field R, Holdorf D, Paganini-Hill A, Feinstein DI. Use and Efficacy of
      Pneumococcal Vaccine in Patients with Hodgkin's Disease. Blood 1979; 54:870.

4.    Levine AM, Thornton P, Forman S, Van Hale P, Holdorf D, Rouault CL, Powars D, Feinstein DI,
      Lukes RJ. Positive Coombs' Test in Hodgkin's Disease: Significance and Implications. Blood
      1980; 55:607-611.

5.    Lichteinstein AK, Levine AM, Taylor CR, Boswell W, Rossman S, Feinstein DI, Lukes RJ. Primary
      Mediastinal Lymphoma. American J. Med 1980; 68:509-514.

6.    Asterita RW, Minckler A, Taylor CR, Levine AM, Lukes RJ. Orbital and Adnexal Lymphomas: A
      Multiparameter Approach. Am. J. Clin. Path 1980; 73:615-621.

7.    Levine AM, Lichteinstein A, Gresik MV, Taylor CR, Feinstein DI, Lukes RJ. Clinical and
      Immunologic Spectrum of Plasmacytoid Lymphocytic Lymphoma without Serum Monoclonal IgM.
      Brit. J. Haem 1980; 46:225-233.

8.    Todd JA, Levine AM, Tokes ZA. Liposome Encapsulated Methotrexate Interactions with Human
      Chronic Lymphocytic Leukemia Cells. J. Nat. Can. Institute 1980; 64:715-719.

9.    Koeffler P, Levine AM, Sparkes M, and Sparkes R. Chronic Myelocytic Leukemia: Eosinophils
      Involved in the Malignant Clone. Blood 1980; 55:1063-1065.

10.   Koeffler P, Levine AM, and Golde DW. Ia Antigen is a Differentiation Marker on Human
      Eosinophils. Blood 1980; 56:11-14.

11.   Levine AM, Taylor CR, Schneider DR, Koehler SC, Forman SJ, Lichtenstein A, Lukes RJ,
      Feinstein DI: Immunoblastic Sarcoma of T-Cell versus B-Cell Origin: I. Clinical Features. Blood
      1981; 58:52-61.

12.   Waxman AD, Siemsen JK, Levine AM, Holdorf D, Suzuki R, Singer FR, Batemen J. Radiographic
      and radionuclide imaging in Multiple Myeloma: The role of gallium scan scientography. Concise
      Communications. J. Nuc. Med 1981; 22:232-236.

13.   Sandler RM, Liebman HA, Patch MJ, Teitelbaum A, Levine AM, Feinstein DI: Antithrombin III and
      anti-activated factor X activity in patients with acute promyelocytic leukemia and disseminated
      intravascular coagulation treated with heparin. Cancer 1982; 50:2106.

14.   Nichols PW, Koss M, Levine AM, Lukes RJ: Lymphomatoid granulomatosis--A T-Cell Disorder?
      Am. J. Med 1982; 72:467-471.

15.   Douer D, Levine AM, Sparkes RR, Fabien I, Sparkes ME, Cline MJ, Koeffler HP: Chronic
      myelocytic leukemia: A pluripotent haemopaetietic cell is involved in the malignant clone. Brit J.
      Haem 1981; 49:615-619.



                                                   15
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 42 of 145


16.   Falini B, DeSolas I, Levine AM, Parker JW, Lukes RJ, Taylor CR: Emergence of B-immunoblastic
      sarcoma in patients with multiple myeloma: A clinicopathologic study of 10 cases. Blood 1982;
      59:923-933.

17.   Levine AM, Forman SJ, Meyer PR, Koehler SC, Liebman HA, Paganini-Hill A, Pockros A, Lukes
      RJ, Feinstein DI: Successful therapy of convoluted T lymphoblastic lymphoma in the adult. Blood
      1983; 61:92-98.

18.   Levine AM: Clinical and Pathological Differences Between T-Cell and B-Cell Immunoblastic
      Sarcoma. Symposia Proceedings. Human Pathology 1983.

19.   Dolan B, Levine AM, Dolan D: Small cleaved follicular center cell lymphoma: Seven cases in
      California plumbers. J Occupa. Med 1982; 25:613-615.

20.   Levine AM, Pavlova Z, Pockros AW, Parker JW, Teitelbaum AH, Paganini-Hill A, Powars DR,
      Lukes RJ, Feinstein DI: Small non-cleaved follicular center (FCC) lymphoma: Burkitt and non-
      Burkitt variants in the United States: I. Clinical Features. Cancer 1982; 52:1073-1079.

21.   Pattengale PK, Sundstrom C, Yu A, Levine AM: Lysis of Fresh Leukemic Blasts by Interferon
      Activated Human Natural Killer Cells. Natural Immunity and Cell Growth Regulation 1983/84, Vol 3:
      165-180.

22.   Levine AM, Meyer PR, Begandy MK, Parker JW, Taylor CR, Irwin L, Lukes RJ: Development of B-
      Cell Lymphoma in Homosexual men: Clinical and Immunologic Findings. Ann. Intern. Med. 1984;
      100:7-13.

23.   Adrouny A, Seraydarian A, Levine AM, Hungerford GF, Carmel R: Cyclic eosinophilic leukocytosis
      in eosinophilic leukemia, with observations on transcobalamin I and eosinophila. Cancer 1984;
      54:1374-1378.

24.   Shackney SE, Levine AM, Risher RK, Nichols P, Jaffe E, Schuette WH, Simon R, Smith CA,
      Occhipinti SJ, Parker JW, Cossman J, Young RC, Lukes RJ: The Biology of Tumor Growth in the
      Non-Hodgkin's Lymphomas: A Dual Parameter Flow Cytometry Study of 220 Cases. J. Clin.
      Invest. 1984; 73:1201-1214.

25.   Ziegler JL, Beckstead JA, Volberding PA, Abrams DI, Levine AM, Lukes RJ, Gill PS, et al: Non-
      Hodgkin's Lymphoma in 90 Homosexual Men: Relationship to Generalized Lymphadenopathy and
      Acquired Immunodeficiency Syndrome (AIDS). N Engl J Med 1984; 311:565-570.

26.   Levine AM, Burkes RL, Walker M, Meyer PR, Gill PS, Nichols PW, Dworsky R, Parker JW, Lukes
      RJ: Development of B-cell Lymphoma in Two Monogamous Homosexual Men. Arch Intern Med
      1985; 145:479-81.

27.   Levy N, Boone D, Hechinger M, Levine AM, Meyer P, Parker JW: Cytofluorographic analysis of
      lymph nodes from patients with the persistent generalized lymphadenopathy (PGL) syndrome: A
      phenotypic comparison between PGL and other types of reactive hyperplasia. Diagnostic Immunol
      1985; 3:15-23.

28.   Levine AM, Goldstein M, Meyer PM, Parker JW, Lukes RJ, Feinstein DI: Heterogeneity of
      response and survival in diffuse histiocytic lymphoma after BACOP chemotherapy. Hematol Oncol
      1985; 3:87-98.

29.   Gill PS, Levine AM, Meyer PR, Burkes R, Dworsky RD, Lukes RJ: Primary central nervous system
      lymphoma in homosexual men. Clinical, immunologic and pathologic features. Am J Med 1985;
      78:742-48.



                                                 16
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 43 of 145


30.   Burkes RL, Gal AA, Stewart ML, Gill PS, Abo W, Levine AM: Simultaneous occurrence of
      pneumocystis carinii pneumonia, cytomegalovirus infection, Kaposi's sarcoma, and B-cell
      immunoblastic sarcoma in a homosexual male. JAMA 1985; 253:3425-3428.

31.   Carlson JR, Bryant ML, Hinrichs SH, Yamamoto JK, Levy NB, Yee J, Higgins J, Levine AM,
      Holland P, Gardner MB, Pederson NC: AIDS serology testing in low and high-risk groups. JAMA
      1985; 253:3405-3408.

32.   Levine AM, Gill PS, Meyer PR, Burkes R, Dworsky RD, Krailo M, Parker JW, Taylor CR, Lukes RJ,
      Rasheed S: Retrovirus and malignant lymphoma in homosexual men. JAMA 1985; 254:1921-25.

33.   Ross RK, Dworsky RL, Paganini-Hill A, Levine AM, Mack T: Non-Hodgkin's lymphomas in never
      married men in Los Angeles. Br J Cancer1985; 52:785-7.

34.   Alavaikko M, Rinne A, Jarvinen M, Hopsu-Havu VK, Aine R, Levine AM, Meyer PR, Lukes RJ:
      Dendritic reticulum cells in AIDS-related lymphadenopathy. Experientia 1985; 41:1173-1175.

35.   Levine AM: Non-Hodgkin's Lymphomas: Clinical Features. Semin Ultrasound CT and MR 1985;
      6:374-79.

36.   Ross RK, Casagrande JT, Dworsky RL, Levine AM: Kaposi's sarcoma in Los Angeles. J Nat Can
      Inst 1985; 75:1011-1015.

37.   Levine AM, Meyer PR, Gill PS, Burkes RL, Krailo M. Aguilar S, Parker JW: Results of diagnostic
      lymph node biopsy in homosexual men with generalized lymphadenopathy. J Clin Oncol 1985;
      4:165-9.

38.   Bryant ML, Yamamoto J, Luciw P, Munn R, Marx P, Higgins J, Pederson N, Levine AM, Gardner
      MB: Molecular comparison of retroviruses associated with human and simian AIDS. Hematol
      Oncol 1985; 3:187-197.

39.   Stewart ML, Felman IE, Nichols PN, Paganini-Hill A., Lukes RJ, Levine AM: Large non-cleaved
      follicular center cell lymphoma: Clinical features in 53 patients. Cancer 1986; 57:288-97.

40.   Rasheed S, Norman GL, Gill PS, Meyer PR, Cheng L, Levine AM: Virus-neutralizing activity,
      serologic heterogeneity and retrovirus isolation from homosexual men in the Los Angeles area.
      Virology 1986; 150:1-9.

41.   Burkes RL, Meyer PR, Gill PS, Dworsky R, Yee S, Parker JW, Rasheed S, Levine AM: Primary
      rectal lymphoma in homosexual men. Arch Intern Med 1986; 146:913-15.

42.   Gill PS, Meyer PR, Pavlova Z, Levine AM: B-cell acute lymphocytic leukemia in adults. Clinical,
      Morphologic and Immunologic Findings. J Clin Oncol 1986; 4:737-43.

43.   Levine AM, Gill PS, Cohen J, Hawkins J, Formenti SC, Aguilar S, Meyer PR, Krailo M, Parker J,
      Rasheed S: Suramin anti-viral therapy in the Acquired Immunodeficiency Syndrome. Ann Intern
      Med 1986;105:32-37.

44.   Burkes RL, Sherrod A, Stewart ML, Taylor CR, Levine AM: Beta-2 microglobulin in homosexual
      men with AIDS and persistent, generalized lymphadenopathy. Cancer 1986; 57:2190-92.

45.   Alavaikko M, Rinne A, Jarvinen M, Hopsu-Havu V, Aine R, Levine AM, Meyer P, Lukes RJ:
      Damage to secondary lymphoid follicles in AIDS-related persistent generalized lymphadenopathy,
      as revealed by the behaviour of dendritic reticulum cells possessing immunoreactive acid cysteine-
      proteinase inhibitor. Virchow's Arch (Cell Pathol) 1986; 50:299-311.



                                                  17
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 44 of 145


46.   Gill PS, Levine AM, Meyer PR, Aguilar SL, Rarick M, Parker JW, Rasheed S: Human T-cell
      lymphotropic Virus Type III Associated disorders: The spectrum in the heterosexual population.
      Arch Intern Med 1986; 146:1501-1504.

47.   Bertram JH, Gill P, Levine AM, Boquiren D, Hoffman FM, Meyer P and Mitchell MS: Monoclonal
      antibody T101 in T cell malignancies: a clinical, pharmacokinetic, and immunologic correlation.
      Blood 1986; 68:752-61.

48.   Helpser J, Formenti S, Levine AM: Initial manifestation of Acquired Immunodeficiency Syndrome
      in the head and neck region. Am J Surg 1986; 152:403-406.

49.   Meyer PR, Krugliak L, Neely S, Levine AM, Parker JW, Kaplan B, Taylor CR: Acute leukemias
      with both myeloid and lymphoid surface markers: Cytoplasmic alpha-1-antichymotrypsin and alpha-
      1-antitrypsin, as possible indicators of early granulocytic differentiation. Am J Clin Path 1986;
      86:461-68.

50.   Gill PS, Graham RA, Boswell W, Meyer P, Krailo M, Levine AM: A comparison of imaging, clinical,
      and pathologic aspects of space-occupying lesions within the brain in patients with Acquired
      Immune Deficiency Syndrome. Am J Physiologic Imaging 1986; 1:134-141.

51.   Marks G, Richardson J, Graham RW, Levine AM: The role of health locus of control beliefs and
      expectations of treatment efficacy in adjustment to cancer. J Person and Soc Psych 1986; 51:443-
      450.

52.   Gill PS, Chandraratna P, Meyer PR, Levine AM: Malignant lymphoma: Cardiac involvement at
      initial presentation. J Clin Oncol 1986; 5:216-224.

53.   Burkes RL, Abo W, Levine AM, Linker-Israeli M, Parker JW, Gill PS, Horwitz DA: Characterization
      of immunologic function in homosexual males with persistent, generalized lymphadenopathy and
      acquired immunodeficiency syndrome. Cancer 1987; 59:731-738.

54.   O'Donnell MR, Forman SJ, Levine AM, Territo M, Farbstein MJ, Fahey JL, Gill PS, Lazar G,
      Nademanee A, Neely S, Snyder DS: Cyatarabine, Cis-Platin and Etoposide chemotherapy for
      refractory non-Hodgkin's lymphoma. Cancer Treat Reports 1987; 71:187-189.

55.   Levine AM: Non-Hodgkin's lymphomas and other malignancies in the Acquired Immune
      Deficiency Syndrome. Semin Oncol 1987; 14:34-9.

56.   Levine AM, Gill PS, Muggia F: Malignancies in the Acquired Immunodeficiency Syndrome. Curr
      Probl Cancer 1987; 11(4):209-255.

57.   Levine AM: AIDS-related lymphoma: Clinical presentation and treatment approaches. Oncology
      1987; 1:41-46.

58.   Gill PS, Levine AM, Krailo M, Rarick MU, Loureiro C, Deyton L, Meyer P, Rasheed S: AIDS-
      related malignant lymphoma: Results of prospective treatment trials. J Clin Oncol 1987; 5:1322-
      1328.

59.   Levine AM, Richardson JL, Marks G, Chan K, Graham J, Selser JN, Kishbaugh C, Shelton DR,
      Johnson CA: Compliance with oral drug therapy in patients with hematologic malignancy. J Clin
      Oncol 1987; 5:1469-1476.

60.   Pavlova Z, Parker JW, Taylor CR, Levine AM, Feinstein DI, Lukes RS: Small non-cleaved
      follicular center (SNC FCC) lymphoma: Burkitt (BL) and non-Burkitt (NBL) variants in the United
      States: II. Pathologic and immunologic features. Cancer 1987; 58:1892-1902.



                                                  18
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 45 of 145


61.   Rasheed S, Gowda S, Gill PS, Levine AM: Antiviral effects of Suramin in patients with the
      Acquired Immunodeficiency Syndrome. Int J Immunotherapy 1987; III (2) 81-88.

62.   Turner RR, Meyer PR, Taylor CR, Gill PS, Hofman F, Nichols P, Rasheed S, Levine AM:
      Immunohistology of persistent generalized lymphadenopathy. Evidence of progressive lymph node
      abnormalities in some patients. Am J Clin Path 1987; 88:10-19.

63.   Turner RR, Levine AM, Gill PS, Parker JW, Meyer PR: Progressive histopathologic abnormalities
      in the persistent generalized lymphadenopathy syndrome. Am J Surg Pathol 1987; 11(8):625-632.

64.   Gill PS, Rarick MU, Brynes RK, Causey D, Levine AM: Azidothymidine (AZT) and bone marrow
      failure in AIDS. Ann Intern Med 1987; 107:502-505.

65.   Richardson JL, Lochner T, McGuigan K, Levine AM: Physician attitudes and experience regarding
      the care of patients with Acquired Immunodeficiency Syndrome and related disorders. Medical
      Care 1987; 25(8):675-86.

66.   Cheson BD, Levine AM, Mildvan D, Kaplan LS, Wolfe P, Rios A, Groopman JE, Gill P, Volberding
      PA, Poiez BJ, Gottlieb MJ, Holden H, Volsky D, Silver SS, Hawkins MJ: Suramin therapy in AIDS
      and related disorders: Report of the US Suramin Working Group. JAMA 1987; 258:1347-1351.

67.   Turner RR, Boone DC, Levine AM, Parker JW: Flow cytometric immunophenotyping in
      homosexual men with the persistent generalized lymphadenopathy syndrome: A longitudinal study
      of lymph nodes and blood. Diagnostic and Clin Immunol 1987; 5:194-200.

68.   Richardson JL, Marks G, Graham JW, Chan KK, Johnson CA, Levine AM: Assessment of
      compliance with cancer therapy: Conceptual and methodological issues. Hlth Psych 1987; 6:183-
      207.

69.   De Martini R, Turner RR, Formenti SC, Boone DC, Bishop PC, Levine AM, Parker JW: Peripheral
      blood mononuclear cell abnormalities and their relationship to clinical course in homosexual men
      with HIV infection. Diagnostic and Clinical Immunol 1988; 5:194-201.

70.   Chak LY, Gill PS, Levine AM, Meyer PR, Anselmo JA, Petrovich Z: Radiation therapy for Acquired
      Immunodeficiency Syndrome related Kaposi's Sarcoma. J Clin Onc 1988; 6:863-867.

71.   Hu E, Hufford S, Lukes R, Bernstein-Singer M, Sobel G, Gill P, Pinter-Brown L, Rarick M, Rosen P,
      Brynes R, Nathwani B, Feinstein D, Levine AM: Third world Hodgkin's disease at Los Angeles
      County - University of Southern California Medical Center. JCO 1988; 6:1285-1293.

72.   Hu E, Epstein AL, Naeve GS, Gill I, Martin S, Sherrod A, Nichols P, Chen D, Mazumder A, Levine
      AM: A phase Ia clinical trial of Lym-1 monoclonal antibody serotherapy in patients with refractory B
      cell malignancies. Hematol Oncology 1988; 6:1-12.

73.   Loureiro C, Gill PS, Levine AM: Autopsy findings in AIDS-related lymphoma. Cancer 1988;
      62:735-739.

74.   Richardson JL, Marks G, Levine AM: The influence of side effects on compliance with cancer
      treatment. J Clin Oncol 1988; 6:1746-52.

75.   Jamin D, Shulman I, Lam HT, Aguilar S, Shields M, Cohen J, Gill PS, Levine AM: Production of a
      positive direct antiglobulin test due to Suramin. Arch Pathol Lb Med 112:898-900, 1988.

76.   Gill PS, and Levine AM: HIV-related malignant lymphoma: Clinical aspects, treatment and
      pathogenesis. Ca Invest 6:413-416, 1988.



                                                  19
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 46 of 145


77.   Armitage JO, Greer JP, Levine AM, Weisenburger DD, Formenti SC, Bast M, Conley S, Pierson J,
      Linder J, Cousar JB, Nathwani BN: Peripheral T-cell lymphoma. Cancer 63:158-163, 1989.

78.   Marks GS, Richardson JL, Lochner LT, McGuigan KA, Levine AM: Assumed similarity of attitudes
      about AIDS among gay and heterosexual physicians. J of App Soc Psycho 18:774-786, 1988.

79.   Formenti SC, Gill PS, Lean E, Rarick M, Meyer P, Boswell W, Petrovich Z, Chak L, Levine AM:
      Primary central nervous system lymphoma in AIDS: Results of radiation therapy. Cancer 63:1101-
      1107, 1989.

80.   Gill PS, Loureiro C, Bernstein-Singer M, Rarick MU, Sattler F, Levine AM: Clinical effect of
      glucocorticoids on Kaposi's sarcoma in the Acquired Immunodeficiency Syndrome (AIDS). Ann
      Intern Med 110:937-940, 1989.

81.   Freeman WR, Chen A, Henderly DE, Levine AM, Luttrull JK, Urrea PT, Arthur J, Rasheed S,
      Cohen JL, Neuberg D, Leung RJ: Prevalence and significance of Acquired Immunodeficiency
      Syndrome Related retinal microvasculopathy: A cross sectional observational study. Am J
      Ophthal 1989; 107:229-235.

82.   Freeman WR, Henderly DE, Lipson BK, Rao NA, Levine AM: Retinopathy before diagnosis of
      AIDS. Annals of Opthalmology 1989; 21:468-74.

83.   Gill PS, Akil B, Colletti P, Rarick M, Loureiro C, Bernstein-Singer M, Krailo M, Levine AM:
      Pulmonary Kaposi's sarcoma: Clinical findings and results of therapy. Am J Med 1989; 87:57-61.

84.   Formenti S, De Martini R, Turner RR, Levine AM, Parker JW: Immunophenotypic analysis of
      peripheral blood leukocytes at different stages of HIV infection: An analysis of asymptomatic, ARC
      and AIDS populations. Am J Clinical Path 1989; 92:300-307.

85.   Richardson JL, Shelton D, Krailo M, Levine AM: The effect of compliance with treatment on
      survival among patients with hematologic malignancies. J Clin Oncol 8:356-364, 1990.

86.   Richardson JL, Zarnegar Z, Bisno B, Levine AM: Psychosocial status at initiation of cancer
      treatment and survival. J Psychosomatic Res 1990; 34:189-201.

87.   Gill PS, Rarick MU, Espina B, Loureiro C, Bernstein-Singer M, Akil B, Levine AM: Advanced AIDS
      related Kaposi's sarcoma: Results of pilot studies using combination chemotherapy (Low dose
      adriamycin, bleomycin and vincristine). Cancer 1990; 65:1074-78.

88.   Levine AM: Therapeutic approaches to neoplasms in AIDS. Rev Infec Dis 1990; 12:592-607.

89.   Gill PS, Rarick MU, Bernstein-Singer M, Harb M, Espina B, Shaw V, Levine AM: Treatment of
      advanced Kaposi's sarcoma using a combination of bleomycin and vincristine. American J of Clin
      Oncol 1990; 13(4):315-319.

90.   Gill PS, Rarick MU, Bernstein-Singer M, Espina BM, Jones B, Montgomery T, Sharma D, Rasheed
      S, Levine AM: Interferon-alpha maintenance therapy after cytotoxic chemotherapy for treatment of
      Acquired Immunodeficiency Syndrome-related Kaposi's sarcoma. J of Biol Resp Modifiers 1990;
      9:512-16.

91.   Rarick MU, Gill PS, Montgomery T, Bernstein-Singer M, Jones B, Levine AM: Treatment of
      epidemic Kaposi's sarcoma with combination of chemotherapy (vincristine and bleomycin) and
      zidovudine. Annals Oncol 1990; 1:147-49.

92.   Levine AM: Cancer in AIDS (editorial). Curr Opin in Oncol 1990; 2:1159-60.



                                                  20
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 47 of 145


93.   Gill PS, Rarick M, McCutchan JA, Slater L, Parker B, Muchmore E, Bernstein-Singer M, Akil B,
      Espina BM, Krailo M, Levine AM: Systemic treatment of AIDS related Kaposi's sarcoma: Results
      of a randomized trial. Am J Med 1991; 90:427-433.

94.   Shibata D, Weiss LLM, Nathwani BN, Brynes RK, Levine AM: Epstein-Barr virus in benign lymph
      node biopsies from individuals infected with the Human Immunodeficiency Virus is associated with
      the concurrent or subsequent development of non-Hodgkin's lymphoma. Blood 1991; 77:1527-
      1533.

95.   Levine AM: HIV related lymphoma: The epidemic shifts (editorial). J Natl Cancer Inst 1991;
      83:662-3.

96.   Gill PS, Rarick M, Bernstein-Singer M, Espina BM, Jones B, Montgomery T, Sharma D, Rasheed
      S, Levine AM: Interferon-alpha maintenance therapy after cytotoxic chemotherapy for treatment of
      Acquired Immunodeficiency Syndrome-related Kaposi's sarcoma. J Biol Resp Modifiers 1990;
      9:512-516.

97.   Rarick MU, Loureiro C, Groshen S, Sullivan-Halley J, Gill PS, Bernstein-Singer M, Levine AM:
      Serum erythropoietin titers in patients with Human Immunodeficiency Virus (HIV) infection and
      anemia. J Acq Immune Def Syndromes 1991; 4:593-97.

98.   Hersh EM, Brewton G, Abrams D, Bartlett J, Galpin J, Gill PS, Horter R, Gottlieb M, Jonikas JJ,
      Landesman S, Levine AM, Marcel A, Peterson EA, Whiteside M, Zahradnik J, Megron C, Boutitie
      F, Caraux J, Dupuy MJ, Salmi LR: Ditiocarb sodium (Diethyldithiocarbamate) therapy in patients
      with symptomatic HIV infection and AIDS: A randomized, double-blind, placebo-controlled,
      multicenter study. JAMA 1991; 265:1538-44.

99.   Levine AM, Wernz JC, Kaplan L, Rodman N, Cohen P, Metroka C, Bennett JM, Rarick MU, Walsh
      C, Kahn J, Miles S, Ehmann C, Feinberg J, Nathwani B, Gill PS, Mitsuyasu R: Low dose
      chemotherapy with central nervous system prophylaxis and azidothymidine maintenance in AIDS-
      related lymphoma: A prospective multi-institutional trial. JAMA 1991; 266:84-88.

100. Levine AM, Sullivan-Halley J, Pike MC, Rarick MU, Loureiro C, Bernstein-Singer M, Willson E,
     Brynes R, Parker J, Rasheed S, Gill PS: HIV related lymphoma: Prognostic factors predictive of
     survival. Cancer 1991; 68:2466-2472.

101. Rarick MU, Burian P, DeGuzman N, Espina B, Montgomery T, Jamin D, and Levine AM: The use
     of intravenous gamma globulin (IVIG) in patients with significant Human Immunodeficiency Virus
     related thrombocytopenia requiring dental extraction. Western J of Med 1991; 155:610-12.

102. Rarick MU, Espina B, Montgomery T, Easley A, Allen J, Levine AM: The long-term use of
     zidovudine in patients with severe immune-mediated thrombocytopenia secondary to infection with
     HIV. AIDS 1991; 5:1357-61.

103. Levine AM: Cancer in AIDS. Editorial Overview. Curr Opin in Oncol 1991; 3:863-66.

104. Hu E, Groshen S, Chen SC, Esplin J, Rosen P, Lukes R, Brynes R, Nathwani B, Feinstein D,
     Levine AM: Prognostic study of aggressive non-Hodgkin's lymphoma patients treated at LAC/USC
     Medical Center. In Press: Blood, 1991.

105. Rarick MU, Espina B, Mocharnuk R, Trilling Y, Levine AM: Thrombotic thrombocytopenic purpura
     in patients with Human Immunodeficiency Virus Infection: A report of three cases and review of the
     literature. Am J Hematol 1991; 40:103.




                                                 21
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 48 of 145


106. Gill PS, Aboulafia D, Espina B, Clark J, Rarick M, Aguilar SL, Slamon D, Krailo M, Rasheed S,
     Levine AM: Seroprevalence of HIV-I and HTLV-I/II in female prostitutes from Los Angeles County.
     In Press: J of AIDS, 1992.

107. Levine AM: AIDS-related lymphoma (Review). Blood 1992; 80:8-20.

108. Goldschmidts WL, Bhatia K, Johnson J, Akar N, Guiterrez MI, Shibata D, Carolan M, Levine AM,
     Magrath IT: Epstein-Barr genotypes in AIDS-associated lymphomas are similar to those in
     endemic Burkitt's lymphoma. Leukemia 1992; 6:875-78.

109. Levine AM, Shibata D, Sullivan-Halley J, Nathwani B, Brynes R, Slovak ML, Mahterian S, Riley CL,
     Weiss L, Levine PH, Rasheed S, Bernstein L: Epidemiological and biological study of acquired
     immunodeficiency syndrome-related lymphoma in the County of Los Angeles: Preliminary results.
     Cancer Res 1992; 52:5482s-84s.

110. Galetto G and Levine AM: AIDS-associated primary central nervous system lymphoma. JAMA
     1993; 269:92-3.

111. Pothen S, Cao T, Smith R, Levine PH, Levine AM, Pearson GR: Identification of major T and B
     cell epitopes associated with a restricted component of the Epstein Barr Virus induced early antigen
     complex. Int J Cancer 1993; 53:199-204.

112. Shibata D, Weiss LM, Hernandez AM, Nathwani BN, Bernstein L, Levine AM: Epstein-Barr-virus
     associated non-Hodgkin's lymphoma in patients infected with the Human Immunodeficiency virus.
     Blood 1993; 81:2102-2109.

113. Walsh C, Wernz J, Levine AM, Rarick M, Willson E, Melendez D, Bonnem E, Thompson J, Shelton
     B: Phase I trial of m-BACOD and granulocyte macrophage colony stimulating factor (GM-CSF) in
     HIV associated non-Hodgkin's lymphoma. J AIDS 1993; 6:265-271.

114. Radin DR, Esplin JA, Levine AM, Ralls PW: AIDS-related non-Hodgkin's lymphoma: Abdominal
     CT findings in 112 patients. Am J Radiology 1993; 160:1133-1139.

115. Levine AM: Hodgkin's disease in the setting of HIV infection (Editorial). Annals Oncology 1993;
     4:123-4.

116. Levine AM: AIDS related malignancies: The emerging epidemic (Review). J National Cancer
     Institute 1993; 85:1382-97.

117. Slovak M, Levine AM, et al: Cytogenetic studies of composite lymphomas: Monocytoid B cell
     lymphoma and other B cell non-Hodgkin's lymphomas. Hum Pathol 1993; 24:1086-94.

118. Strigle SM, Martin SE, Levine AM, Rarick MU: The use of fine needle aspiration cytology in the
     management of Human Immunodeficiency Virus related non-Hodgkin's lymphoma and Hodgkin's
     Disease. J of AIDS 1993; 6:1329-34.

119. Levine AM: Lymphoma complicating immunodeficiency disorders. Ann Oncol 1994; 5 (suppl
     2):S29-35.

120. Grunberg SM, Sherrod A, Muellenbach R, Renshaw M, Zaretsky S, Levine AM: Analysis of
     physician attitudes concerning requests for autopsy. Cancer Investigation 1994; 12(5):463-468.

121. Thompson S, Nanni C, Levine AM: Secondary and consequence-related control. J Personality
     and Social Psychology. J of Personality and Social Psycho 1994; 67:540-547.




                                                  22
         Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 49 of 145


122. Masood R, Lundardi-Iskandar Y, Moudgil T, Zhang Y, Law RE, Huang C, Puri RK, Levine AM, Gill
     PS: IL-10 inhibits HIV-1 replication and is induced by Tat. Biochem Biophys Res Commun 1994;
     202:374-383.

123. Gaidano G, LoCoco F, Ye BH, Shibata D, Levine AM, Knowles DM, Dalla-Favera R:
     Rearrangements of the bcl-6 gene in AIDS-associated non-Hodgkin's lymphoma: Association with
     diffuse large cell type. Blood 1994; 84:397-402.

124. Demidem A, Broquet C, Mencia-Huerta JM, Salahuddin SZ, Lam T, Khan RS, Braquet P, Levine
     AM, Bonavida B: Sensitivity of drug resistant B cell lines from AIDS-related non-Hodgkin's
     lymphoma to newly synthesized podophyllotoxin derivatives and aza-alkyllysophospholipids:
     enhanced sensitization by pretreatment with interferon gamma. Intern J Oncol 1994; 4:1203-9.

125. Gill PS, Miles SA, Mitsuyasu RT, Montgomery T, McCarthy S, Espina BM, Feldstein M, Levine AM:
     Phase I AIDS Clinical Trials Group (075) study of adriamycin, bleomycin and vincristine
     chemotherapy with zidovudine in the treatment of AIDS-related Kaposi's sarcoma. AIDS 1994;
     8:1695-99.

126. Keung YK, Chen SC, Groshen S, Douer D, Levine AM: Acute myeloid leukemia subtypes and
     response to treatment among ethnic minorities in a large us urban hospital. Acta Hemaematol
     1994; 92:18-22.

127. Gill PS, Espina BM, Moudgil T, Kidane S, Esplin JA, Tulpule A, Levine AM: All-Trans Retinoic Acid
     for the Treatment of AIDS-Related Kaposi's Sarcoma: Results of a Pilot Phase II Study. Leukemia
     1994; 8:S26-S32.

128. Gill PS, Espina BM, Muggia F, Cabriales S, Tulpule A, Esplin JA, Liebman HA, Forssen E, Ross
     ME, Levine AM: Phase I/II clinical and pharmacokinetic evaluation of liposomal daunorubicin. J
     Clin Oncol 1995; 13:996-1003.

129. Masood R, Zhang Y, Bond MW, Scadden DT, Moudgil T, Law RE, Kaplan MH, Jung B, Espina BM,
     Lunardi-Iskandar Y, Levine AM, Gill PS: Interleukin 10 is an autocrine growth factor for AIDS
     related B cell lymphoma. Blood 1995; 85:3423-30.

130. Gill PS, Harrington W, Kaplan MH, Ribeiro RC, Bennett JM, Liebman HA, Bernstein-Singer M,
     Espina BM, Cabral L, Allen S, Kornblau S, Pike MC, Levine AM: Treatment of Adult T cell
     leukemia-lymphoma with a combination of interferon alpha and zidovudine. N Engl J Med 1995;
     332:1744-8.

131. Levine AM: Viral associated neoplasms in humans: Additional clues (editorial). Jour Nat Cancer
     Inst 1995; 87:947-9.

132. Keung YK, Watkins K, Chen SC, Groshen S, Levine AM, Douer D: Increased incidence of central
     venous catheter-related infections in bone marrow transplant patients. Am J Clin Oncol 1995;
     18:469-474.

133. Levine AM, Bernstein L, Sullivan-Halley J, Shibata D, Bauch-Mahterian S, Nathwani BN: Role of
     zidovudine antiretroviral therapy in the pathogenesis of AIDS-related lymphoma. Blood 1995;
     86:4612-4616.

134. Douvas A, Levine AM, Xia L, and Ehresmann G: An autoimmune antigen 70K which stimulates
     lymphocytes from HIV+ donors. Arthritis Rheum 1995; 38:S211.




                                                23
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 50 of 145


135. Levine AM, Groshen S, Allen J, Munson K, Carlo DJ, Daigle AE, Ferre F, Jensen FC, Richieri S,
     Trauger RJ, Parker JW, Salk PL, Salk J: Initial studies on active immunization of HIV infected
     subjects using a gp-120 depleted HIV-1 Immunogen: Long-term follow-up. J Acq Immune Def
     Synd and Hum Retro 1996; 11:351-64.

136. Douer D, Preston-Martin S, Nichols PW, Chang E, Watkins E, Levine AM: High frequency of acute
     promyelocytic leukemia among Latinos with acute myeloid leukemia. Blood 1996; 87:308-313.

137. Dutta SC, Simons AJ, Levine AM, Ryan M, Anthone GJ, Beart RW, Jr: Surgical outcome in
     Acquired Immunodeficiency Syndrome patients with non-Hodgkin’s lymphoma of the
     gastrointestinal tract. Dis Colon Rectum 1996; 39:167-170.

138. Rizzo J, Levine AM, Weiss GR, Pearce TI, Kraynak M, Mueck R, Smith S, Von Hoff DD, Kuhn JG:
     Pharmacokinetic profile of Mitoguazone (MGBG) in patients with AIDS related non-Hodgkin’s
     lymphoma. Invest New Drugs 1996; 14:227-234.

139. Mordkin R, Skinner DS, Levine AM: Long-term, disease-free survival after plasmacytoma of the
     urethra: A case report. Urology 1996; 48:149-150.

140. Douer D, Preston-Martin S, Nichols PW, Levine AM: High frequency of a specific subtype of AML
     in Latino patients in Los Angeles County. J Registry Management 1996; 34:88-91.

141. Wallace MR, Moss RB, Beecham HG, Grace CJ, Hersh EM, Peterson E, Murphy RP, Shepp DH,
     Siegal FP, Turner JL, Safrin S, Carlo DJ, Levine AM: Early clinical markers and CD4 percentage
     in subjects with Human Immunodeficiency Virus infection. J AIDS and Human Retrov 1996;
     12:358-62.

142. Levine AM: Regression of Acquired Immunodeficiency Virus syndrome related Kaposi’s sarcoma
     during thalidomide therapy. Clin Infectious Dis 1996; 23:504-5.

143. Levine AM, Tulpule A, Espina B, Boswell W, Buckley J, Rasheed S, Stain S, Parker J, Nathwani B,
     Gill PS: Low dose methotrexate, bleomycin, adriamycin, cyclophosphamide, oncovin, and
     dexamethasone with Zalcitabine in patients with Acquired Immunodeficiency Syndrome-related
     lymphoma: Effect on Human Immunodeficiency Virus and serum interleukin-6 levels over time.
     Cancer 1996; 78:517-26.

144. Douer D, Levine AM, Anderson WF, Gordon M, Groshen S, Kahn A, Mohrbacher A, Muggia F,
     Shibata D: High dose chemotherapy and autologous bone marrow plus peripheral blood stem cell
     transplantation for patients with lymphoma or metastatic breast cancer. Use of marker genes to
     investigate hematopoietic reconstitution in adults. Human Gene Therapy 1996; 7:669-684.

145. Gill PS, Lunardi-Iskandar Y, Louie S, Tulpule A, Zheng T, Espina BM, Besnier JM, Hermans P,
     Levine AM, Bryant JL, Gallo RC: Human chorionic gonadotropin has antitumor activity in AIDS-
     related Kaposi’s sarcoma. N Engl J Med 1996; 335:1261-1269.

146. Tulpule A, Joshi B, DeGuzman N, Espina BM, Mocharnuk R, Prakash O, Templeton D, Levine AM,
     Gill PS: Interleukin-4 in the treatment of AIDS-related Kaposi’s sarcoma. Annals of Oncology
     1997; 8:79-83.

147. Damos DL, John RS, Parker ES, Levine AM: Cognitive function in asymptomatic HIV infection.
     Archives of Neurology 1997; 54:179-185.

148. Levine AM, Tulpule A, Tessman D, Kaplan L, Giles F, Luskey BD, Scadden DT, Northfelt DW,
     Silverberg I, Wernz J, Espina B, Von Hoff D: Mitoguazone therapy in patients with refractory or
     relapsed AIDS-related lymphoma: Results from a multi-center Phase II trial. J Clin Oncol 1997;
     15:1094-1103.


                                                 24
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 51 of 145


149. Kaplan LD, Straus DJ, Testa MA, Von Roenn J, Dezube BJ, Cooley TP, Hernier B, Northfelt DW,
     Huang J, Tulpule A, Levine AM: Low dose compared with standard dose m-BACOD
     chemotherapy for non-Hodgkin’s lymphoma associated with Human Immunodeficiency Virus
     infection. NEJM 1997; 336:1641-1648.

150. Zuckerman E, Zuckerman T, Levine AM, Douer D, Gutekunst K, Mizokami M, Qian DG, Velankar
     M, Nathwani BN, Fong TL: Hepatitis C virus infection in patients with B-cell non-Hodgkin’s
     lymphoma. Ann Intern Med 1997; 127:423-8.

151. Damos DL, John RS, Parker ES, Levine AM: Examining the relation between anti-retroviral
     therapy and cognitive performance using a cross-sectional design. Aviation, Space and Environ
     Med 1997; 68:900-6.

152. Nelson RA, Levine AM, Marks G, Bernstein L: Alcohol, tobacco and recreational drug use and the
     risk of non-Hodgkin’s lymphoma. Brit J Cancer 1997; 76:1532-37.

153. Gill PS, Mitsuyasu RT, Montgomery T, Huang J, Cabriales S, Testa M, Espina BM, Levine AM,
     Miles SA: AIDS Clinical Trials Group Study 094: A phase I/II trial of ABV chemotherapy with
     zidovudine and recombinant human GM-CSF in AIDS-related Kaposi’s sarcoma. Cancer Journal
     Scientific American 1997; 3:278-283.

154. Levine AM: Hodgkin’s Disease in the setting of HIV infection. J Nat Cancer Institute 1998; 23:37-
     42.

155. Douer D, Ramezani L, Mohrbacher AF, Khan A, Groshen S, Levine AM, Anderson WF: The
     influence of patient-related factors on ex vivo retroviral-mediated gene transfer into mobilized
     peripheral blood myeloid progenitors. Human Gene Therapy 1998; 9:1061-1068.

156. Tulpule A, Schiller G, Harvey-Buchanan LA, Lee M, Espina BM, Khan AU, Boswell W, Nathwani B,
     Levine AM: Cladribine in the treatment of advanced relapsed or refractory low and intermediate
     grade non-Hodgkin’s lymphoma. Cancer 1998; 83:2370-2376.

157. Nelson RA, Levine AM, Bernstein L: Blood transfusions and the risk of intermediate or high grade
     non-Hodgkin’s lymphoma. J Nat Cancer Institute 1998; 90:1742-1743.

158. Levine AM: Treatment of aggressive lymphomas. Seminars Oncol 1998; 25:98-108.

159. Miles SA, Levine AM, Feldstein M, Carden J, Cabriales S, Marcus S, Mitsuyasu R, Gill PS: Open
     label phase I study of combination therapy with zidovudine and interferon-beta in patients with
     AIDS-related Kaposi’s sarcoma: AIDS Clinical Trials Group Protocol 057. Cytokines, Cellular and
     Molecular Therapy 1998; 4:17-23.

160. Telzak EE, Hershow R, Kalish LA, Hardy WD, Zuckerman E, Levine AM, Delapenha R, DeHovitz
     J, Greenblatt RM, Anastos K: Seroprevalence of HTLV-I and HTLV-II among a cohort of HIV
     infected women and women at risk for HIV infection. J Acquired Immune Def Syndromes and
     Human Retrovirol 1998; 19:513-518.

161. Straus DJ, Huang J, Testa MA, Levine AM, Kaplan LD: Prognostic factors in the treatment of
     Human Immunodeficiency Virus associated non-Hodgkin’s Lymphoma: Analysis of AIDS clinical
     Trials Group protocol 142 - Low dose versus standard-dose m-BACOD plus granulocyte-
     macrophage colony-stimulating factor. J Clin Oncol 1998; 16:3601-3606.

162. Scadden DT, Schenkein DP, Bernstein Z, Luskey B, Doweiko JP, Tulpule A, Levine AM:
     Immunotoxin combined with chemotherapy for patients with AIDS-related non-Hodgkin’s
     lymphoma. Cancer 1998; 83:2580-2587.



                                                   25
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 52 of 145


163. Zuckerman E, Zuckerman T, Douer D, Qian D, Levine AM: Liver dysfunction in patients infected
     with Hepatitis C virus undergoing chemotherapy for hematologic malignancies. Cancer 1998;
     83:1224-30.

164. Douer D, Preston-Martin S, Chang E, Nichols PW, Watkins KJ, Levine AM: High frequency of
     acute promyelocytic leukemia among Latinos with acute myeloid leukemia. BioMedicina 1998;
     1:109-112.

165. Telzac EE, Hershow R, Kalish LA, Hardy WD Jr, Zuckerman E, Levine AM, Delepenha R,
     DeHovitz J, Greenblatt RM, Anastos K: Seroprevalence of HTLV-I among a cohort of HIV infected
     women. J AIDS & Hum Retrovir 1998; 19:513-18.

166. Palefsky M, Minkoff H, Kalish LA, Levine AM, Sacks HS, Garcia P, Young M, Melnick S, Miotti P,
     Burk R: Cervicovaginal human papillomavirus infection in HIV positive and high risk HIV-negative
     women. J NCI 1999; 91:226-236.

167. Levine AM, Zuckerman E, Zuckerman T, Nelson R, Govindarajan S, Valinluck B, Bernstein L:
     Lack of association between Hepatitis C infection and development of AIDS related lymphoma. J
     AIDS & Hum Retrovirol 1999; 20:255-258.

168. Kovacs A, Chac LS, Chen ZC, Meyer WA, Muderspach L, Young M, Anastos K, Levine AM: HIV-1
     RNA in plasma and genital tract secretions in women infected with HIV-1. J AIDS 1999; 22:124-
     131.

169. Nathwani BN, Drachenberg MR, Hernandez AM, Levine AM, Sheibani K: Nodal monocytoid B cell
     lymphoma (Nodal marginal-zone B cell lymphoma). Semin Hematol 1999; 36: 128-138.

170. Chen C-L, Levine AM, Rao A, O’Neill K, Messinger Y, Myers DE, Goldman F, Hurvitz C, Casper
     JT, Uckun FM: Clinical pharmocokinetics of the CD19 receptor directed tyrosine kinase inhibitor
     B43 genestein in patients with B lineage lymphoid malignancies. J Clin Pharmacol 1999; 12:1248.

171. Douer D, Ramezani L, Parker J, Levine AM: All trans retinoic acid effects the growth,
     differentiation and apoptosis of normal human myeloid progenitors derived from purified CD34+
     bone marrow cells. Leukemia 2000; 14:874-881.

172. Anastos K, Gange SJ, Lau B, Weiser B, Detels R, Giorgi JV, Margolick JB, Cohen MP, Phair J,
     Melnick S, Rinaldo CR, Kovacs A, Levine AM, Landesman S, Young M, Munoz A, Greenblatt RM:
     The Association of race and gender with HIV-1 RNA levels and immunologic progression. J AIDS
     2000; 24:218-26.

173. Levine AM, Li P, Cheung T, Tulpule A, Von Roenn J, Nathwani BN, Ratner L: ABVD
     chemotherapy with G-CSF in HIV infected patients with newly diagnosed Hodgkin’s Disease: A
     prospective, multi-institutional AIDS Clinical Trials Group Study (ACTG # 149). J AIDS 2000;
     24:444-450.

174. Hessol NA, Anastos K, Levine AM, Ameli N, Cohen M, Young M, Augenbraun M, Miotti P, Gange
     SJ: Factors associated with incident self reported AIDS among women enrolled in the Women’s
     Interagency HIV Study (WIHS). AIDS Res and Hum Retrov 2000; 16:1105-1111.

175. Levine AM, Seneviratne L, Espina BM, Wohl AR, Tulpule A, Nathwani BN, Gill PS: Evolving
     characteristics of AIDS related lympomas. Blood 2000; 96:4084-4090.

176. Levine AM, Berhane K, Masri-Lavine L, Sanchez ML, Young M, Augenbraun M, Cohen MN,
     Anastos K, Newman M, Gange SJ, Watts H: Prevalence and correlates of anemia in a large cohort
     of HIV infected women: Women’s Interagency HIV Study. JAIDS 2001; 26:28-35.



                                                 26
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 53 of 145


177. Ratner L, Lee J, Tang S, Redden D, Hamzeh F, Herndier B, Scadden D, Kaplan L, Ambinder R,
     Levine AM, Harrington W, Grochow L, Flexner C, Tan B, Straus D: Chemotherapy for Human
     Immunodeficiency Virus-Associated non-Hodgkin’s lymphoma in combination with highly active
     antiretroviral therapy. J Clin Oncol 2001; 19:2171-2178.

178. Nelson RA, Levine AM, Bernstein L: Reproductive factors and risk of intermediate or high grade B
     cell non-Hodgkin’s lymphoma in women. J Clin Oncol 2001; 19:1381-1387.

179. Levine AM, Seneviratne L, Tulpule A: Incidence and management of AIDS related lymphoma.
     Oncology 2001; 15:867-877.

180. Tulpule A, Rarick MU, Kolitz J, Bernstein J, Myers A, Buchanan LA, Espina BM, Traynor A, Letzer
     J, Justice GR, McDonald D, Roberts L, Boswell W, Nathwani B, Levine AM: Liposomal
     daunorubicin in the treatment of relapsed or refractory non-Hodgkin’s lymphomas. Annals
     Oncology 2001; 12:457-462.

181. Levine AM and Tulpule A: Clinical aspects and management of AIDS-related Kaposi’s sarcoma.
     European J Cancer 2001; 37:1288-1295.

182. Kovacs A, Wasserman SS, Burns D, Wright DJ, Cohn J, Landay A, Weber K, Cohen M, Levine
     AM, Minkoff H, Miotti P, Palefsky J, Young M, Reichelderfer P: Determinants of HIV-1 shedding in
     the genital tract of women. Lancet 2001; 358:1593-1601.

183. Greenblatt R, Jacobson LP, Levine AM, Melnick S, Anastos K, Cohen M, DeHovitz J, Young MA,
     Burns D, Miotti P, and Koelle DM: Human herpesvirus 8 infection and Kaposi’s sarcoma among
     human immunodeficiency virus infected and uninfected women. J Infect Dis 2001; 183:1130-1134.

184. Hilton JF, Alves M, Canchola AJ, Cohen M, Delapenha R, Greenspan D, Levine AM, Macphail LA,
     Micci SJ, Mulligan R, Navazesh M, Phelan J, Tsaknis P: Accuracy of diagnoses of HIV related oral
     lesions by medical clinicians: Findings of the Women’s Interagency HIV study. Community
     Dentistry and Oral Epidemiology 2001; 29:362-372.

185. Bi J, Espina BM, Tulpule A, Boswell W, Levine AM: High dose cytosine arabinoside and cisplatin
     regimens as salvage therapy for refractory or relapsed AIDS related non-Hodgkin’s lymphoma. J
     AIDS 2001; 28:416-421.

186. Seneviratne L, Tulpule A, Espina BM, Chen JA, Nathwani B, Levine AM: Clinical, immunologic
     and pathologic correlates of bone marrow involvement in 291 patients with AIDS-related lymphoma.
     Blood 2001; 98:2358-2363.

187. Kobayashi A, Darragh T, Herndier B, Anastos K, Minkoff H, Cohen M, Young M, Levine AM, Grant
     LA, Hyun W, Weinberg V, Greenblatt R, Smith-McCune K: Lymphoid follicles are generated in high
     grade cervical dysplasia and have differing characteristics depending on HIV status. Am J Pathol
     2002; 160:151-164.
188. Tulpule A, Sherrod A, Dharmapala D, Young LL, Espina BM, Sanchez MN, Gill PS, Levine AM:
     Multidrug resistance (MDR-1) expression in AIDS related lymphomas. Leukemia Research 2002;
     26:121-127.

189. Koya RC, Kasahara N, Pullarkat V, Levine AM, Stripecke R: Transduction of acute myeloid
     leukemia cells with third generation self-inactivating lentiviral vectors expressing CD80 and GM-
     CSF: Effects on proliferation, differentiation, and stimulation of allogeneic and autologous anti-
     leukemia immune responses. Leukemia 2002; 16:1645-54.

190. Levine AM, Sadeghi S, Espina B, Tulpule A, Nathwani B: Characteristics of indolent non-
     Hodgkin’s lymphoma in patients with type 1 Human Immunodeficiency Virus infection. Cancer
     2002; 94:1500-1506.


                                                   27
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 54 of 145


191. Preston-Martin S, Kirstein L, Pagoda JM, Melnick SL, Masri-Lavine L, Silver S, Hessol N, French
     AL, Feldman J, Sacks HS, Rimer B, Deely M, Levine AM: Use of mammographic screening by
     HIV infected women in the Women’s Interagency HIV Study. Preventive Medicine 2002; 34:386-
     392.

192. Richardson JL, Martin EM, Jiminez N, Danley K, Cohen M, Carson VL, Sinclair B, Reed RA,
     Levine AM: Neuropsychological functioning in a large cohort of HIV infected women: The
     importance of anti-retroviral therapy. Journal International Neuropsychological Society 2002;
     8:781-793.

193. Kirstein LM, Greenblatt RM, Anastos K, Levine AM, French AL, Minkoff H, Silver S, Gange SJ for
     the Women’s Interagency HIV Study Collaborative Research Group: Prevalence and correlates of
     highly active antiretroviral therapy switching in the Women’s Interagency HIV Study. J AIDS 2002;
     29:495-503.

194. Anastos K, Barron Y, Greenblatt R, Hessol N, Weiser B, Young M, Augenbraun M, Cohen M,
     Levine AM, Munoz M, et al: Risk of disease progression and death in HIV infected women
     initiating highly active antiretroviral therapy at different stages of disease. Arch Intern Med 2002;
     162:1973-1980.

195. Levine AM: Evaluation and management of the HIV infected woman: Review. Annals Intern Med
     2002; 136:228-242.

196. Stripecke R, Levine AM, Pullarkat V, Cardoso AA: Immunotherapy with acute leukemia cells
     modified into antigen-presenting cells: ex vivo culture and gene transfer methods. Leukemia 2002;
     16:1974-1983.

197. Levine AM: Challenges in the management of Burkitt's lymphoma. Clinical Lymphoma 2002;
     3:S19-25.

198. Sung VMH, Shimodaira S, Doughty AL, Can H, Yen B, Lindsay KL, Levine AM, Lai MMC:
     Establishment of B cell lymphoma cell lines persistently infected with Hepatitis C virus in vivo and in
     vitro: the apoptotic effects of virus infection. J Virology 2003; 77:2134-2146.

199. Justman JE, Benning L, Danoff A, Robison E, Weber K,Minkoff H, Levine AM, Piessens E,
     Greenblatt RM, Anastos K: Protease inhibitor use and the incidence of diabetes mellitus in a large
     cohort of HIV infected women. J AIDS 2003; 32:298-302.

200. Bhoopat L, Rithaporn TS, Lekawanvigit S, Taylor CR, Levine AM, Bhoopat T: Different localization
     of dendritic cell reservoirs in HIV-1 subtype B versus subtype E infected lymph nodes. Applied
     Immunohistochem and Molecular Morphology 2003; 11: 144-148.

201. Strickler HD, Palefsky JM, Shah KV, Anastos K, Klein RS, Minkoff H, Duerr A, Massad LS,
     Celentano DD, Hall C, Fazzari M, Cu-Uvin S, Bacon M, Schuman P, Levine AM, Durante AJ,
     Gange S, Melnick S, Burk R: The weak association of HPV 16 with immune status in HIV
     seropositive women. J Nat Cancer Institute 2003; 95:1062-71.

202. Giles FJ, Faderl S, Thomas DA, Cortez JE, Garcia-Manero G, Douer D, Levine AM, Koller CA,
     Jeha SS, O’Brien SM, Estey EH, Kantarjian HM: Randomized Phase I/II study of topotecan in
     patients with refractory myeloid leukemias. J Clin Oncol 2003; 21:1050-1056.

203. Cejtin HE, Jacobson L, Springer G, Watts H, Levine AM, Greenblatt R, Anastos K, Minkoff HL,
     Massad LS, Schmidt JB: Effect of hormonal contraceptive use on plasma HIV-1 RNA levels among
     HIV-infected women. AIDS 2003; 17:1702-1704.




                                                    28
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 55 of 145


204. Viscidi RP, Ahdieh-Grant L, Schneider MF, Clayman B, Massad LS, Anastos KM, Burk RD, Minkoff
     H, Palefsky J, Levine AM, Strickler H: Serum immunoglobulin A response to human
     papillomavirus type 16 virus-like-particles in Human Immunodeficiency Virus (HIV) positive and
     high-risk HIV negative women. J Infect Disease 2003; 188:1834-1844.

205. Stripecke R, Koya RC, Ta HQ, Kasahara N, Levine AM: The use of lentiviral vectors in gene
     therapy of leukemia: combinatorial gene delivery of immunomodulators into leukemia cells by
     state-of-the-art vectors. Blood Cells, Molecules and Diseases 2003; 31:28-37.

206. Douer D, Watkins K, Levine AM, Weiss JM, Marshall LC, Craig AR: Induction of complete
     remission using single agent clofarabine in a patient with primary refractory acute myeloblastic
     leukemia. Leukemia & Lymphoma 2003; 12:2135-2136.

207. Levine AM, Shimodaira S, Lai MMC: Treatment of HCV related mantle cell lymphoma with
     ribavirin and pegylated interferon alfa. N Engl J Med 2003; 349:2078-79.

208. Massad LS, Seaberg E, Watts H, Hessol NA, Melnick S, Bitterman P, Anastos K, Levine AM,
     Silver S, Minkoff H: Low incidence of invasive cervical cancer among women enrolled in the
     Women’s Interagency HIV Study. AIDS 2004; 18:109-113.

209. Anastos K, Barron Y, Cohen MH, Greenblatt RM, Minkoff H, Levine AM, Young M, Gange SJ: The
     Prognostic Importance of Changes in CD4+ Cell Count and HIV-1 RNA Level in Women after
     Initiating Highly Active Antiretroviral Therapy. Ann Intern Med 2004; 140:256-264.

210. Anastos K, Shi Q, French AL, Levine AM, Greenblatt RM, Williams C, DeHovitz J, Delapenha R,
     Hoover DR: Total lymphocyte count, hemoglobin, and delayed type hypersensitivity as predictors
     of death and AIDS illness in HIV-1 infected women receiving highly active antiretroviral therapy. J
     AIDS 2004; 35:383-392.

211. Tulpule A, Espina BM, Santabarbara ABP, Palmer M, Schiflett J, Boswell W, Smith S, Levine AM:
     Treatment of AIDS related non-Hodgkin’s lymphoma with combination mitoguazone dihydrochloride
     and low dose CHOP chemotherapy: Results of a Phase II study. Investigational New Drugs 2004;
     22:63-68.

212. Machida K, Cheng KTN, Sung VMH, Shimodaira S, Lindsay KL, Levine AM, Lai M-Y, Lai MMC:
     Hepatitis C virus induces a mutator phenotype: enhanced mutations of immunoglobulin and
     protooncogenes. Proc Nat Acad Sci, USA 2004; 101:4262-4267.

213. Gluck WL, Hurst D, Yuen A, Levine AM, Dayton MA, Gockerman JP, Lucas J, Denis-Mize K, Tong
     B, Navis D, Difrancesco A, Milan S, Wilson S, Wolin M: Phase I studies of interleukin (IL)-2 and
     rituximab in B cell non-Hodgkin’s lymphoma: IL-2 mediated natural killer cell expansion correlations
     with clinical response. Clin Ca Research 2004; 10:2253-2264.

214. Minkoff H, Feldman JG, Strickler HD, Watts DH, Bacon MC, Levine AM, Palesfky JM, Burk R,
     Cohen MH, Anastos K: The relationship between smoking and human papillomavirus infections in
     HIV infected and uninfected women. JID 2004; 189:1821-8.

215. Cohen MH, Cook JA, Grey D, Young M, Levine AM, Tien P, Hanau LH, Wilson TE: Medically
     eligible women not on highly active antiretroviral therapy: The importance of abuse, drug use and
     race. Am J Public Health 2004; 94:1147-1151.

216. Massad LS, Schneider MF, Watts DH, Melnick S, Palefsky J, Strickler H, Levine AM, Minkoff H:
     HPV testing for the triage of HIV infected women with Papanicolaou smears read as atypical
     squamous cells of uncertain significance. J Womens Health 2004; 13:147-53.




                                                  29
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 56 of 145


217. Massad LS, Silverberg MJ, Springer G, Hessol N, Palesfky JM, Strickler HD, Levine AM, Sacks
     HS, Minkoff H, Watts H: Effect of antiretroviral therapy on the incidence of genital warts and vulvar
     neoplasia among women with HIV. Am J Obstet Gynecol 2004; 190:1241-8.

218. Ahdieh-Grant L, Li R, Levine AM, Massad L, Strickler HD, Minkoff H, Moxley M, Palefsky JM,
     Sacks HS, Gange S: Use of highly active antiretroviral therapy and the regression of cervical
     squamous intraepithelial lesions in women infected with human immunodeficiency virus. J Nat
     Cancer Institute 2004; 96:1070-1076.

219. Hessol NA, Seaberg EC, Preston-Martin S, Massad LS, Sacks HS, Silver S, Melnick S, Abulafia D,
     Levine AM: Cancer risk among participants in the Women’s Interagency HIV Study (WIHS).
     JAIDS 2004; 36:978-985.

220. Berhane K, Karim R, Cohen MH, Masri-Lavine L, Young M, Anastos K, Augenbraun M, Watts DH,
     Levine AM: Impact of highly active anti-retroviral therapy on anemia, and relationship between
     anemia and survival in a large cohort of HIV infected women: Women’s Interagency HIV Study.
     JAIDS 2004; 37:1245-1252.

221. Volberding PA, Levine AM, Dieterich D, Mildvan D, Mitsuyasu R, Saag M: Anemia in HIV Working
     Group. Anemia in HIV infection: clinical impact and evidence-based management strategies. Clin
     Infect Dis 2004; 38:1454-63.

222. Arzoo KK, Bu X, Espina BM, Seneviratne L, Nathwani B, Levine AM: T cell lymphoma in HIV
     infected patients. JAIDS 2004; 36:1020-1027.

223. Machida K, Cheng K, Sung V M-H, Levine AM, Lai MMC: Hepatitis C virus infection activates: the
     immunologic (Type II) isoform of nitric oxide synthase and thereby enhances DNA damage and
     mutations of cellular genes. J Virol 2004; 78:8835-8843.

224. Koya CR, Weber JS, Kasahara N, Lau R, Villacres MC, Levine AM, Stripecke R: Making dendritic
     cells from the inside out: Lentiviral vector-mediated gene delivery of granulocyte-macrophage
     colony-stimulating factor and interleukin 4 into CD14+ monocytes generates dendritic cells in vitro.
     Human Gene Therapy 2004; 15:733-748.

225. Levine AM, Tulpule A, Espina B, Sherrod A, Boswell WD, Lieberman RD, Nathwani BN, Welles L:
     Liposome encapsulated doxorubicin (Myocet) in combination with standard agents
     (cyclophosphamide, vincristine, prednisone) in patients with newly diagnosed AIDS related non-
     Hodgkin’s lymphoma: Results of therapy and correlates of response. J Clin Oncol 2004; 22:2662-
     2670.

226. Kobayashi A, Greenblatt RM, Anastos K, Minkoff H, Massad LS, Young M, Levine AM, Darragh
     TM, Weinberg V, Smith-McCune KK: Functional attributes of mucosal immunity in cervical
     intraepithelial neoplasia and effects of HIV infection. Cancer Research 2004; 64:6766-6774.
227. Saag MS, Bowers P, Leitz GJ, Levine AM: Once weekly epoeitin alfa improves quality of life and
     increases hemoglobin in anemic HIV infected patients. AIDS Res Hum Retroviruses 2004; 20:1037-
     1045.

228. Lim ST, Tulpule A, Espina BM, Levine AM: Weekly docetaxel is safe and effective in the treatment
     of advanced-stage acquired immunodeficiency syndrome-related Kaposi sarcoma. Cancer 2005;
     103:417-21.

229. Chu J, Gange SJ, Anastos K, Minkoff H, Cejtin H, Bacon M, Levine AM, Greenblatt RM: The
     association of hormonal contraceptive use with the effectiveness of highly active antiretroviral
     therapy. Am J Epidemiology 2005; 161:881-890.




                                                   30
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 57 of 145


230. Watts DH, Fazarri M, Minkoff H, Hillier SL, Sha B, Glesby M, Levine AM, Burk R, Palefsky JM,
     Moxley M, Ahdieh-Grant L, Strickler HD: Effects of bacterial vaginosis and other genital infections
     on the natural history of Human Papillomavirus infection in HIV-1 infected and high risk HIV-1
     uninfected women. J Infect Dis 2005; 191: 1129-1139.

231. Lim ST, Rubin N, Said J, Levine AM: Primary Effusion Lymphoma (PEL): Successful treatment
     with highly active antiretroviral therapy (HAART) and Rituximab. Ann Hematol 2005; 84:551-552.

232. Lim ST, Levine AM: Recent Advances in AIDS-Related lymphoma. CA: A Cancer Journal for Clin
     2005; 55:229-241.

233. Lim ST, Levine AM: Non-AIDS Defining Cancers and HIV Infection. Curr Infect Dis Rep 2005;
     7:227-234.

234. Harris TG, Burk RD, Palefsky JM, Massad LS, Bang JY, Anastos K, Minkoff H, Hall CB, Bacon MC,
     Levine AM, Watts DH, Silverberg MJ, Xue X, Melnick SL, Strickler HD: Incidence of cervical
     squamous intraepithelial lesions associated with HIV serostatus, CD4 cell counts, and human
     papillomavirus test results. JAMA 2005; 293:1471-1476.

235. Lim ST, Levine AM: Angiogenesis and Hematological Malignancies. Hematology 2005; 10:11-24.

236. Lim ST, Levine AM: AIDS-related Hodgkin’s Disease. Abstr Hematol Oncol 2005; 8:24-30.

237. Richardson JL, Nowicki M, Danley K, Martin EM, Cohen MH, Gonzalez R, Vassileva J, Levine AM:
     Neuropsychological functioning in a cohort of HIV and HCV infected women. AIDS 2005;
     19(15):1659-1667.

238. Lim ST, Karim R, Nathwani BN, Tulpule A, Espina B, Levine AM: AIDS-Related Burkitt’s
     Lymphoma (HIV-BL) versus Diffuse Large cell Lymphoma (HIV-DLCL) in the Pre-HAART and
     HAART Eras: Significant Differences in Survival with Standard Chemotherapy. JCO 2005; 23:4430-
     4438.

239. Strickler HD, Burk RD, Fazzari M, Anastos K, Minkoff H, Massad S, Hall C, Bacon M, Levine AM,
     Watts DH, Silverberg MJ, Xue X, Schlect NF, Melnick S, Palefsky JM. Natural History and Possible
     Reactivation of Human Papillomavirus in Human Immunodeficiency Virus-Positive Women. Journal
     of the National Cancer Institute 2005; 97:577-586.

240. Anastos K, Schneider MF, Gange SJ, Minkoff H, Greenblatt RM, Feldman J, Levine AM,
     Delapenha R, Cohen M: The Association of Race, Sociodemographic, and Behavioral
     Characteristics With Response to Highly Active Antiretroviral Therapy in Women. J Acquir Immune
     Defic Syndr 2005; 39:537-544.

241. Schlecht NF, Burk RD, Palefsky JM, Minkoff H, Xue X, Massad LS, Bacon M, Levine AM, Anastos
     K, Gange SJ, Watts H, Da Costa MM, Chen Z, Bang JY, Fazzari, M, Hall C, Strickler HD: Variants
     of HPV 16 and 18 and their natural history in HIV positive women. J General Virology, 2005;
     86:2709-20.

242. Gandhi M, Ameli N, Bacchetti P, Sharp GB, French AL, Young M, Gange SJ, Anastos K, Holman S,
     Levine AM, Greenblatt M: Eligibility criteria for HIV clinical trials and generalization of results: the
     gap between published reports and study protocols. AIDS, 2005; 19:1885-1896.

243. Massad LS, Evans CT, Strickler HD, Burk RD, Watts H, Cashin L, Darragh T, Gange S, Lee Y-C,
     Moxley M, Levine AM, Passaro DJ: Outcome after negative colposcopy among human
     immunodeficiency virus-infected women with borderline cytologic abnormalities. Obstet Gynecol
     2005; 106: 525-532.



                                                    31
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 58 of 145


244. Lim ST, Karim R, Tulpule A, Nathwani BN, Levine AM: Prognostic factors in HIV related diffuse
     large cell lymphoma: Before versus after highly active antiretroviral therapy. J Clin Oncol 2005; 23:
     8477-8482.

245. Kaplan LD, Lee JY, Ambinder RF, Sparano JA, Cesarman E, Chadburn MA, Levine AM, Scadden
     DT: Rituximab does not improve clinical outcome in a randomized phase 3 trial of CHOP with or
     without rituximab in patients with HIV associated non-Hodgkin lymphoma: AIDS Malignancies
     Consortium Trial 010. Blood 2005; 106: 1538-1543.

246. Levine AM, Karim R, Mack W, Gravink DJ, Anastos K, Young M, Cohen M, Newman M,
     Augenbraun M, Gange S, Watts DH: Neutropenia in HIV infection: Data from the Women’s
     Interagency HIV Study. Archives Internal Medicine, 2006; 166:405-410. PMID: 16505259

247. Levine AM, Tulpule A, Quinn DI, Gorospe G, Smith DL, Hornor L, Espina BM, Groshen SG,
     Masood R, Gill PS: Phase I study of anti-sense oligonucleotide against vascular endothelial growth
     factor (VEGF-AS): Decrease in plasma VEGF with potential clinical efficacy. J Clin Oncol 2006;
     24: 1712-1719.

248. Silverberg MJ, Schneider MF, Silver B, Anastos KM, Burk RD, Minkoff H, Palefsky J, Levine AM,
     Viscidi RP: Serological detection of Human Papillomavirus Type 16 infection in Human
     Immunodeficiency Virus positive and high risk HIV negative women. Clin Vaccine Immunol 2006;
     13: 511-519.

249. Massad LS, Evans CT, Minkoff H, Watts DH, Greenblatt RM, Levine AM, Anastos K, Young M,
     Seifer DB, Golub E, Cohen M: Effects of HIV infection and its treatment on self-reported menstrual
     abnormalities in women. J Women's Health 2006; 15: 591-98.

250. O’Connell C and Levine AM: Managing anemia in HIV positive women. Future Med 2006; 2: 159-
     165.

251. Shaye OS and Levine AM: Marginal Zone Lymphoma. Journ NCCN 2006; 4:311-318.

252. Machida K, Cheng KTH, Sung VM-H, Levine AM; Foung S, Lai MMC: Hepatitis C virus induces
     Toll like receptor 4 expression, leading to enhanced production of IFN-B and IL-6. J Virology 2006;
     80:866-74.

253. Gordeuk VR, Onojobi G, Schneider MF, Dawkins FW, Delapenha R, Voloshin Y, von Wyl V, Bacon
     M, Minkoff H, Levine AM, Cohen M, Greenblatt RM: The association of serum ferritin and
     transferrin receptor concentrations with mortality in women with human immunodeficiency virus
     infection. Haematologica 2006; 91:739-43.

254. Tulpule A, Espina BM, Berman N, Buchanan LH, Smith DL, Sherrod A, Dharmapala D, Gee C,
     Boswell WD, Nathwani BN, Welles L, Levine AM: Phase I/II trial of non-pegylated liposomal
     doxorubicin (TLC-D99; MyocetTM), cyclophosphamide, vincristine, and prednisone in the treatment
     of newly diagnosed aggressive non-Hodgkin's lymphoma. Clin Lymphoma and Myeloma 2006;
     7:59-64.

255. Levine AM, Vigen C, Gravink J, Mack W, Watts DH, Liebman HA: Progressive prothrombotic state
     in women with advancing HIV disease. JAIDS 2006; 42:572-7.

256. Levine AM: Monoclonal gammopathy associated with HIV infection: Commentary. Clin Infect
     Disease 2006; 43:1206-8.

257. Levine AM: Hodgkin lymphoma: To the HAART of the Matter (Editorial). Blood 2006; 108:3630-
     31.



                                                  32
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 59 of 145


258. Neely MN, Benning L, Xu J, Strickler HD, Greenblatt RM, Minkoff H, Young M, Bremer J, Levine
     AM, Kovacs A: Cervical Shedding of HIV-1 RNA Among Women With Low Levels of Viremia While
     Receiving Highly Active Antiretroviral Therapy. J Acquir Immune Defic Syndr 2007; 44:38-42.
     PMID: 17106279

259. Massad LS, Fazzari MJ, Anastos K, Klein RS, Minkoff H, Jamieson DJ, Duerr A, Celentano D,
     Gange S, Cu-Uvin S, Young M, Watts DH, Levine AM, Schuman P, HarrisTG, Strickler HD:
     Outcomes after treatment of cervical intraepithelial neoplasia among women with HIV. J Lower
     Gen Tract Dis 2007; 11: 90-97.

260. Harris TG, Rurk RD, Xue X, Anastos K, Minkoff H, Massad LS, Young MA, Levine AM, Gange SJ,
     Watts DH, Palefsky JM, Strickler HD: Association of cutaneous anergy with human papillomavirus
     and cervical neoplasia in HIV seropositive and seronegative women. AIDS 2007; 21: 1933-1941.

261. Douer D, Yampolsky H, Cohen LJ, Watkins K, Levine AM, Periclou AP, Avrimis VI:
     Pharmacodynamics and safety of intravenous pegasparaginase during remission induction in
     adults 55 years old or younger with newly diagnosed acute lymphoblastic leukemia. Blood 2007:
     109: 2744-50.

262. Lim ST, Fayad L, Tulpule A, Modiano M, Espina BM, Cabanillas F, Laffranchi B, Allievi C,
     Bernareggi A, Levine AM: A Phase I/II Trial of Pixantrone (BBR2778), Methylprednisolone,
     Cisplatin, and Cytosine Arabinoside (PSHAP) in Relapsed/Refractory Aggressive Non-Hodgkin’s
     Lymphoma (NHL). Leukemia and Lymphoma 2007; 48:374-80.

263. Liu C, Lerch V, Weber K, Schneider MF, Sharp GB, Gorapuau L, Aharma A, Levine AM, Gandhi
     M, Merenstein D: Association between complementary and alternative medicine use and
     adherence to highly active antiretroviral therapy in the Women’s Interagency HIV Study. J Altern
     and Complementary Med 2007; 13:1053-7.

264. Harris TG, Burk RD, Yu H, Minkoff H, Massad LS, Watts DH, Zhong Y, Gange S, Kaplan, C,
     Anastos K, Levine AM, Moxley M, Xue X, Fazzari M, Palefsky JM, Strickler HD: Insulin-Like
     Growth Factor Axis and Oncogenic Human Papillomavirus Natural History. Cancer Epidemiol
     Biomarkers Prev 2008; 17: 245-8. PMID 18199731.

265. Tien PC, Schneider MF, Cole SF, Levine AM, Cohen M, De Hovitz J, Young M, Justman JE:
     Antiretroviral therapy exposure and incidence of diabetes mellitus in the Women’s Interagency HIV
     study. AIDS 2007; 21:1739-45.

266. Nowicki MJ, Karim R, Mack W, Levine AM: Correlates of CD4/CD8 Lymphocyte Counts in HIV-
     Negative Women of WIHS Cohort. Human Immunology 2007; 68:342-349. PMID 17462501.

267. Khalsa A, Karim R, Mack WJ, Minkoff H, Cohen M, Young M, Anastos K, Tien PC, Seaberg E,
     Levine AM: Correlates of prevalent hypertension in a large cohort of HIV-infected women:
     Women’s Interagency HIV Study (WIHS). AIDS 2007; 21:2539-41.

268. Cook J, Grey D, Burke J, Cohen M, Vlahov D, Kapadia F, Wilson T, Schwartz R, Cook R, Golub
     ET, Anastos K, Ponath C, Goparaju L, Levine AM: Illicit drug use, depression, and their
     association with highly active antiretroviral therapy in HIV positive women. Drug and Alcohol
     Dependence 2007; 89: 74-81.

269. Levine AM, Salvato P, Leitz GJ and the Champs 2 Study Group: Efficacy of Epoetin alfa
     administered every 2 weeks to maintain hemoglobin and quality of life in anemic HIV infected
     patients. AIDS Res and Human Retrovir 2008; 24:131-139.




                                                 33
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 60 of 145


270. Nowicki MJ, Vigen C, Mack WJ, Seaberg E, Landay AL, Greenblatt R, Anastos K, Cohen M,
     Minkoff H, Levine AM: Association of cells with natural killer and NKT immunophenotype with
     incident cancers in HIV infected women. AIDS Res and Human Retroviruses 2008; 24:163-8.

271. Minkoff H, Zhong Y, Strickler H, Watts DH, Palefsky J, Levine AM, D’souza G, Howard A, Plankey
     M, Massad S, Burk R: The relationship between cocaine use and human papillomavirus infections
     in HIV seropositive and HIV seronegative women. Infect Dis in Ob & Gynecol. 2008; 587082.
     PMID: 18437233.

272. Merenstein DJ, Tang Y, Schnider M, Gorapaju L, Weber K, Sharma A, Levine AM, Sharp BG,
     Gandhi M, Liu C: Association of complementary and alternative medicine use with HAART
     initiation. Alt Therapies in Health and Med 2008; 14:18-22.

273. Sobieszczyk ME, Hoover DR, Anastos K, Mulligan K, Tan T, Shi Q, Gao W, Hyman C, Cohen MH,
     Cole SR, Plankey M, Levine AM, Justman J: Prevalence and predictors of metabolic syndrome
     among HIV infected and HIV uninfected women in the Women’s Interagency HIV Study. JAIDS
     2008; 48:272-280.

274. Cook JA, Burke-Miller JK, Cohen MH, Cook RL, Vlahov D, Wilson TE, Golub ET, Schwartz RM,
     Howard AA, Ponath C, Plankey MW, Levine AM, Grey DD: Crack cocaine use, disease
     progression and mortality in a multicenter cohort of HIV positive women. AIDS 2008; 22:1355-
     1363.

275. Krishnan A, Levine AM: Malignancies in women with HIV infection. Women’s Health 2008; Vol 4,
     No. 4; 356-368.

276. Tien P, Schneider MF, Cole SR, Levine AM, Cohen M, De Hovitz ZJ, Young M, Justman JE:
     Antiretroviral Therapy Exposure and Insulin Resistance in the Women’s Interagency HIV Study.
     JAIDS 2008; 49:369-76.

277. Levine AM: Management of AIDS-related lymphoma. Curr Opin Oncol 2008; 20: 522-528.

278. Gandhi M, Ameli N, Bacchetti P, Gange SJ, Anastos K, Levine AM, Hyman CL, Cohen M, Young
     MN, Huang Y, Greenblatt R: Protease inhibitor levels in hair strongly predict virologic response to
     treatment. AIDS 2009; 23:471-478.

279. Massad LS, Seaberg EC, Watts DH, Minkoff H, Levine AM, Henry D, Colie C, Darragh TM, Hessol
     NA: Long-term incidence of cervical cancer in women with Human Immunodeficiency Virus.
     Cancer 2009; 115:524-30.

280. French A, Gawel SH, Hershow R, Benning L, Hessol NA, Levine AM, Anastos K, Augenbraun M,
     Cohen MH: Trends in mortality and cause of death among women with HIV in the US: A ten year
     study. JAIDS 2009; 51: 399-406. PMID: 19487953.

281. Massad LS, Xie X, Darragh TM, Minkoff H, Levine AM, D’Souza G, Cajigas A, Colie C, Watts DH,
     Strickler H: Histologic correlates of glandular abnormalities in cervical cytology among women with
     HIV. Ob & Gyn 2009; 114:1063-1068.

282. Levine AM: Stem cell transplant in AIDS-lymphoma (commentary): Blood 2009; 114:1284-5.

283. Kwong YL, Anderson BO, Advani R, Kim WS, Levine AM, Lim ST: Management of T-cell and
     natural-killer-cell neoplasms in Asia: consensus statement from the Asian Oncology Summit 2009.
     Lancet Oncology 2009; 10:1093-1101.




                                                  34
         Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 61 of 145


284. Lin L, Lee JY, Kaplan LD, Dezube BJ, Noy A, Krown SE, Levine AM, Yu Y, Hayward GS,
     Ambinder RF: Effects of Chemotherapy in AIDS-Associated Non-Hodgkin’s Lymphoma on
     Kaposi’sSarcona Herpesvirus DNA in Blood. J Clin Oncol 2009; 27:2496-502.

285. Frederick T, Burian P, Terrault N, Cohen M, Augenbraun M, Young M, Seaberg E, Justman J,
     Levine, AM, Mack WJ, Kovacs A: Factors associated with prevalent hepatitis C injection among
     HIV-infected women with no reported history of injection drug use: the Women’s Interagency HIV
     Study (WIHS). AIDS Patient Care and STDs; 2009; 23:915-23.

286. Minkoff H, Zhong Y, Burk RD, Palefsky JM, Xue X, Watts DH, Levine AM, Wright RL, Colie C,
     D’Souza G, Massad LS, Strickler HD: Influence of Adherent and Effective Antiretroviral Therapy
     Use on Human Papillomavirus Infection and Squamous Intraepithelial Lesions in Human
     Immunodeficiency Virus-Positive Women. J Infect Dis 2010; 201:681-690. PMC 2818607

287. Levine AM, Seaberg EC, Hessol NA, Preston-Martin S, Silver S, Cohen MH, Anastos K, Minkoff H,
     Orenstein J, Dominguez G, Watt DH: HIV as a risk factor for lung cancer in women: Data from the
     Women’s Interagency HIV Study (WIHS). J Clin Oncol 2010; 28:1514-19.

288. Sparano JA, Lee J, Kaplan LD, Levine AM, Ramos JC, Ambinder R, Wachsman W, Aboulafia D,
     Noy A, Henry D, Von Roenn J, Dezube B, Remick S, Shah MH, Leichman L, Ratner L, Cesarman
     E, Chadburn AM, Mitsuyasu R: Rituximab plus concurrent infusional EOPOCH chemotherapy is
     highly effective in HIV associated, B-cell non-Hodgkin’s lymphoma. Blood 2010; 15:3008-3016.

289. Massad LS, Evans CT, Wilson TE, Goderre JL, Hessol NA, Hendry D, Colie C, Strickler H, Levine
     AM, Watts DH, Weber, KM: Knowledge of cervical cancer prevention and human papillomavirus
     among women with HIV. Gynecologic Oncology 2010: 117: 70-76.

290. Xue X, Gange S, Zhong Y, Burk R, Minkoff H, Massad LS, Watts DH, Kuniholm M, Anastos K,
     Levine AM, D’Souza G, Moxley M, Palefsky J, Strickler H: Marginal and mixed effects models in
     the analysis of HPV natural history data. Ca Epidem, Biomarkers & Prevention 2010; 19 (1) 159-
     169. PMC 2839537.

291. Massad LS, Agniel D, Minkoff H, Watts DH, D’Souza G, Levine AM, Darragh TM, Young M,
     Cajigas A, Weber K. Effect of Stress and Depression on the Frequency of Squamous
     Intraepithelial Lesions. Journal of Lower Genital Tract Disease 2010; 15:42-47.

292. D’Souza G, Palefsky JM, Zhong Y, Minkoff H, Massad LS, Anastos K, Levine AM, Moxley M, Xue
     XN, Burk RD, Strickler HD: Marijuana use is not associated with cervical human papillomavirus
     natural history or cervical neoplasia in HIV seropositive or HIV seronegative women. Cancer
     Epidemiol Biomarkers Prev 2010: 10 (3): 869-872. PMC2874245.

293. Massad LS, Evand C, Weber K, Goderre J, Hessol N, Henry D, Colie C, Strickler H, Levine AM,
     Watts DH, Wilson T: Changes in knowledge of cervical cancer prevention and human
     papillomavirus among women with HIV, 2006-2008. Obstet Gynecol 2010; 116(4):941-947.

294. Yin MT, Shi Q, Hoover DR, Anastos K, Sharma A, Young M, Levine AM, Cohen MH, Shane E,
     Golub ET, and Tien PC. Fracture incidence in HIV-infected women: results from the Women’s
     Interagency HIV Study. AIDS 2010; 24(17):2679-2686.

295. Hessol NA, Napolitano LA, Smith D, Lie Y, Levine AM, Young M, Cohen M, Minkoff H, Anastos K,
     D’Souza G, Greenblatt RM, and Goedert JJ. HIV Tropism and Decreased Risk of Breast Cancer.
     PLoS ONE 2010; 5(12):e14349. PMC3002931.




                                                35
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 62 of 145


296. Merenstein DJ, Hu HH, Robison E, Levine AM, Greenblatt R, Schwartz R, Weber K, Young M,
     Sharp G, Liu CL. Relationship between complementary/alternative treatment use and illicit drug
     use among a cohort of women with, or at risk for, HIV infection. J Altern Complement Med 2010;
     9(16): 989-993.

297. Massad LS, Xie X, Darragh T, Minkoff H, Levine AM, Watts DH, Wright RL, D’Souza G, Colie C,
     Strickler HD: Genital warts and vulvar intraepithelial neoplasia: Natural history and effects of
     treatment and HIV infection. Obstet Gynecol 2011; 118(4):831-9.

298. Jean-Louis G, Weber KM, Aouizerat BE, Levine AM, Maki PM, Liu C, Anastos KM, Milam J, Althoff
     KN, Wilson TE: Insomnia symptoms and HIV infection among participants in the Women’s
     Interagency HIV Study. Sleep 2012: 35: 131-137.

299. Liu CL, Wang C, Robison E, Levine AM, Gandhi M, Schwartz R, Weber KM, Merenstein D: Short-
     term garlic supplementation and highly active antiretroviral treatment adherence, CD4+ cell counts
     and, human immunodeficiency virus viral load. Altern Ther Health Med 2012; 18(1):18-22.

300. Massad LS, Weber KM, Wilson TE, Goderre JL, Hessol NA, Henry D, Colie C, Strickler HD, Levine
     AM, Watts DH, Evans CT: Correlating knowledge of cervical cancer prevention and human
     papillomavirus with compliance after colposcopy referral. J Lower Genital Tract Dis. 2012; 16:98-
     105.

301. D’Souza G, Burk R, Zhong Y, Minkhoff H, Massad S, Xue X, Watts H, Anastos K, Palefsky J,
     Levine AM, Colie C, Castle P, Strickler H: Cervicovaginal human papillomavirus (HPV)-infection
     before and after hysterectomy: evidence of different tissue tropism for oncogenic and nononcogenic
     HPV types in a cohort of HIV-positive and HIV-negative women. Int J Cancer 2012; 131(6):1472-8.

302. Keller MJ, Burk RD, Xie X, Anastos K, Massad LS, Minkoff H, Xue, X, D’Souza G, Watts DH,
     Levine AM; Castle PE, Colie C, Palefsky JM, Strickler HD: Risk of cervical precancer and cancer
     among HIV-infected women with normal cervical cytology and no evidence of oncogenic HPV
     infection. JAMA 2012; 308:362-369.

303. Villacres MC, Kono N, Mack WJ, Nowicki MJ, Anastos K, Augenbraun M, Liu C, Landay A,
     Greenblatt RM, Gange S, Levine AM: Interleukin 10 responses are associated with sustained CD4
     T-cell counts in treated HIV infection. Jour Infect Dis 2012; 206:780-789.

304. Levine AM, Noy A, Lee J, Tam W, Ramos JC, Henry D, Parekh S, Reid E, Mitsuyasu R, Cooley T,
     Dezube B, Ratner L, Cesarman E, Tulpule A: Pegylated liposomal doxorubicin, rituximab,
     cylosphosphamide, vincristine and prednisone (DR-COP) in AIDS-related lymphoma: AIDS
     Malignancy Consortium Study 047. J Clin Oncol 2013; 31:58-64.

305. Nelson RA, Levine AM, Bernstein L, Smith DD, Lai LL: Changing patterns of anal canal carcinoma
     in the United States. J Clin Oncol 2013; 31:1569-75.
306. Aldoss I, Pullarkat V, Patel R, Watkins K, Mohrbacher A, Levine AM, Douer D: An effective
     reinduction regimen for first relapse of adult acute lymphoblastic leukemia. Med Onco 2013; 30:
     744.

307. Hussain SK, Hessol NA, Levine AM, Crabb-Breen E, Anastos K, Cohen M, D’Souza G, Gustafson
     DR, Silver S, Martinez-Maza O: Serum biomarkers of immune activation and subsequent risk of
     non-Hodgkin B cell lymphoma among HIV-infected women. Ca Epi Biomarkers & Prevention 2013;
     22:2084-93.

308. Levine AM: One more step on the path to optimal therapy for AIDS related lymphoma. (Inside
     Blood Review). Blood 2013; 122:3244-46.




                                                 36
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 63 of 145


309. Hanna DB, Hessol NA, Golub ET, Cocohoba JM, Cohen MH, Levine AM, Wilson TE, Young M,
     Anastos K, Kaplan RC: Increased in single-tablet regimen use and associated improvements in
     adherence-related outcomes in HIV infected women. J Acquir Immun Defic Synd 2014: 65:587-96.

310. Ghartey J, Kovacs A, Burk RD, Massad LS, Minkoff H, Xie X, D’Souza G, Xue H, Watts DH, Levine
     AM, Einstein MH, Colie C, Anastos K, Eltoum IE, Herold BC, Palefsky JM, Strickler HD: Genital
     tract HIV RNA levels and their associations with human papillomavirus infection and risk of cervical
     precancer. J Acquir Immune Defic Synd 2014; 66:316-323.

311. Strickler HD, Martinson J, Desai S, Xie X, Burk RD, Anastos K, Massad LS, Minkhoff H, Xue X,
     D’Souza G, Levine AM, Colie C, Watts DH, Palefsky JM, Landay A: The relation of plasmacytoid
     dendritic cells (pDCs) and regulatory GT cells (T regs) with HPV persistence in HIV infected and
     HIV uninfected women. Viral Immunol 2014; 27:20-5.

312. Massad LS, Xie X, Burk R, Keller MJ, Minkoff H, D’Souza G, Watts DH, Palefsky J, Young M,
     Levine AM, Cohen M, Strickler HD: Long term cumulative detection of human papillomavirus
     among HIV seropositive women. AIDS 2014; 28:2601-2608.

313. Goedert JJ, Swenson LC, Napolitano LA, Haddad M, Anastos K, Minkoff H, Young M, Levine AM,
     Adeyemi O, Seaberg EC, Aouizerat B, Rabkin CS, Harrigan PR, Hessol NA: Risk of breast cancer
     with CXCR4-using HIV defined by V3 loop sequencing. JAIDS 2014; 68:30-35.

314. Taylor TN, Weedon J, Golub ET, Karpiak SE, Gandhi M, Cohen MH, Levine AM, Minkoff HL,
     Adedimeji AA, Goparaju L, Holman S, Wilson TE: Longitudinal trends in sexual behaviors with
     advancing age and menopause among women with and without HIV-1 infection. AIDS and
     Behavior September 23, 2014: DOI 10.1007/s10461-014-0901-1.

315. Hessol NA, Martinez-Maza O, Levine AM, Morris A, Margolick JB, Cohen MH, Jacobson LP,
     Seaberg EC: Lung cancer incidence and survival among HIV infected and uninfected women and
     men. AIDS 2015; 29:1183-1193.

316. Siewe B, Pham JT, Cohen M, Hessol NA, Levine AM, Martinez-Maza O, Landay A: Dysregulated
     B cell TLR2 expression and elevated regulatory B cell frequency precede the diagnosis of AIDS
     related non-Hodgkin lymphoma. AIDS 2015; 29:1659-1664.

317. Keller MJ, Burk RD, Massad LS, Eltoum IE, Hessol NA, Castle PE, Anastos K, Xie X, Minkoff H,
     Xue X, D’Souza G, Floers L, Levine AM, Colie C, Rahangdale L, Fischl MA, Palefsky JM, Strickler
     HD: Cervical Precancer Risk in HIV-Infected Women Who Test Positive for Oncogenic Human
     Papillomavirus Despite a Normal Pap Test. Clin Infect Dis 2015; 61:1573-81.

318. Noy A, Lensing S, Moore P, Gupta N, Aboulafia D, Ambinder R, Baiocchi R, Dezube B, Henry D,
     Kaplan L, Levine AM, Mitsuyasu R, Ratner L, Reid E, Remick S, Sparano J, Tzachanis D,
     Wachsman W, Chadburn A: Plasmablastic lymphoma is treatable in the HAART era. A 10 year
     retrospective by the AIDS Malignancy Consortium. Leukemia and Lymphoma 2015; 1731-1734.

319. Lewis A, Kang R, Levine AM, Maghami E: The new face of head and neck cancer: The HPV
     epidemic. Oncology, September 2015; 29:616-626. http://www.cancernetwork,com

320. Alvarnas J, Majkowski GR, Levine AM: Moving toward economically sustainable value-based
     cancer care in the academic setting. JAMA Oncology 2015; 9:1221-1222.

321. Cohen MH, Hotton AL, Hershow RC, Levine AM, Bacchetti P, Golub ET, Anastos K, Young M,
     Gustafson D, Weber KM: Gender-Related Risk Factors Improve Mortality Predictive Ability of
     VACS Index Among HIV-Infected Women. JAIDS 2015; 70:538-44.




                                                  37
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 64 of 145


322. Hanna DB, Jung M, Xue X, Anastos K, Cocohoba JM, Cohen MH, Golub ET, Hessol NA, Levine
     AM, Wilson TE, Young M, Kaplan RC: Trends in non-lipid cardiovascular disease risk factor
     management in the Women’s Interagency HIV Study and association with adherence to
     antiretroviral therapy. AIDS Patient Care STDS 2016; 10:445-454.

323. Taylor TN, Munoz-Plaza CE, Goparaju L, Martinez O, Holman S, Minkoff HL, Karpiak SE, Gandhi
     M, Cohen, MH, Golub ET, Levine AM, Adedimeji AA, Gonsalves R, Bryan T, Connors N,
     Schechter G, Wilson TE: “The Pleasure is Better as I’ve Gotten Older”: Sexual Health, Sexuality,
     and Sexual Risk Behaviors Among Older Women Living with HIV. Arch Sex Behav 2016; 4:1137-
     1150. DOI 10.1007/s10508-016-0751-1.

324. Song JY, Maghami E, Wu H, Kim YS, Weisenburger DD, Levine AM, Nademanee A: Human
     Papilloma Virus mediated oropharyngeal squamous cell carcinoma in the setting of
     immunosuppression following autologous stem cell transplantation for Hodgkin lymphoma.
     Submitted: European Journal of Haematology April, 2016.

325. Alvarnas J, Le Rademacher J, Wang Y, Little RF, Akpek G, Ayala E, Devine S, Baiocchi R,
     Lozanski G, Kaplan L, Noy A, Popat U, Hsu J, Morris LE Jr, Thompson J, Horowitz MM,
     Mendizabal A, Levine AM, Krishnan A, Forman SJ, Navarro WH, Ambinder R. Autologous
     hematopoietic cell transplantation for HIV-related lymphoma: results of the BMT CTN 0803/AMC
     071 trial. Blood 2016; 128:1050-8.


Non-Peer Reviewed, Published

1.     Levine AM: The Importance of Hope. West J Med 150:609, 1989.
2.     Levine AM: Doctors, patients and fear. West J Med 150:723, 1989.


Articles Selected for Abstraction in the Year Book of Medicine:

       Levine AM, Overturf GD, Field R, Holdorf D, Paganini-Hill A, Feinstein DI: Use and efficacy of
       pneumococcal vaccine in patients with Hodgkin's disease. Blood 54:870, 1979--Year Book of
       Medicine, 1981.

       Levine AM, Taylor CR, Schneider DR, Koehler SC, Forman SJ, Lichtenstein A, Lukes RJ,
       Feinstein DI: Immunoblastic sarcoma of T-cell versus B-cell origin: I. Clinical Features. Blood
       58:52, 1981. Year Book of Medicine, 1982.


       Levine AM, Forman SJ, Meyer PR, Koehler SC, Liebman H, Paganini-Hill A, Pockros A, Lukes
       RJ, Feinstein DI: Successful therapy of convoluted T-lymphoblastic lymphoma in the adult.
       Blood 61:92-98, 1/83. 1984 Year Book of Cancer.

       Shackney SE, Levine AM, Fisher RK, Nichols P, Jaffe E, Schuette WH, Simon R, Smith CA,
       Occhipinti SJ, Parker JW, Cossman J, Young RC, Lukes RJ: The Biology of Tumor Growth in the
       Non-Hodgkin's Lymphomas: A Dual Parameter Flow Cytometry Study of 220 Cases. J Clin
       Invest 73:l20l-l2l4, 1984. 1985 Year Book of Cancer.

       Stewart ML, Felman IE, Nichols PN, Paganini-Hill A, Lukes RJ, Levine AM: Large non-cleaved
       follicular center cell lymphoma: Clinical features in 53 patients. Cancer. 57:288-97, 1986. 1986
       Year Book of Cancer.

       Alavaikko M, Rinne, A, Jarvinen M, Hopsu-Havu V, Aine R, Levine AM, Meyer P, Lukes RJ:
       Damage to secondary lymphoid follicles in AIDS-related persistent generalized lymphadenopathy,
       as revealed by the behavior of dendritic reticulum cells possessing immunoreactive cysteine-


                                                 38
            Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 65 of 145


          proteinase inhibitor. Virchow's Arch (Cell Pathol) 50:299-311, 1986. Year Book of Pathology
          and Clinical Pathology, 1986.

          Helsper J. Formenti S, Levine AM: Initial Manifestation of Acquired Immunodeficiency Syndrome
          in the Head and Neck region. Am J Surg 152:403-406, 1986. Yearbook of Otolaryngology - Head
          and Neck Surgery, 1988.

          Gill PS, Rarick MU, Brynes RK, Causey D, Levine AM: Azidothymidine and bone marrow failure
          in AIDS. Yearbook of Medicine, 1987.


Letters

1.        Levine AM: The treatment of AIDS lymphoma. JAMA 267:509, 1992.

2.        Levine AM: Acquired Immunodeficiency Syndrome-Related Lymphoma. Response to Letter to
          the Editor. Blood 80:2945-2946, 1992.


                                               BOOKS

1.        AIDS-Related Cancers and Their Treatment. Feigal E, Levine AM, and Biggar R (eds). Marcel
          Dekker, Inc., New York, 1999.

2.        AIDS-related malignancies. Levine AM (ed). Seminars in Oncology, WB Saunders Co, Phil, PA,
          2000.


                                     INTERNET PUBLICATIONS

1.        Levine AM: Hematologic complications of HIV infection. www.medscape.com, 1998; 1999; 2001.

2.        Levine AM: AIDS-related malignancies. www.medscape.com, 1998; 1999.


3.        Levine AM: HIV disease in women. Medscape HIV/AIDS, 1998; 1999. Available at:
          http://HIV.medscape.com/(medscape.com)/Medscape/ HIV/ClinicalMgmt/ CM.v09/public/index-
          CM.v09.html.

4.        Levine AM: Maternal-fetal transmission of HIV-1. Medscape HIV/AIDS,../../../Local
          Settings/torres_s/Local Settings/Documents and Settings/hornor_l/Documents and
          Settings/torres_s/Local Settings/Documents and Settings/hornor_l/Local Settings/Temporary
          Internet Files/OLK9B/www.medscape.com, 1999. Available at:
          http://HIV.medscape.com/(medscape.com)/Medscape/HIV/ClinicalMgmt/
          CM.v10/public/index-CM.v10.html.

5.        Levine AM: AIDS related lymphoma. Medscape HIV/AIDS, 2001. www.medscape.com

6.        Levine AM: HHV8 and Kaposi's Sarcoma: Epidemiology, Transmission and Therapy. Web MD:
          Medscape (from 6th AIDS Malignancy Conference, Bethesda MD, April, 2002).

7.        Levine AM: HPV infection and cervical/anal precursor lesions in the era of HAART.
          WebMD/Medscape (from 6th AIDS Malignancy Conference, Bethesda, MD, April, 2002)




                                                   39
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 66 of 145


8.     Levine AM: Treatment and clinical aspects of AIDS related lymphoma and Hodgkin's Disease.
       WebMD/Medscape (from 6th AIDS Malignancy Conference, Bethesda, MD, April, 2002).

9.     Levine AM: AIDS related malignancies in the era of HAART. Medscape, HIV/AIDS Update
       2002. IMedOptions, LLC.

10.    Levine AM: Biologic therapy of non-Hodgkin's lymphomas. WebMD/Medscape, December,
       2002

11.    Levine AM: AIDS related lymphoma. Web/MD/Medscape, December, 2002.

12.    Levine AM: Anemia, Neutropenia and thrombocytopenia: Pathogenesis and evolving treatment
       options in HIV infected patients. WebMD/Medscape, updated June 5, 2002.


CHAPTERS

1.    Levine AM: Hodgkin's Disease: Clinical Aspects: Therapy, Case Reports. Chapter 16 in
      Hodgkin's Disease and the Lymphomas, Vol.3 by C.R. Taylor. Annual Research Reviews 1978,
      Series Editor: D.F. Horrobin. Montreal Eden Press and Edinburgh/London, Churchill Livingston.

2.    Levine AM: ALL--Clinical Aspects: Chapter 23 in Hodgkin's Disease and the Lymphomas, Vol 3
      by C.R. Taylor. Annual Research Reviews 1978, Series Editor: S.F. Horrobin. Montreal Eden
      Press and Edinburgh/London, Churchill Livingston.

3.    Levine AM: Approach to the Management of Non-Hodgkin's Lymphoma In: Selected Topic in
      Internal Medicine. Publisher: Williams and Wilkins, 1982.

4.    Levine AM: Clinical Aspects of T-Cell Lymphomas. In: Malignant Lymphomas, the
      Pathophysiology of the Lymphocyte and Its' Neoplasms. Editors: Bossman, F., Van der Tweel, J.,
      Taylor, C.R.: Publishers: Martinus Nijhoff, The Hague, Netherlands, 331-339, 1980.

5.    Levine AM: Lymphomas, In: Encyclopedia Medica Italiana. Rome: I., Edizioni Scientifiche S.p.A.,
      1980.

6.    Levine AM: Clinical Aspects of Hodgkin's Disease.   In: Enciclopedia Medica Italiana. Rome: I.,
      Edizioni scientifiche S.p.A., 1980.

7.    Levine AM: Non-Hodgkin's Lymphomas: Clinical Aspects. Chapter 12 in Hodgkin's Disease and
      the Lymphomas, Volume 4 Annual Research Review by C.R. Taylor. Series Editor Horrobin, D.F.:
      Published by Eden Press, Quebec, Churchill Livingston, Edinburgh, 121-165, 1979.

8.    Levine AM: Hodgkin's Disease: Clinical Aspects. Chapter 14 in Hodgkin's Disease and the
      Lymphomas, Volume 4, Annual Research Review by C.R. Taylor. Series Editor Horrobin, D.F.:
      Published by Eden Press, Quebec and Churchill Livingston, Edinburgh, 184-211, 1979.

9.    Levine AM: Clinical Manifestations and Therapy of Non-Hodgkin's Lymphomas: Specific
      Entities. Chapter 30 in: Lymphomas Revisited: New Approaches to the Evaluation of Neoplastic
      Lymphoproliferative Disorders by Parker. Published by Churchill Livingston Inc., N.Y., 1980.

10.   Gale RP, Golde D, Levine AM: Chronic Lymphoid Leukemias in the Education Program of The
      American Society of Hematology (J. McArthur and R. Hillman eds), 1981.

11.   Gale RP, Levine AM, Bloomfield C, Foon KA: Chronic Lymphoid Leukemias in the Education
      Program of the American Society of Hematology, 1982.



                                                 40
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 67 of 145


12.   Levine AM: Potential Benefits of Pre-treatment Patient Education. Presented to Western States
      Conference on Cancer Rehabilitation. Bull Publishing Company, Conference Proceedings, Cancer
      Rehabilitation, pgs. 68-73, San Francisco, California, March, 1982.

13.   Richardson J, Johnson CA, Selser J, Evans L, Kishbaugh CI, Levine AM: Compliance with
      Chemotherapy: Theoretic and Interventional Issues. Progress in Cancer Control, C. Mettlin,
      Editor, New York, Allen Liss Publishers, 1983.

14.   Gale RP, Levine AM, Champlin R, Bloomfield C, Foon KA: Chronic Leukemias. In: Education
      Program of the American Society of Hematology, 1983.

15.   Gams R, Levine AM, Straus D: Non-Hodgkin's Lymphomas. n: Education Program of the
      American Society of Hematology, 1983.

16.   Levine AM, Meyer PR, Lukes RJ, Feinstein DI: T-cell Convoluted Lymphoblastic Undifferentiated
      Lymphoma in Adults. Chapter 28, 327-32, In: New Perspectives in Human Lymphoma, Ford, RJ,
      Fuller, LM, Hagemeister, FB, eds. Raven Press, New York, 1984.

17.   Levine AM, Pavlova Z, Parker JW, Paganini-Hill A, Powars DR, Lukes RJ, Feinstein DI: B-cell
      Small Non-cleaved Undifferentiated Lymphoma in Adults. Chapter 27, 321-26 In: New
      Perspectives in Human Lymphoma, Ford, RJ, Fuller, LM, Hagemeister, FB, eds. Raven Press,
      New York, 1984.

18.   Levine AM: Human T-lymphotrophic retrovirus (HTLV-III) associated lymphoproliferative disorders
      in homosexual men. In: Symposium Proceedings: International Symposium on Lymphoproliferative
      Disease: Pathogenesis, Diagnosis, Therapy. CR Taylor and RJ Lukes, eds. Marinus Nijhoff,
      Netherlands, 1985, pp 191-205.

19.   Levine AM, Portlock C, Foon KA: Non-Hodgkin's lymphomas. In: Education Program of the
      American Society of Hematology, l984.

20.   Levine AM, Gill PS, Rasheed S: Human retrovirus associated lymphoproliferative disorders in
      homosexual men. AIDS. In: Progress in Allergy. 37:244-259, 1986. E. Klein, Ed. Karger Press,
      New York.

21.   Levine AM: Hodgkin's Disease: Management that substantially increases survival. Consultant
      26:25-37, 1986.
22.   Levine AM, Foon KA, Horning S: Non-Hodgkin's lymphomas. In: Education Program of the
      American Society of Hematology, 1985.

23.   Levine AM, Gill PS, Rasheed S: AIDS-related B-cell lymphoma, In: AIDS: Modern Concepts and
      Therapeutic Challenges. S. Broder, Ed. Marcel-Dekker, New York, pp. 233-244, 1986.

24.   Levine AM, Cheson B, Horning S, Armitage JA: Non-Hodgkin's lymphomas. In: Education
      Program of the American Society of Hematology, 1986.

25.   Levine AM: Non-Hodgkin's lymphomas: In: The Practicing Physician, JW Hurst, Ed. Butterworth
      Publishers, Mass., Vol 2:727-730, 1988.

26.   Levine AM: Reactive and neoplastic lymphoproliferative disorders, and other miscellaneous
      cancers associated with Human Immunodeficiency Virus infection. In: AIDS: Etiology, Diagnosis,
      Treatment and Prevention. JB Lippincott, Philadelphia. DeVita VT, Hellman S, and Rosenberg SA
      (Eds), 1988, pp 263-276.

27.   Levine AM: Management of the patients with large cell lymphoma. In: Blood Reviews. Churchill
      Livingston, Edinburgh. Golde DW and Chanarin I (Eds). Vol 2, No 2. p 71-77, 1988.


                                                41
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 68 of 145


28.   Levine AM: Non-Hodgkin's Lymphoma. In: Criteria for Diagnosis. JW Hurst, Ed. Butterworths,
      Mass. 251-2, 1989.

29.   Levine AM: Cancer in the acquired immunodeficiency syndrome: Editorial Overview. Current
      Opinion in Oncology 1:55-72, 1989.

30.   Levine AM: Lymphomas in AIDS. Seminars in Oncology, 17:104-112, 1990.

31.   Esplin J and Levine AM: Therapy of non-Hodgkin's Lymphoma. In: Conn's Current Therapy,
      W.B. Saunders, Philadelphia, R.E. Rakel (ed), pp. 373-379, 1991.

32.   Levine AM: Miscellaneous cancers associated with HIV infection. Curr Opin in Oncol 2:1172-74,
      1990.

33.   Levine AM: Epidemiology, clinical characteristics and management of AIDS-related lymphoma.
      Hematology/Oncology Clinics of North America. In Hematologic and Oncologic Aspects of HIV
      disease. R.T. Mitsuyasu and D.W. Golde (Eds). W.B. Saunders, Phil, 1991, pp. 331-342.

34.   Levine AM: Cancer in AIDS: Editorial Overview. Curr Opin in Oncol 3:863-66, 1991.

35.   Levine AM: AIDS associated malignant lymphoma. In: Medical Management of AIDS Patients;
      Medical Clinics of North America, Volume 76, Number 1, pp. 253-268, 1992. J.W.M. Gold, Editor,
      WB Saunders Co, Phil, Penn.

36.   Levine AM: Lymphoma and miscellaneous cancers in AIDS. In: AIDS: Etiology, diagnosis,
      treatment and prevention, Third Edition, DeVita VT, JR; Hellman S; Rosenberg S (Eds), JB
      Lippincott, Phil, 1992, pp. 225-36.

37.   Esplin JA, and Levine AM: HIV-related neoplastic disease: 1991. In AIDS '91: A Year in Review
      6:5203-210, 1992. Adler MW, Gold JWM, Groopman JE and Levy JA (eds). Current Science, Ltd,
      London, 1992.

38.   Levine AM, Gill PS, Salahuddin Z: Neoplastic complications of HIV infection. In: AIDS and Other
      Manifestations of HIV Infection. Second edition. GP Wormser (ed). Chapter 28, pp 443-454.
      Raven Press, Ltd. New York, 1992.
39.   Levine AM: Cancer in AIDS: Editorial overview. Current Opin in Oncol 4:863-66, 1992.

40.   Tulpule A and Levine AM: AIDS-related lymphoma. In Adv Heme Onc, J. Armitage (Ed); In Press,
      1993.

41.   Levine AM: Cancers associated with AIDS. In: AIDS: Etiology, Diagnosis, Treatment and
      Prevention 6:1-13, 1993, Eds: DeVita VT, Jr; Hellman S; Rosenberg SA. JB Lippincott, Phil, PA.

42.   Levine AM and Liebman H: Human Immunodeficiency Virus infection and the Acquired
      Immunodeficiency Syndrome (AIDS). In: Williams Hematology, 5th Edition. Beutler E, Lichtman
      MA, Coller BS and Kipps TJ, Eds, McGraw-Hill. 1994, pp 975-991.

43.   Levine AM: AIDS-related lymphoma: Clinical aspects. In: Textbook of AIDs Medicine, Broder S,
      Merigan T, Bolognesi D, eds. Williams and Wilkins, Baltimore, MD, 1994, pp 465-472.

44.   Esplin JA and Levine AM: AIDS associated non-Hodgkin's lymphoma. In: Current Therapy in
      Cancer, JF Foley, JM Vose, AO Armitage, eds. WB Saunders Co, Phil, 1994, pg 281-284.

45.   Levine AM: Lymphoma in the setting of HIV infection. In: The Lymphomas, Lister A, Sklar J, eds.
      WB Saunders, Florida, 1994.



                                                 42
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 69 of 145


46.   Levine AM: Clinical aspects of HIV-associated lymphomas. In: The non-Hodgkin's Lymphomas,
      2nd edition. I Magrath, ed. Edward Arnold, Kent, TN, 1995.

47.   Levine AM: AIDS-related malignancies. In: Handbook of Oncology, DA Casciato, ed., 1995.
      Chapter 37; pp 586-591.

48.   Levine AM: AIDS-related Lymphoma. In: Cancer Treatment, Fourth edition. CM Haskell, ed.
      WB Saunders, Phil, 1995. Chapter 99: pp 1118-1122.

49.   Levine AM and Liebman HA: Human Immunodeficiency virus infection and the Acquired
      Immunodeficiency syndrome. In: Hematology, 5th Edition. Williams WJ, Lichtman MA, (eds).
      McGraw-Hill, Inc, NY, 1995. Chapter 103, pp 975-996.

50.   Levine AM: AIDS-associated lymphoma. In: Everyone's Guide to Cancer Therapy, Second
      Edition. Dollinger M, Rosenbaum EH, and Cable G (eds), Somerville House Publishing, Toronto,
      1995. pp. 470-472.

51.   Levine AM: AIDS-related lymphoma. In: Malignant Lymphomas. Lister A, and Armitage J (eds).
      Chapman & Hill, London, UK. In press, 1996.

52.   Levine AM: HIV associated Hodgkin’s Disease: Biologic and clinical aspects. In:
      Hematology/Oncology Clinics of North America. Krown and Von Roenn (eds) WB Saunders, Phil,
      1996.
53.   Levine AM: Acquired Immunodeficiency Syndrome: Therapy for neoplastic complications. In:
      Current Therapy in Allergy, Immunology and Rheumatology. Lichtenstein and Fauci (eds). Mosby,
      Inc, St. Louis, MO, 1996.

54.   Levine AM: AIDS-related Lymphoma. In: Medical Management of AIDS in Women. Cotton D and
      Watts D (eds). John Wiley and Sons, New York, 1996. Chapter 23. Pp 379-88.

55.   Levine AM: Diagnosis and treatment of non-Hodgkin’s lymphoma in the patient with AIDS. In:
      AIDS-related Cancers and Their Therapy. Feigal, Levine, and Biggar (eds). Marcel Dekker, Inc.
      New York, 1997.

56.   Levine AM: AIDS-related lymphoma. In: Malignant Lymphoma, Hancock B, Selby P, MacLennan
      K, Armitage J, eds. Thomson Science & Professional Publishing, London, UK, 1998.

57.   Levine AM: Diagnosis and treatment of non-Hodgkin’s lymphoma in the patient with AIDS. In:
      AIDS-related cancers and Their Treatment. Feigal E, Levine AM, and Biggar R (eds). Marcel-
      Dekker, Inc., New York, 1999, pp 97-124.

58.   Tulpule A and Levine AM: AIDS-related malignancies. In: Manual of Clinical Oncology. 7th
      Edition, Raphael Pollock, Ed, Wiley-Liss, Inc, pp. 709-721, 1999.

59.   Levine AM: AIDS related malignancies. In: Manual of Clinical Oncology, 4th edition. Chapter 37.
      Casciato DA and Lowitz BB, eds. Little, Brown and Company, Boston/Toronto, 2000.

60.   Levine AM: AIDS-Lymphoma. In: Viral, Bacterial and Parasitic Oncology. Goedert JJ ed.
      Humana Press Inc, Totowa, New Jersey, 1999.

61.   Liebman HA, Cooley T, Levine AM: Human Immunodeficiency virus infection and the Acquired
      Immunodeficiency Syndrome. In: Hematology, 6th edition. Willams WJ, Lichtman MA (eds).
      McGraw-Hill, Inc, NY, 2000.

62.   Levine AM: Acquired immunodeficiency syndrome-related lymphoma: Clinical aspects. Sem in
      Oncol 27: 2000.


                                                 43
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 70 of 145


63.   Levine AM: AIDS-related lymphoma. In: Malignant Lymphoma. Hancock BW, Selby PJ,
      MacLennan K and Armitage J (eds). Edward Arnold Publishing, Ltd, London, 2000, Chapter 25,
      pp. 351-358.

64.   Levine AM (2001): Neoplasms in Acquired immunodeficiency syndrome. In: Encyclopedia of
      Cancer (J. Bertino, ed), Second edition. Academic Press, San Diego, pg 297-302, 2002.

65.   Levine AM (2001): AIDS-related lymphoma and Hodgkin’s Disease. Education Program Book,
      American Society of Hematology, pp. 466-470, Schechter GP; Broudy VC; Williams ME (eds).

66.   Levine AM: Lymphoma: AIDS Associated. In: Everyone’s Guide to Cancer therapy, 4th Edition.
      Dollinger M and Rosenbaum EH (eds). Lymphoma: AIDS Associated, pp 625-628, 2002.
      Andrews and McMeel, Kansas City, Missouri.

67.   Levine AM and Said J: Management of HIV-related lymphoma. In: Non-Hodgkin’s Lymphoma.
      Mauch PM, Armitage JO, Harris NL, Dalla Favero R, Coiffier B (eds). Lippincott, Williams and
      Wilkins, Baltimore, MD, chapter 39, pp 613-628, 2004.

68.   Levine AM: AIDS related malignancies. In: Manual of Clinical Oncology, Fifth edition. Casciato,D
      (ed). Lippincott Williams & Wilkins, Philadelphia, PA, 2004.

69.   Levine AM: Lymphoma in the setting of AIDS. Chapter 32. In: The Lymphomas, second edition.
      Canellos, GP; Lister, TA; Young, B (eds). Elsevier, Philadelphia, PA, 2004.

70.   Lim ST and Levine AM: Hematological Aspects of Human Immunodeficiency Infection. In Williams
      Hematology (Beutler E., Lichtman MA, Coller BS, Kipps TJ and Seligsohn U, 7th eds.). McGraw-Hill,
      New York, Chapter 83, 2006.

71.   Levine AM: AIDS related lymphoma. Seminars in Oncology Nursing. Editor: Connie Henke
      Yarbro. W. B. Saunders, Philadelphia, PA, 80-89, 2006.

72.   Levine AM: Hematologic Aspects of Human Immunodeficiency Virus infection. Chap 158 In:
      Hematology, Fifth Edition. Hoffman R, Benz EJ, Shattil SJ, Furie B, Silberstein LE, McGlave P,
      Heslop H, Eds Elsevier, Inc., Phil, PA, In Press. 2007.

73.   Levine AM: AIDS-related malignancies. Chapter 36 In: Manual of Clinical Oncology, Sixth
      edition. Casciato DA, Territo MC, Eds. Wolters Kluwer/Lippincott Williams & Wilkins, p 712-720,
      2009.

74.   Levine AM and Said JW: Management of Acquired Immunodeficiency Syndrome-related
      lymphoma. Chapter 35 In: Non-Hodgkin’s Lymphomas, 2nd edition. Armitage JO; Coiffier B; Dalla-
      Favera R; Harris NL; Mauch PM, Eds. Lippincott Williams & Wilkins, Baltimore, MD, IN press,
      2009.


ABSTRACTS

1.    Levine AM, Lichtenstein AK, Cramer AD, Taylor CR, Lincoln T., Lukes RJ, Feinstein DI:
      Immunoblastic Sarcoma: A Clinical Description. Blood 50:sup 1:363.

2.    Todd JA, Levine AM, Tokes ZA: Increased Uptake of Lipsome Entrapped Methotrexate by Chronic
      Lymphocytic Leukemia Cells. Fed. Prox. 37 (6):1543, 1978.




                                                 44
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 71 of 145


3.    Levine AM, Lichtenstein AK, Gresik MV, Lukes RJ, Feinstein DI: Clinical and Immunologic
      Spectrum of Plasmacytoid Lymphocytic Lymphoma without Serum Monoclonal IgM. Blood 52, Sup
      1:260, 1978.

4.    Levine AM, Rouault C, Thornton P, Forman S, Van Hale P, Holdorf D, Powars D, Feinstein DI,
      Lukes RJ: Clinical and Immunologic Aspects of Coombs' Positivity in Hodgkin's Disease. Blood
      52, Sup 1:260, 1978.

5.    Lichtenstein AK, Levine AM, Taylor CR, Boswell, W, Rossman S, Feinstein DI: Primary
      Mediastinal Non-Hodgkin's Lymphoma. Proceedings of AACR and ASCO 20:361, 1979.

6.    Levine AM, Overturf G, Fields R, Feinstein DI: Response to Pneumococcal Vaccine in Patients
      with Hodgkin's Disease, Lymphoma and Myeloma. Proceedings of AACR and ASCO 20:170,
      1979.

7.    Levine AM, Koehler SC, Lichtenstein AK, Forman SJ, Taylor CR, Lukes RJ, Feinstein DI: The
      Clinical Features of "T" Cell Versus "B" Cell Immunoblastic Sarcoma. Blood 54:194a, 1979.

8.    Waxman A, Siemsen J, Levine AM, Joldorf S, Suzuki R, Singer F, Batemen J: Imaging in Multiple
      Myeloma: The Role of Gallium Scintigraphy. Pro. Soc. Nuclear Medicine 20:647, 1979.

9.    Levine AM, Koehler S, Meyer P, Forman SL, Feinstein DI: Successful Therapy of Convoluted
      Lymphocytic Lymphoma (Lymphoblastic Lymphoma) in Adult: A Pilot Study. Proceedings of
      AACR and ASCO, C-94, 1980.

10.   Douer D, Levine AM, Fabian T, Cline M, Koeffler P: Chronic Myelocytic Leukemia: A Multipotent
      Hematopoietic Stem Cell is Involved in the Malignant Clone. Proceedings of AACR and ASCO
      22:153, 1981.

11.   Liebman HA, Levine AM, Tong M.: Elevated Levels of Serum Chemotactic Factor Inactivator (CFI)
      in Patients with Multiple Myeloma (MM) and B Cell Chronic Lymphocytic Leukemia (B-CLL).
      Proceedings of AACR and ASCO 22:1267, 1981.

12.   Levine AM, Shackney SE, Cunningham RE, Smith CA, Schuette WS, Teitelbaum AH, Nichols PW,
      Stolinsky DC, Lukes RJ: Therapeutic Response and Survival in B and T Cell Lymphomas in
      Relation to Tumor Cell Aneupliody and Proliferative State. Proceedings of AACR and ASCO
      22:520, 1981.

13.   Levine AM, Pavlova Z, Teitelbaum AH, Feinstein DI, Lukes RJ: Small Non-Cleaved Follicular
      Center Cell Lymphoma (SNC): Burkitt (BL) vs Non-Burkitt (NBL) Subtypes: Clinical Features in the
      USA. Blood 58:161a, 1981.

14.   Levine AM, Meyer PR, Lukes RJ, Feinstein DI: Clinical and Morphologic Heterogeneity of T-Cell
      Chronic Lymphocytic Leukemia (T-CLL). Blood 58:144a, 1981.

15.   Chandraratna PAN, Kawanishi D, Rahimtoola SH, Levine AM, Feinstein D: Detection of
      Metastasis to the Pericardium and Great Vessels and Assessment of Tumor Regression by Two-
      Dimensional Echocardiography. Annual Scientific Sessions of the American Heart Association.
      November, 1981.

16.   Pavlova Z, Levine AM, Feinstein DI, Parker J, Lukes RJ: Small non-cleaved FCC lymphoma,
      Burkitt vs. non-Burkitt variants: Pathologic Definition, Labs. Inves. 46:164A, 1982.




                                                45
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 72 of 145


17.   Levine AM, Goldstein M, Meyer PR, Forman SJ, Parker JW, Hill AP, Nathwani B, Lukes RJ,
      Feinstein DI: Lukes-Collins Classification Predicts for Response and Survival After BACOP
      Therapy (Bleomycin, Doxorubicin, Cyclophosphamide, Vincristine, Prednisone) in Diffuse
      Histiocytic Lymphoma (DHL). Blood 60:161a, 1982.

18.   Levine AM, Shackney SE, Simon R, Nichols P, Parker JW, Schuette W, Smith CA, Lukes RJ:
      Correlations between Tumor Cell DNA Synthetic Fraction (S fx) and Aneuploidy on Clinical Course
      and Response to Treatment in Non-Hodgkin's Lymphoma/Leukemia. Blood 60:114a, 1982.

19.   Kadin ME, Peterson L, Brunning D, Levine AM, Meyer P, Pontiflex H: Adult T Cell
      Leukemia/Lymphoma: Clinical, Morphological and Immunological Studies in Six Nonendemic
      Cases. Blood 60:145a, 1982.

20.   Levine AM, Meyer PR, Bonorris J, Hill AP, Pockros AW, Lukes RJ, Feinstein DI: Small Cleaved
      Follicular Center Cell Lymphoma (SC-FCC) Diffuse vs. Follicular (Nodular): Clinical and
      prognostic features in 81 patients. Proc. ASCO 2:210, 1983.

21.   Chandraratna PAN, Boswell W, Karanishi DT, Levine AM, Feinstein D, Rahimtoola SH:
      Comparison of Two-dimensional Echocardiography and Computerized Tomography on the
      Assessment of Extracardiac Masses. Submitted to 32nd Annual Scientific Session, American
      College of Cardiology, March, 1983.

22.   Shackney SE, Levine AM, Fisher RI, Nichols P, Jaffe E, Schuette WH, Simon R, Smith CA,
      Occipinti SJ, Parker JW, Cossman J, Young RC, Lukes RJ: The Biology of Tumor growth in the
      non-Hodgkin's Lymphoma: A dual parameter flow cytometry study of 220 cases. Proc. ASCO 2:8,
      1983.

23.   Richardson JL, Johnson CA, Levine AM: Compliance with Chemotherapy among Patients with
      Hematologic Malignancies. American Psychologic Association, 1983.

24.   Levine AM, Felman, I.E., Stewart, M., Nichols, P.N., Nadamanee, A., Lukes, R.J.: Large non-
      Cleaved Follicular Center Cell Lymphoma: Clinical Features in 53 Patients. Blood:1983.

25.   Bertram JH, Levine AM, Gill, P, Mindell SL, Bouquiren D, Meyer P, Mitchell MS: Phase I Trial of
      Monoclonal Antibody T-101 in Patients with T-cell Malignancies: Preliminary Clinical and
      Pharmacokinetic Observations. Proc ASC0 3:59 (C-227), 1984.

26.   Burkes RL, Abo W, Levine AM, Gill P, Linker-Israeli M, Horwitz DA: Immunoglobulin Synthesis,
      Natural Cytotoxicity, and Interleukin Production in Homosexual Males with Persistent Generalized
      Lymphadenopathy and AIDS. Proc ASCO: 3:53 (C-205), 1984.

27.   Gill PS, Levine AM, Meyer PR, Burkes RL, Taylor CR, Parker JW, Dworsky R, Lukes RJ: Clinico-
      pathologic Characteristics of Primary Central Nervous System Lymphoma in Patients with
      Acquired Immunodeficiency Syndrome. Proc ASCO 3:54 (C-207), 1984.

28.   Levine AM, Richardson JL, Chan K, Graham J, Selser JN, Kishbaugh C, Neely S, Johnson CA:
      Level of Compliance and Effect of Patient Education on Compliance with Chemotherapy Among
      Patients with Hematologic Malignancy. Proc ASCO 3:71 (C-275), 1984.

29.   Gill PS, Levine AM, Pavlova Z, Meyer PR, Parker J, Taylor CR, Lukes RJ, Feinstein DI: Clinico-
      Pathologic Characteristics of B-cell Acute Lymphocytic Leukemia (ALL-"Burkitt Leukemia") in
      Adults. Proc ASCO 3:197 (C-769), 1984.




                                                 46
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 73 of 145


30.   Gottlieb AA, Farmer JL, Hester RB, Nishihara T, Levine AM, Gill P, Kardinal C, Pankey G and
      Flaum M: Reconstitution of T-cell Function in AIDS Patients by Use of a Leukocyte-derived
      Endogenous Immunomodulator. Proceedings: American Federation of Clinical Research, May
      1984.

31.   Burkes RL, Sherrod A, Stewart M, Gill PS, Aguilar S, Taylor C, Krailo M, Levine AM: Serum B2
      Microglobulin (B2-M) in Homosexual Men with AIDS and Persistent, Generalized
      Lymphadenopathy (PGL). Blood 1984.

32.   Burkes RL, Levine AM, Abu W, Linker-Israeli M, Gill PS, Krailo M, Horwitz DA: Immunoglobulin
      (Ig) Synthesis, T-cell Subsets and Interleukin (IL) Production in Homosexual Men with Persistent,
      Generalized Lymphadenopathy (PGL). Blood 1984.

33.   Burkes RL, Cohen H, Sinow R, Levine AM, Carmel R: Low Serum B12 Levels in Homosexual
      Males with AIDS or its Prodrome. Blood 1984.

34.   Gill PS, Levine AM, Boswell W, Biddle R, Burkes RL, Dworsky RD, Meyer PR: CT Scan
      Abnormalities in Patients with Primary CNS Lymphoma, CNS oxoplasmosis, and Progressive,
      Multifocal Leukoencephalopathy (PML) and AIDS. Blood 1984.

35.   Burkes RL, Levine AM, Gill PS, Meyer P: Primary Rectal Lymphoma in Homosexual Men. Blood
      1984.

36.   Levine AM, Meyer PR, Gill PS, Burkes RL, Krailo M: Importance of Lymph Node Biopsy in
      Homosexual Men with Generalized Lymphadenopathy. Blood 1984.

37.   Gill PS, Levine AM, Aguilar SL, DelSignore C, Burkes RL, Farmer J, Gottlieb AA: Use of
      Leukocyte-Derived Endogenous Immuno-Modulator (IMREG-1) in Patients with AIDS. Blood 1984.

38.   Levine AM, Dworsky RD, Gill PS, Burkes RL, Rasheed S: Analysis of Antibodies to Human T-
      Leukemia Virus (HTLV)-III in Homosexual Men with Persistent, Generalized Lymphadenopathy
      (PGL), and with Malignant B-Cell Lymphoma. Blood 1984.

39.   Gill PS, Levine AM, Meyer PR, Dworsky RD, Aguilar SL, Burkes RL, Rasheed S: AIDS and
      Persistent, Generalized Lymphadenopathy (PGL) in Women Without Known Risk Factors:
      Clinical, Immunologic Pathologic and Virologic Details. Blood 1984.

40.   Levine AM, Burkes RL, Gill PS, Dworsky RD, Meyer PR, Aguilar SL, Ross R, Krailo M, Parker J,
      Rarick M, Singer MB, Rasheed S: Persistent, Generalized Lymphadenopathy (PGL) in
      Homosexual Men: Clinical, Epidemiologic, Virologic, Immunologic Findings. Blood 1984.

41.   Levine AM, Gill PS, Burkes RL, Dworsky RD, Krailo M, Ross R, Rasheed S, Rarick M, Bernstein-
      Singer M, Pinter-Brown L, Meyer PR: Malignant Lymphoma (NHL) in Homosexual Men: Clinical
      Experience with 28 Patients from One Institution. Blood 1984.

42.   Meyer PR, Levine AM, Omerod LD, Hofman FM, Taylor CR: Immunohistochemical
      characterization of T,B, Monocyte dendritic cell antigens in lymph nodes from homosexual men.
      ASCP, November, 1985.

43.   Meyer PR, Gill P, Levine AM, Rasheed S, Taylor CR, Boone D, Lukes RJ, Parker JW: B-cell
      malignant lymphoma in patients with acquired immune deficiency syndrome and/or from "At risk"
      groups: Morphologic, immunologic, and phenotypic studies in 42 patients. ASCP, November,
      1985.

44.   Stewart ML, Meyer PR, Levine AM, Krailo M, Wong ET: Multivariate analysis of laboratory tests in
      AIDS and AIDS-related disorders. ASCP, November, 1985.


                                                 47
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 74 of 145


45.   Levine AM, Gill P, Meyer P, Aguilar S, Burkes R, Bernstein-Singer M, Dworsky R, Rarick M,
      Rasheed S: Development of acquired immunodeficiency (AIDS) and AIDS-related complex,
      associated with Human T-lymphotropic retrovirus (HTLV-III) in heterosexual patients with no
      apparent risk factor. Proc ASCO 4:3, 1985.

46.   Shackney S, Levine AM, Fisher R, Schuette W, Smith C, Katz A, Lukes R: The differential effects
      of aneuploidy and S fraction on patient survival and complete response rate in non-Hodgkin's
      lymphomas of B and T cell type. Proc ASCO 4:20, 1985.

47.   Gill P, Meyer P, Aguilar S, Rarick M, Rasheed S, Burkes R, Levine AM: Primary non-Hodgkin's
      lymphoma (NHL) of the heart: Report of six cases. Proc ASCO 4:206, 1985.

48.   Levine AM, Singer MB, Holdorf D, Mindell S, Krailo M, Feinstein DI: Therapy of acute granulocytic
      leukemia (AGL) using intensive induction and consolidation, with randomization to maintenance or
      observation. Blood, 66:204a, 1985.

49.   Levine AM, Gill PS, Hawkins J, Formenti S, Aguilar S, Rasheed S: Suramin anti-viral therapy in
      acquired immunodeficiency syndrome (AIDS) and AIDS-related lymphoma: Preliminary results.
      Blood 66:114a, 1985.

50.   Gill PS, Levine AM, Holdorf D, Meyer PR, Rasheed S: AIDS-related lymphoma: Prospective trial
      of intensive multi-agent chemotherapy. Blood 66:111a, 1985.

51.   O'Donnell MR, Forman SJ, Levine AM, Territo M, Gill P, Nademanee AP, Neely S, Fahey JL: Ara-
      C, Cis-platinum and Etoposide (VP-16), (ACE) chemotherapy for refractory non-Hodgkin's
      lymphoma. Blood 66:216a, 1985.

52.   Levine AM, Gill PS, Krailo M, Formenti S, Hawkins J, Aguilar S: Serial study of human T-
      lymphotropic retrovirus (HTLV-III) antibodies and peripheral blood culture in 86 health care workers,
      employed at a University based acquired immunodeficiency syndrome (AIDS) clinic Proc ASCO,
      1986.

53.   Gill PS, Rasheed S, Ross R, Aguilar S, Krailo M, Baggett K, Clark J, Levine AM: Prevalence of
      antibody to HTLV-III in female prostitutes. Proc ASCO, 1986.

54.   Gill PS, Levine AM, Holdorf D, Pinter-Brown L, Krailo M, Rasheed S: High grade AIDS-related
      lymphomas, results of prospective multi-agent chemotherapy trials. Proc ASCO, 1986.

55.   Levine AM, Gill PS, Krailo M, Formenti S, Hawkins J, Aguilar S, Rasheed S: Serial study of
      Human T-lymphotropic retrovirus (HTLV-III) antibodies and peripheral blood culture in 86 health
      care workers employed at a University-based Acquired Immunodeficiency (AIDS) clinic. Proc
      ASCO 5:5 (C-17), 1986.

56.   Gill PS, Levine AM, Holdorf D, Pinter-Brown L, Krailo M, Rasheed S: High grade AIDS-related
      lymphomas: Results of prospective multi-agent chemotherapy trials. Proc ASCO 5:5 (C-18), 1986.

57.   Gill PS, Rasheed S, Ross R, Aguilar S, Krailo M, Baggett K, Clark J, Levine AM: Prevalence of
      antibody to HTLV-III in female prostitutes from Los Angeles. Proc ASCO 5:5 (C-19), 1986.

58.   Rasheed S, Gowda S, Gill PS, Meyer P, Levine AM: Expression of HTLV-III genes in B-cell
      lymphoma tissues from patients with AIDS. Cold Spring Harbor: 1986.

59.   Rasheed S, Gowda S, Bill PS, Levine AM: Retrovirus associated B-cell lymphoma in homosexual
      male. First International Congress on Cancer and Hormones, 1986.




                                                   48
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 75 of 145


60.   Rasheed S, Gowda S, Gill PS, Meyer P, Levine AM: Localization of HTLV-III Genes in B-cell
      lymphoma tissues from patients with AIDS. American Society for Virology, June, 1986.

61.   Rasheed S, Gill PS, Levine AM: Antiviral effects of Suramin in patients with the Acquired
      Immunodeficiency Syndrome. 7th International Symposium on Future Trends in Chemotherapy,
      1986.

62.   Gowda S, Levine AM, Gill PS, Meyer P, Rasheed S: Detection of HTLV-III mRNA in B-cell
      lymphoma cells by In Situ hybridization. International Conference on Acquired Immunodeficiency
      Syndrome (AIDS). June, 1986.

63.   Rasheed S, Norman GL, Su S, Gill PS, Levine AM: Seroconversion of an antibody negative
      individual. International Symposium on Acquired Immunodeficiency Syndrome (AIDS). June,
      1986.

64.   Gill PS, Levine AM, Ross R, Aguilar S, Krailo M, Rasheed S: Prevalence of antibody to HTLV-III in
      female prostitutes from Los Angeles. International Conference on Acquired Immunodeficiency
      Syndrome (AIDS). June, 1986.

65.   Cheson BD, Levine AM, Mildvan D, Kaplan L, Rios A, Wolfe P, Groopman J, Hawkins M:
      Suramin therapy in AIDS and related diseases: Initial report of the US Suramin Working Group.
      International Conference on Acquired Immunodeficiency Syndrome (AIDS). Paris, France, June.
      1986.

66.   Levine AM, Gill PS, Krailo M, Verdugo B, Rarick M, Coreiro C, Turner R, Meyer P, Deyton L:
      Natural history of persistent generalized lymphadenopathy (PGL) in gay men: Risk of lymphoma
      (NHL) and factors associated with development of lymphoma. BLOOD, 68;130a, 1986.

67.   Gill PS, Rarick M, Deyton L, Pinter-Brown L, Aguilar S, Feinstein D, Levine AM: Malignant non-
      Hodgkin's lymphoma in AIDS: Results of prospective treatment trials. BLOOD 68; 126a, 1986.

68.   Gill PS, Deyton LR, Rarick M, Rey J, Aguilar S, Loreiro C, Levine AM: Treatment of epidemic
      Kaposi's sarcoma (EKS) with vincristine, bleomycin, and low dose adriamycin. BLOOD 68; 126a,
      1986.

69.   Armitage JO, Grer JP, Levine AM, Weisenburger DD, Formenti SC, Bast M, Conley S, Pierson J,
      Linder J, Cousar J, Nathwani B: Peripheral T-cell lymphoma (PTCL). BLOOD 68; 208a, 1986.

70.   Levine AM, Gill PS, Krailo M, Verdugo B, Loureiro C, Rarick M, Rasheed S: Natural history of
      Human Immunodeficiency Virus infection among a cohort of homosexual men. Proc ASCO 6:3.
      1987.

71.   Gill PS, Krailo M, Aguilar S, Rasheed S, Levine AM: Prevelance of Human Immunodeficiency
      Virus infection among a group of female prostitutes in Los Angeles. Proc ASCO, 1987.

72.   Chak LY, Hill CK, Gill PS, Meyer PR, Levine AM, Petrovich A: Radiation therapy for Kaposi's
      sarcoma in patients with Acquired Immnodeficiency Syndrome. Proc ASCO 6:3. 1987.

73.   Hung GL, Chen ME, Siegel P, Meyer P, Gill PS, Levine AM: Utilization of gallium scintigraphy in
      AIDS-related lymphomas. Society of Nuclear Medicine, 1987.

74.   Hung GL, Chen DCP, Raval JK, Siegel ME, Meyer P, Gill PS, Levine AM: Correlation of gallium
      scintigraphy and CT scanning in AIDS related lymphomas. Society of nuclear Medicine, 1987.




                                                 49
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 76 of 145


75.   Rarick M, Loureiro C, Martin S, Strigl S, Bernstein-Singer M, Levine AM, Gill PS: Use of needle
      aspiration of lymph nodes in patients with lymphadenopathy and Human Immunodeficiency Virus
      infection. BLOOD, 11/87.

76.   Levine AM, Gill Ps, Rarick M, Loureiro C, Singer M, Rasheed S: AIDS related non-Hodgkin's
      lymphoma: Clinical, immunologic and pathologic characteristics in 68 patients from one Institution.
      IVth Intern Conf on AIDS, 327 (#7609), 1988.

77.   Rarick M, Loureiro C, Martin S, Stringl S, Gill P, Singer M, Levine AM: Use of find needle
      aspiration of lymph nodes in patients with HIV infection. IVth Intern Conf on AIDS, 325 (#7604),
      1988.

78.   Gill PS, Krailo M, Slater L, Rarick M, Singer M, Muchmore E, Loureiro C, MuCutchan A, Harb M.
      Levine AM: Results of a randomized trial of ABV (Adriamycin, Bleomycin, Vincristine) vs. A in
      advanced epidemic Kaposi's sarcoma. IVth Intern Conf on AIDS, 323 (#7596), 1988.

79.   Levine AM, Henderson BE, Dworsky R, Ascher MS, Sheppard HW, Cullman LC, Hicks DR,
      Munson K, Carlo DJ, Abrahamson J, Salk J: Response of HIV infected individuals with ARC to
      inoculation of gamma-irradiated HIV. IVth Intern Conf on AIDS:288 (#6567), 1988.

80.   Rarick M, Loureiro C, Harb M, Halley J, Groshen S, Gill P, Singer M, Levine AM: Intravenous
      immune globulin (IGIV) in the treatment of HIV related thrombocytopenia. Blood, 72:359a. 1988.

81.   Levine AM, Loureiro C, Sullivan-Halley J, Rarick MU, Willson E, Bernstein-Singer M, Groshen S,
      Gill PS: HIV-positive high or intermediate grade lymphoma: Prognostic factors related to survival.
      Blood, 72:247a, 1988.

82.   Aboulafia D, Gill P, Levine AM, Slamon DJ: HTLV-1 infection in prostitutes in Los Angeles. Blood
      72:346a, 1988.

83.   Esplin J, Hu E, Lukes R, Brynes R, Gill P, Feinstein D, Pinter-Brown L, Rarick MU, Bernstein-
      Singer M, Levine AM: Ethnic correlates of clinical-pathologic aspects of non-Hodgkin's lymphoma
      in LA County. Proc ASCO, 1989.

84.   Hu E, Hufford S, Gill PS, Pinter-Brown L, Rarick M, Bernstein-Singer M, Rosen P, Levine AM: A
      new intensive chemotherapy regimen, CHOPE-BAM, for treatment of high grade lymphomas. Proc
      ASCO, 1989.

85.   Levine AM, Wernz JC, Kaplan L, Cohen P, Metroka C, Miles S, Rarick MU, Walsh C, Kahn J,
      Thompson J, Mitsuyasu R, Feinberg J: Low dose chemotherapy with CN prophylaxis and
      zidovudine (AZT) maintenance for AIDS-related lymphoma: Preliminary results of a multi-
      institutional study. Proc ASCO 8:5, 1989.

86.   Rarick MU, Willson E, Bernstein-Singer M, Gill PS, Muggia F, Levine AM: Double-blind placebo
      controlled study of recombinant human erythropoietin in AIDS patients with anemia caused by HIV
      infection and Zidovudine. Vth International Conf on AIDS, Montreal, 1989.

87.   Rarick MU, Sharma D, Gill PS, Bernstein-Singer L, Levine AM: Miscellaneous carcinomas
      developing in patients with HIV infection. Vth Intern Conf on AIDS, Montreal, 1989.

88.   Gill P, Levine AM, Bernstein-Singer M, Espina B, Rarick MU: Treatment of advanced AIDS-related
      Kaposi's sarcoma (KS): Experience with 112 patients from one institution. Vth Intern Conf on
      AIDS. Montreal, 1989.




                                                  50
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 77 of 145


89.   Levine AM, Henderson BE, Groshen S, Peters R, Shepard HW, Salk J: Immunization with
      inactivated, envelope-depleted HIV immunogen in HIV infected men with ARC: Preliminary report
      of exploratory studies in progress. Vth Intern Conf on AIDS, Montreal, 1989.

90.   Rarick MU, Espina B, Montgomery T, Strigyl S, Levine AM: Zidovudine (AZT) therapy in patients
      with severe thrombocytopenia and HIV infection. Blood 74:115a, 1989.

91.   Levine AM, Wernz JC, Kaplan L, Cohen P, Metroka C, Bennett J, Miles S, Rarick MU, Walsh C,
      Kahn J, Thompson J, Mitsuyasu R, Feinberg J: Low dose chemotherapy with CNS prophylaxis and
      zidovudine maintenance for AIDS-related lymphoma: Follow up data from a multi-institutional trial.
      Blood 74:897a: 1989.

92.   Pinter-Brown L, Brynes R, Nichols P, Levine AM: T lymphoblastic lymphoma with leukemic
      presentation in the adult: Long-term survival with multi-modality therapy. Blood 74:1031a, 1989.

93.   Walsh C, Wernz J, Laubenstein L, Rarick M, Feinberg J, Thompson J, Levine AM: Phase I study
      of m-BACOD and GM-CSF in AIDS-associated non-Hodgkin's lymphoma (NHL): Preliminary
      results. Blood 74:466a, 1989.

94.   Rarick MU, Espina B, Sonka S, Johnson C, Levine AM: Erythropoietin response in patients with
      various stages of HIV infection and anemia. Blood, 1990.

95.   Grunberg SM, Sherrod A, Zaretsky S, Muellenbach R, Renshaw M, Levine AM: Analysis of
      physician attitudes concerning requests for autopsy. Proc ASCO 10:328, 1991.

96.   Slovak ML, Ho J, Brynes RK, Bernstein L, Levine AM: Cytogenic abnormalities in 77 non-
      Hodgkin's lymphomas: Association with histology and HIV status. Blood 78, 127a, 1991.

97.   Gill PS, Sharma D, Levine AM, Crossley R, Muggia F: Phase I/II trials with liposomal daunorubicin
      (daunoxome) in AIDS related Kaposi's sarcoma. Blood 78:358a, 1991.

98.   Rarick MU, Espina B, Montgomery T, Jamin D, Levine AM: Combination therapy with IVIG and
      AZT for severe HIV related immune thrombocytopenia. Blood 78:359a, 1991.

99.   Levine AM, Espina B, Katz-Willson E, Salahuddin Z, Gill PS: Serum cytokine levels in non-
      Hodgkin's lymphoma (NHL): Correlation with stage of disease, and systemic B symptoms (B sxs):
      Blood 78:467a, 1991.

100. Levine AM, Shibata D, Sullivan-Halley J, Nathwani B, Brynes R, Slovak M, Bauch S, Riley L,
     Weiss L, Levine P, Rasheed S, Bernstein L: Case control study of HIV + and HIV negative
     lymphoma in Los Angeles County. Proc ASCO 11:333, 1992.

101. Levine AM, Shibata D, Weiss LM, Sullivan-Halley J, Mahterian S, Riley CL, Ortega A, Nathwani B,
     Bernstein L: Molecular characteristics of intermediate/high grade lymphomas arising in HIV
     positive vs. HIV-negative patients: Preliminary data from a population based study in the county of
     Los Angeles. Blood 80:259a, 1992.

102. Levine AM, Katz-Willson E, Espina B, Esplin J, Ortega A, Rasheed S, Nathwani B, Gill PS: Low
     dose M-BACOD with concomitant dideocycytidine (ddC) in AIDS-related lymphoma. Blood
     80:328a, 1992.

103. Masood R, Bond M, Scadden D, Kaplan M, Levine AM, Gill PS: Interleukin 10: An autocrine B cell
     growth factor for human B cell lymphoma and their progenitors. Blood 80:115a, 1992.




                                                  51
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 78 of 145


104. Gill PS, Esplin BM, Cabriales S, Ross M, Crossley R, Muggia F, Levine AM: Liposomal
     daunorubicin, an effective agent in the treatment of advanced AIDS-related Kaposi's sarcoma.
     Blood 80:328a, 1992.

105. Gill PS, Masood R, Cai J, Louie S, Harrington W, Kaplan M, Aggarwal U, Lin G, Law R, Levine
     AM: Novel antiviral therapy for adult T cell leukemia secondary to HTLV-I infection. Blood 80:74a,
     1992.

106. Feigal E, Levine AM, Muchmore E, Slater L, Espina B, McCutchan A, Gill P: California Consortium
     treatment group trial of ABV followed by maintenance therapy with interferon-alpha and ZDV in HIV
     associated Kaposi's sarcoma. Blood 80:328a, 1992.

107. Rarick MU, Espina BM, Montgomery T, Esplin J, DeGuzman N, Levine AM: Low dose interferon-
     alpha for patients with severe HIV-related immune thrombocytopenia refractory to AZT. Blood
     80:328a, 1992.

108. Fuller B, Gribben J, Benjamin D, Gill PS, Levine AM, Nadler L, Scadden D: Phenotypic
     characterization of cell lines derived from AIDS-related non-Hodgkin's lymphoma. Blood 80:372a,
     1992.

109. Slovak ML, Weiss LM, Nathwani B, Bernstein L, Levine AM: Cytogenetic studies of monocytoid B
     cell lymphomas. Blood 80:39a, 1992.

110. Keung YK, Douer D, Levine AM: Acute myeloid leukemia in racial minorities in a large urban
     hospital. Proc ASCO 12:315, 1993.

111. Esseltine DL, Braman GM, Park Y, Levine AM, McLaughlin P, Murray JL, Grossbard M, Lynch T,
     Riz J, Nadler L, Epstein C: Use of anti-B4 blocked ricin as an immunosuppressant. Blood 82:240a,
     1993.

112. Scadden DT, Swoweiko J, Schenkein D, Bernstein Z, Levine AM, Bresnahan J, Gere J, Esseltine
     D, Epstein C: A phase I/II trial of combined immunoconjugate and chemotherapy for AIDS-related
     lymphoma. Blood 82:386a, 1993.

113. Keung YK, Levine AM, Khan R, Salahuddin Z: Effect of 2', 3' dideocycytidine (ddC) on bone
     marrow stromal cells. Blood 82:486a, 1993.

114. Keung YK, Watkins K, Chen SC, Groshen S, Levine AM, Douer D: Increased of central venous
     catheter related infections in bone marrow transplant recipients undergoing peripheral blood stem
     cell collection. Blood 82:633a, 1993.

115. Rizzo J, Levine AM, Weiss G, Espina B, Busquets A, Eckardt J, Fields S, Von Hoff D, Kuhn J:
     Pharmacokinetics of MGBG (methylglyoxal (bis) guanylhydrazone) in patients with AIDS-related
     non-Hodgkin's lymphoma. Proc ASCO 13:149, 1994.

116. Levine AM, Weiss G, Tulpule A, Espina B, Anderson LJJ, Boswell W, Esplin J, Von Hoff D:
     MGBG: A highly active drug in relapsed or refractory AIDS lymphoma. Proc ASCO 13:52, 1994.

117. Tulpule A, Anderson LJJ, Levine AM, Espina B, Esplin J, Boswell W, Scadden D, Esseltine D,
     Epstein CL: Anti-B4 (CD19) monoclonal antibody, conjugated with ricin (B4-blocked ricin) in
     refractory AIDS lymphoma. Proc ASCO 13:52, 1994.

118. Khan A, Schiller G, Levine AM, Harvey L, Lee M, Espina B, Boswell W, Enny C, Nathwani B: 2-
     chloro-2'deocyadenosine (2-CDA), an active agent in the treatment of advanced relapsed or
     refractory low to intermediate grade non-Hodgkin's lymphoma. Proc ASCO 13:386, 1994.



                                                 52
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 79 of 145


119. Douer D, Preston-Martin S, Keung YK, Chang E, Watkins K, Levine AM: High occurrence of FAB
     M3 subtype among acute myelocytic leukemia patients of Latino origin. Blood 84:51a, 1994.

120. Scadden DT, Doweiko J, Bernstein Z, Schenkein D, Luskey B, Stram D, Esseltine D, Levine AM:
     Combined immunotoxin and chemotherapy for initial treatment of AIDS lymphoma. Blood 84:163a,
     1994.

121. Moudgil T, Molina A, Norman GL, Levine AM, Gill PS: Absence of HTLV-I or HTLV-II proviral DNA
     in PBMCs of patients with Mycosis Fungoides (MF) with serum TH2 cytokine profile. Blood
     84:478a, 1994.

122. Bernstein L, Nathwani B, Shibata D, Sullivan-Halley J, Levine AM: History of transfusion and
     increased risk of lymphoma in HIV positive men. Blood 84:482a, 1994.

123. Levine AM, Nathwani B, Matherian S, Shibata D, Sullivan-Halley J, Bernstein L: Rise of
     Zidovudine usage on subsequent development of lymphoma in HIV infected men. Blood 84:483a,
     1994.

124. Levine AM, Tulpule A, Espina B, Moudgil T, Ortega A, Esplin JA, Anderson LJJ, Saunders T,
     Keung UK, Boswell W, Buckley J, Rasheed S, Nathwani B, Parker J, Gill PS: Low dose M-BACOD
     with zalcitabine (ddC) in patients with AIDS lymphoma: Correlations between serum IL-6; systemic
     "B" symptoms; viral burden and response to therapy. Blood 84:519a, 1994.

125. Kaplan L, Staus D, Testa M, Levine AM: Randomized trial of standard dose mBACOD with GM-
     CSF vs. reduced dose mBACOD for systemic HIV-associated lymphoma. ACTG 142. Proc ASCO
     14:288, 1995.

126. Levine AM, Weiss GR, Tulpule A, Kaplan L, Giles F, Luskey BD, Scadden DT, Pearce T,
     Silverberg I, Busquets A, von Hoff DD: Multicenter phase II study of mitoguazone (MGBG) in
     relapsed or refractory AIDS-lymphoma. Proc ASCO 14:288, 1995.

127. Khan A, Schiller G, Levine AM, Harvey-Buchanan L, Lee M, Espina B, Boswell W, Enny C,
     Nathwani B: Phase II study of leustatin (Cladribine) in the treatment of advanced relapsed or
     refractory low and intermediate grade non-Hodgkin's lymphoma. Proc ASCO 14:397, 1995.

128. Forman SL, Chao N, Niland JC, Levitt L, Champlin R, Gajewski J, Lee J, Schiller G, Nantel S,
     Barnett M, Levine AM, Saez R, Phillips G, Blume KG: Intensive chemotherapy or bone marrow
     transplantation for adult ALL in first complete remission. Blood 1995; 86:616a.

129. Levine AM, Giles F, Kaplan L, Sparano J, Scadden D, Luskey B, Northfelt D, Thommas J,
     Anderson LJJ, Espina B, Tessman D, von Hoff DD: Two sequential prospective, multi-institutional
     phase II clinical trials of mitoguazone (MGBG) in refractory or relapsed AIDS related lymphoma.
     Blood 1995; 86:381a.

130. Chang E, Levine AM, Douer D: Distribution of PML breakpoint cluster regions in the PML/RaRa
     fusion transcripts in acute promyelocytic leukemia of Latino patients. Blood 1995; 86:171a.

131. Douer D, Preston-Martin S, Chang E, Nichols P, Watkins K, Levine AM: The epidemiology of
     acute promyelocyte leukemia (APL) is different from other AML subtypes: Report from the Los
     Angeles County Cancer Surveillance Program: 1980-1993. Blood 1995; 86:172a.

132. Douer D, Saven A, Watkins K, Gollard R, Kahn A, Piro L, Levine AM: Remission induction in
     newly diagnosed AML patients aged 55-75 years using a five day idarubicin schedule in
     combination with cytarabine. Blood 1995; 86:757a, 1995.




                                                 53
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 80 of 145


133. Straus D, Juang J, Testa M, Levine AM, Kaplan L: Prognostic factors in the treatment of HIV-
     associated non-Hodgkin's lymphoma: Analysis of ACTG 142 (Low dose vs. standard dose m-
     BACOD + GM-CSF. Blood 1995; 86:604a.

134. Khan A, Schiller G, Levine AM, Tulpula A, Sherrod A, Harvey-Buchanan L, Lee M, Espina B,
     Boswell W, Enny C, Nathwani B: Cladribine in the treatment of advanced relapsed or refractory low
     and intermediate grade non-Hodgkin’s lymphoma. Proc ASCO 15:95, 1996.

135. Tulpule A, Espina BM, Montgomery T, Von Hoff D, Tessman D, Levine AM: Mitoguazone
     dihydrochloride (MGBG) in combination with radiation therapy in the treatment of AIDS-related
     primary CNS lymphoma. Proc ASCO 15:305, 1996.

136. Mocharnuk RS, Ghadialy A, Tulpule A, Espina B, Levine AM: Long term, disease-free survival in
     AIDS-related lymphoma. Proc ASCO 15:306, 1996.

137. Tulpule A, Rarick MU, Kolitz J, Bernstein J, Traynor A, Myers A, Harvey-Buchanan L, Vergel de
     dios Salvosa M, Espina BM, Mukwaya G, Ross M, Levine AM: Liposomal encapsulated
     daunorubicin (Daunoxome) has activity in relapsed/refractory low grade and intermediate grade
     non-Hodgkin’s lymphoma. Blood 1996; 88:92a.

138. Zuckerman T, Kundu P, Li L, Mohrbacher AF, Khan A, Levine AM, Douer D: Detecting minimal
     residual B lymphoma cells in peripheral blood progenitor cells using lymphoma-specific CDR3
     probes: Preliminary results. Blood 1996; 88:612a.

139. Chang E, Levine AM, Slovak M, Forman S, Douer D: Acute promyelocytic leukemia in Latino
     patients is associated with a high frequency of the BCR1 breakpoint site in the rearranged PML
     gene. Blood 1996; 88:665a.

140. Douer D, Mohrbacher AF, Ramezani L, Levine AM, Anderson WF: Autologous transplantation of
     retrovirally marked CD34+ enriched peripheral blood and bone marrow cells contribute to
     generation of alveolar macrophages. Blood 1996; 88:276a.

141. Tulpule A, Upadhyaya G, Espina BM, Levine AM: Infusional cyclophosphamide, mitoxantrone, and
     etoposide (CME) in AIDS-related non-Hodgkin’s lymphoma. Blood 1996; 88:503a.

142. Zuckerman T, Zuckerman E, Douer D, Fong T-L, Nathwani BN, Velankar M, Gutekunst K, Zian GD,
     Levine AM: Hepatitis C virus infection in patients with B cell non-Hodgkin’s lymphoma. Blood
     1996; 88:222a.

143. Zuckerman T, Zuckerman E, Douer D, Fong T-L, Nathwani BN, Velankar M, Gutejunst K, Zian GD,
     Levine AM: Liver function in patients with hematological malignancies and HCV infection
     undergoing chemotherapy. Blood 1996; 88:222a.

144. Levine AM, Tulpule A, Rochat J, Espina B, McPhee R, Tessman D, Von Hoff D: Short term impact
     of mitoguazone chemotherapy on HIV viral load in patients with relapsed/refractory AIDS-
     lymphoma. Blood 1996; 88:503a.

145. Levine AM, Cheung T, Huang J, Testa M for the Onc Committee, ACTG: Prospective, multicenter
     phase II trial of ABVD chemotherapy with G-CSF in HIV infected patients with Hodgkin’s Disease:
     ACTG study #149. Proc ASCO 16:56a (abstract 194), 1997.

146. Palefsky J, Minkoff H, Kalish LA, Levine AM, Sacks H, Garcia P, Young M, Melnick S, Miotti P,
     Burke R: Cervicovaginal human papillomavirus infection in HIV positive and high risk HIV negative
     women. J AIDS and Human Retrov 14:A11, (abstract S3), 1997.




                                                 54
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 81 of 145


147. Levine AM, Cheung T, Tulpule A, Huang J, Testa M: Preliminary results of AIDS Clinical Trials
     Group Study #149: Phase II trial of ABVD chemotherapy with G-CSF in HIV infected patients with
     Hodgkin’s Disease. J AIDS and Human Retro 14:A12 (abstract S7), 1997.

148. Levine AM, Preston-Martin S, Fruchter R, Silver S, Hessol N, Melnick S, Burns D, Miotti P:
     Unusual cases of breast cancer in HIV infected women: Women’s Interagency HIV study. J AIDS
     and Human Retro 14:A31 (abstract 61), 1997.

149. Straus DJ, Huang J, Testa MA, Levine AM, Kaplan LD: Prognostic factors in the treatment of HIV
     associated non-Hodgkin’s lymphoma: Analysis of ACTG 142 (low dose versus standard dose
     mBACOD plus GM-CSF). J AIDS and Human Retro 14:A38 (abstract 89), 1997.

150. Tulpule A, Espina BM, Nathwani B, Levine AM: T cell lymphomas in patients with HIV infection: A
     report of 5 cases from a single institution. J AIDS and Human Retro 14:A38 (abstract 93), 1997.

151. Tulpule A, Espina BM, Palmer M, Schiflett J, Von Hoff DD, Tessman D, Levine AM: Mitoguazone
     dihydrochloride in combination with low dose CHOP for the treatment of newly diagnosed AIDS-
     related lymphoma. J AIDS and Human Retro 14:A39, (abstract 92), 1997.

152. Levine AM, Zuckerman E, Zuckerman T, Nelson R, Govindrajan S, Valinluck B, Bernstein L: Lack
     of association between Hepatitis C infection and development of AIDS related lymphoma. Blood
     1997.

153. Tulpule A, Rarick MU, Kolitz J, Bernstein J, Harvey-Buchanan L, Espina BM, Trader G, Mukwaya
     G, Onetto N, Gill PS, Levine AM: DaunoXome in the treatment of relapsed/refractory low grade
     and intermediate grade non-Hodgkin’s lymphoma. Blood 1997.

154. Tulpule A, Espina BM, Palmer M, Schiflett J, Gill P, Levine AM: Treatment of relapsed/refractory
     AIDS-related lymphomas with high dose cytarabine/cisplatin combination regimes. Blood 1997.

155. Douer D, Cohen LJ, Periclou LA, Watkins K, Levine AM, Avramis VI: PEG L-asparaginase:
     Pharmacokinetics and clinical response in newly diagnosed adults with Acute Lymphoblastic
     Leukemia treated with multi-agent chemotherapy. Blood 1997.

156. Douer D, Cozens W, Chang E, Preston-Martin S, Levine AM: Descriptive epidemiology of acute
     promyelocytic leukemia; Report from the Cancer Registry for Los Angeles County, 1972-1995.
     Blood 1997.

157. Santabarbara P, Levine AM, Mena R, Pinter-Brown L, Smith S, William T: Compassionate
     Mitoguazone therapy for heavily pre-treated patients with non-Hodgkin’s lymphoma. Proc ASCO
     17:30a, abstract #116, 1998.

158. Mummaneni M Tulpule A, Palmer M, Schiflet J, Espina B, Levine AM: Leptomeningeal involvement
     in AIDS-lymphoma: Clinical, immunologic and pathologic features. Proc ASCO 17:41a, abstract
     #160, 1998.

159. Nelson RA, Levine AM, Bernstein L: Relationship between recreational drug use and development
     of AIDS-lymphoma. Second National AIDS Malignancy Conference, Bethesda, MD, 1998, Journal
     AIDS & Hum Retrovirol 17, A 28, abstract #69, 1998.

160. Tulpule A, Espina BM, Palmer M, Schifflett J, Harvey-Buchanan L, Levine AM: Preliminary results
     of Peg-L-asparaginase in the treatment of relapsed/refractory AIDS-related lymphomas. Second
     National AIDS Malignancy Conference, Bethesda, MD, 1998; Journal AIDS & Human Retrovirol
     17:31A, abstract #80, 1998.




                                                 55
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 82 of 145


161. Mummaneni M, Espina B, Palmer M, Mark L, Levine AM: Bone marrow involvement in AIDS-
     lymphoma: Clinical, immunologic and pathologic features. Second National AIDS Malignancy
     Conference, Bethesda, MD, 1998; Journal AIDS & Hum Retrovirol 17: A 32, abstract #85, 1998.

162. Seneviratne LS, Tulpule A, Mummaneni M, Espina BM, Wang G, Palmer M, Levine AM: Clinical,
     immunological, and pathologic correlates of bone marrow involvement in 253 patients with AIDS-
     related lymphoma. Blood 1998; 92:244a.

163. Douer D, Cohen LJ, Periclou LA, Yampolsky H, Watkins K, Levine AM: PEG-asparaginase in a
     remission induction regimen for newly diagnosed acute lymphoblastic leukemia in adults. Blood
     1998; 92:400a.

164. Messinger Y, Levine AM, Fuchs E, Goldman F, Uckun FM: GB43 (anti CD19) genistein treatment
     of therapy refractory B-lineage acute lymphoblastic leukemia. Blood 1998; 92:613a.

165. Straus D, Redden D, Hamzeh F, Scadden D, Kaplan L, Ambinder R, Levine AM, Harrington W,
     Grochow L, Flexner C, Tan B, Ratner L: Excessive toxicity is not seen with low-dose chemotherapy
     for HIV-associated non-Hodgkin’s lymphoma in combination with highly active antiretroviral therapy.
     Blood 1998; 92:624a.

166. Deyton L, Levine AM, Saag M: Weekly dosing with epoeitin alpha in HIV infected patients with
     anemia: A prospective study. Blood 1998; 92:15b.

167. Tulpule A, Espina B, Palmer M, Schifflet J, Harvey-Buchanan L, Levine AM: Preliminary results of
     Peg-L-asparaginase (oncospar) in the treatment of relapsed/refractory AIDS-related lymphoma.
     Blood 1998; 92:240b.

168. Tulpule A, Justice G, Espina BM, Harvey-Buchanan L, Barut L, Khan A, Levine AM: Pegylated
     liposomal doxorubicin is active in the treatment of relapsed/refractory lymphomas. Blood 1998;
     92:241b.

169. Tulpule A, Rarick MU, Kolitz J, Myers A, Bernstein J, Harvey-Buchanan L, Espina B, Ptaszynski M,
     Mukwaya G, Levine AM: Liposomal daunorubicin (Daunoxome) is active in the treatment of
     relapsed/refractory low grade and intermediate grade non-Hodgkin’s lymphoma. Blood 1998;
     92:241b.

170. Greenblatt R, Lyles R, Levine AM, Burns D, Telzak E, Cohen M, Minkoff H, Young M: Effect of
     prior nucleoside therapy on HIV RNA and CD4 cell response to HAART: The Women’s Interagency
     HIV Study. Retroviral meetings, Chicago, 2/99.

171. Justman J, Danoff A, Benning L, Robison L, Weber K, Minkoff H, Levine AM, Young M, Greenblatt
     R, Anastos K: Association of diabetes and pretease inhibitor use in the Women’s Interagency HIV
     study. Retroviral meetings, Chicago, IL, 2/99.

172. Seneviratne LC, Espina BM, Tulpule A, Dharmapala D, Sanchez M, Gill PS, Levine AM: Evolving
     characteristics of AIDS-related lymphoma over time: A single institution study of 369 patients. J
     AIDS 21:A34 (Abstract 98), 1999.

173. Ratner L, Redden D, Hamzeh F, Levine AM, Harrington W, Scadden D, Kaplan L, Ambinder R,
     Grochow L, Flexner C, Tan B, Straus D: Chemotherapy for HIV associated non-Hodgkin’s
     lymphoma in combination with highly active antiretroviral therapy (HAART) is not associated with
     excessive toxicity. J AIDS 21:A32 (Abstract 92), 1999.

174. Tulpule A, Sherrod A, Sanchez M, Espina BM, Dharmapala D, Seneviratne LC, Levine AM: Multi-
     drug resistance (MDR-1) in newly diagnosed AIDS-lymphoma. J AIDS 21:A32 (Abstract 90), 1999.



                                                 56
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 83 of 145


175. Tulpule A, Espina BM, Palmer M, Sanchez MN, Seneviratne LC, Levine AM: Peg-L-asparaginase
     has activity in relapsed/refractory AIDS related lymphoma. J AIDS 21:A38 (Abstract 116), 1999.

176. Bernstein ZP, Gould MA, Van Hoff N, Levine AM, Aparano J: Continuous infusion gallium nitrate in
     refractory AIDS associated lymphoma. J AIDS 21:A40 (abstract 123), 1999.

177. Tulpule A, Espina BM, Palmer M, Harvey-Buchanan L, Levine AM: Peg-L-Asparaginase
     (Oncospar) in the treatment of relapsed/refractory AIDS-related lymphomas. Proc ASCO 18:39a
     (Abstract #146), 1999.

178. Tulpule A, Dezube DJ, Doweiko J, Espina BM, Proper J, Cabriales SL, Levine AM: Liposomal
     daunorubicin (DaunoXome) in relapsed/refractory AIDS-related non-Hodgkin’s lymphoma: A phase
     II trial. Blood 94:526a, 1999.

179. Messinger Y, Chen C-L, O’Neill K, Myers DE, Goldman F, Hurvitz C, Casper JT, Levine AM,
     Uckun FM: Treatment of therapy refractory B lineage acute lymphoblastic leukemia with an
     apoptosis inducing CD-19 directed tyrosine kinase inhibitor. Blood 94:295a, 1999.

180. Douer D, Ramezani L, Levine AM: Modulation of chemotherapy effects on FAX and BCL2
     expression and apoptosis in acute myeloblastic leukemia cells by ALL-trans retinoic acid. Blood
     94:191B, 1999.

181. Nelson RA, Levine AM, Bernstein L: Reproductive factors and risk of intermediate or high grade
     non-Hodgkin’s lymphoma in women. Blood 94:511a, 1999.

182. Levine AM, Berhane K, Masri-Lavine L, Sanchez MN, Greenblatt RM, Anastos K, Young M,
     Augenbraun M, Cohen M, Gange S, Burns D: Prevalence of, and risk factors for anemia among a
     large cohort of HIV infected women: Women’s Interagency HIV Study (WIHS). Blood 94:432a,
     1999.

183. Krishnan AY, Molina A, Zaia J, Nademanee A, Sniecinski I, Li S, Levine AM, Brent J, Woo D,
     Forman SJ: HIV infection does not preclude autologous stem cell transplantation (ASCT) for
     lymphoma. Blood 94:397a, 1999.

184. Levine AM, Saag M, and the Community HIV Anemia Management Protocol Group, USA:
     Hematologic response to epoetin alfa in anemic HIV-positive patients: Once-weekly (QW) dosing
     similar to three-times weekly (TIW) dosing. Blood 94:16B, 1999.

185. Levine AM, Deyton L, Saag M, and the Community HIV Anemia Management Protocol Sites
     (CHAMPS). Abst #31 Conf on Retroviruses and Opportunistic Infections, San Francisco, CA,
     3/2000.

186. Zaia J, Krishnan A, Rossi JKJ, Molina A, Castanotto D, Li S, Yam P, Bauer G, Selander D, Dsik S,
     Rossi JM, Li H, Banh V, Tseng S, Sauter V, Parker D, Jolly I, Snieckinski I, Levine AM, Kohn D,
     Forman SJ: Treatment of AIDS lymphoma with high dose chemotherapy and genetically modified
     stem cells: A model for evaluation of gene therapy. 4th International Conference on AIDS
     Malignancy, NCI, May, 2000, Bethesda, MD. JCO, 2000.

187. Krishnan A, Molina A, Zaia J, Nademanee A, Levine AM, Sniecinski I, Li S, Brent J, Woo D, Kogut
     N, Forman SJ: Mobilization of peripheral blood progenitor cells and engraftment following high dose
     chemotherapy for AIDS lymphoma. 4th International Conference on AIDS Malignancy, NCI, May
     2000, Bethesda, MD, JCO, 2000.




                                                 57
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 84 of 145


188. Berhane K, Sanchez L, Masri-Lavine L, Pearce L, Cohen M, Young M, Greenblatt R, Anastos K,
     Augenbraun M, Gange S, Burns D, Levine AM: Relationship between highly active anti-retroviral
     therapy (HAART) and anemia in a large cohort of HIV infected women (Women’s Interagency HIV
     Study: WIHS). Proc ASCO, 2000.

189. Tulpule A, Dharmapala D, Sherrod A, Espina BM, Yuzon R, Levine AM: Multi-drug resistance
     (MDR-1) in HIV seropositive patients with Hodgkin’s Disease. 4th International Conference on AIDS
     Malignancy, NCI, Bethesda, MD, May, 2000. JAIDS, 2000.

190. Levine AM, Espina BM, Yuzon R, Sanchez L, Dharmapala D, Gill PS, Tulpule A: Treatment of
     relapsed/refractory AIDS-related lymphomas with high dose cytarabine (Ara-C)/Cisplatin
     combination regimens. 4th International Conf on AIDS Malignancies, NCI, Bethesda, MD, May,
     2000. JAIDS, 2000.

191. Tulpule A, Dezube B, Yuzon R, Doweiko J, Espina BM, Proper J, Cabriales S, Sanchez MN,
     Levine AM: Liposomal daunorubicin (Daunoxome) in relapsed/refractory AIDS-related non-
     Hodgkin’s lymphomas (AIDS-NHL). 4th International Conf on AIDS Malignancies, NCI, Bethesda,
     MD, May, 2000. JAIDS, 2000.

192. Tulpule A, Dharmapala D, Sherrod A, Espina B, Yuzon R, Levine AM: Multi-drug resistance
     (MDR-1) in HIV seropositive patients with Hodgkin’s disease. 4th International Conf on AIDS
     Malignancies, NCI, Bethesda, MD, May, 2000. JAIDS, 2000.

193. Levine AM, Berhane K, Masri-Lavine L, Sanchez ML, Young M, Augenbraun M, Cohen M, Anastos
     K, Newman M, Gange SJ, Watts H: Relationship between highly active anti-retroviral therapy
     (HAART) anemia and survival in a large cohort of HIV infected women (Women’s Interagency HIV
     Study). 13th World AIDS Conference, Durban, SA, July, 2000.

194. Kovacs A, Chan LS, Anastos K, Bremer J, Meyer B, Burns D, Cohen M, Hessol N, Minkoff H, Miotti
     P, Rother C, Weiser B, Young M, Levine AM: Change in HIV-1 RNA over time and disease
     outcome in HIV 1 infected women. 13th World AIDS Conference, Durban, SA, July 2000.

195. Mulligan RA, Pogoda M, Preston-Martin S, Silver S, Anastos K, Hessol N, Cohen M, Watts H,
     Levine AM: Effect of aging on HIV progression and mortality among HIV infected women enrolled
     in the Women’s Interagency HIV Study. 13th World AIDS Conference, Durban, SA, July 2000.

196. Tulpule A, Dezube B, Doweiko J, Espina B, Proper J, Cabriales S, Levine AM: A phase II trial of
     liposomal daunorubicin in relapsed and refractory AIDS related lymphomas. 13th World AIDS
     Conference, Durban, SA July 2000.

197. Levine AM, Tulpule A, Dharmapala D, Sherrod A, Espina BM, Sanchez MN, Gill PS: Multidrug
     resistance (MDR-1) expression in patients with AIDS related lymphomas. 13th World AIDS
     Conference, Durban, SA, July 2000.

198. Tulpule A, Africano M, Yuzon R, Sanchez MN, Cabriales S, Espina BM, Welles L, Levine AM:
     Liposomal doxorubicin (TLC-D99) in combination with cyclophosphamide, vincristein, and
     prednisone in the treatment of AIDS related lymphomas. 13th World AIDS Conference, Durban,
     SA, July 2000.

199. Levine AM, Tulpule A, Espina BM, Buchanan LH, Africano M, Boswell W, Welles L: Liposomal
     doxorubicin (TLC D-99) cyclophosphamide, oncovin and prednisone (COP) in the treatment of
     aggressive non-Hodgkin’s lymphomas. Blood 96: 137a, 2000 (abstract 587).

200. Tulpule A, Cabriales S, Dharmapala D, Vergara S, Espina BM, Seneviratne LC, Levine AM, Gill
     PS: Low dose weekly docetaxel (taxotere) in the treatment of advanced AIDS related Kaposi’s
     sarcoma. Blood 96: 37b, 2000 (abstract 3823).


                                                 58
         Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 85 of 145


201. Tulpule A, Dezube BJ, Doweiko JP, Espina BM, Proper JA, Africano M, Dharmapala D,
     Seneviratne LC, Levine AM: Liposomal duanorubicin (duanoxome) 9s active in relapsed/refractory
     AIDS related non-Hodgkin’s lymphomas. Blood 96: 37b, 2000 (abstract 3822).

202. Rajan SK, Espina BM, Levine AM: Telomerase expression in hepatitis C virus and human
     immunodeficiency virus related B cell non-Hodgkin’s lymphoma and benign B cell proliferation
     states associated with HIV or HCV. Blood 96: 336a, 2000 (abstract 1453).

203. Viera APZ, Kasahara N, Cardoso A, Pullarkat V, Levine AM, Stripecke R: Third generation
     lentiviral vectors to boost an immune response against acute myeloid leukemia. Blood 96; 385b,
     2000 (abstract 5423).

204. Levine AM, Espina BM, Tulpule A, Mocharnuk RS, Bi J, Chen J, Nathwani B: Characteristics of T
     cell versus B cell lymphoma among HIV infected patients. Proc ASCO 20:294a, 2001 (abstract
     1173).

205. Rajan SK, Espina BM, Levine AM: Telomerase expression correlates with grade and clinical
     outcome in patients with non-Hodgkin’s lymphoma. Proc ASCO 20:433a, 2001 (abstract 1730).

206. Tulpule A, Espina BM, Bi J, Dharmapala D, Levine AM, Gill PS: Low dose cocotaxel given weekly
     in patients with advanced AIDS related Kaposi’s sarcoma. Proc ASCO 20:294b, 2001 (abstract
     2927).

207. Levine AM, Sadeghi S, Espina BM, Tulpule A, Mocharnuk R, Chen J, Nathwani B: Characteristics
     of low grade non-Hodgkin’s lymphoma in patients with infection by Human Immunodeficiency Virus,
     type 1. Fifth International AIDS Malignancy Conference, Bethesda, MD April 23-25, 2001 (abstract
     61).

208. Nador R, Espina BM, Tulpule A, Bi J, Chen J, Nathwani B, Levine AM: Gastric involvement in
     AIDS related non-Hodgkin’s lymphomas. Fifth International AIDS Malignancy Conference,
     Bethesda, MD, April 23-25, 2001 (abstract 63).

209. Tulpule A, Levine AM, Espina BM, Africano M, Mocharnuk R, Boswell W, Nathwani B, Welles L:
     Liposomal doxorubicin (TLC-99) in combination with cyclophosphamide, oncovin and prednisone in
     the treatment of AIDS related non-Hodgkin’s lymphoma. Fifth International AIDS Malignancy
     Conference, Bethesda, MD, April 23-25, 2001 (abstract 69).

210. Saag MS, Levine AM, Leitz GJ, Bowers PJ, for the CHAMPS Study Group: Once-weekly Epoetin
     Alfa increases hemoglobin and improves quality of life in anemic HIV+ patients. 39th Meeting of
     IDSA, October 27, 2001, San Francisco, CA (abstract #708).

211. Ngo M, Espina BS, Mocharnuk RS, Tulpule A, Levine AM: Leptomeningeal (CSF) involvement in
     AIDS-related lymphoma. Blood 98:128a, 2001 (abstract #540).

212. Tulpule A, Espina BM, Berman N, Buchanan LH, Boswell WD, Welles L, Levine AM: Liposomal
     doxorubicin (TLC-D99) in combination with cyclophosphamide (C), Vincristine (V), and Prednisone
     (P) is active in newly diagnosed aggressive non-Hodgkin’s lymphoma (NHL). Blood 98:346a, 2001
     (abstract 1461).

213. Levine AM, Berhane K, Masri-Lavine L, Young M, Cohen M, Anastos K, Newman M, Augenbraun
     M, Gange S, Watts H: Impact of anemia on the survival of HIV infected women. Blood 98:501a,
     2001 (abstract 2091).




                                                59
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 86 of 145


214. Giles F, Faderl S, Thomas DA, Cortes J, Jeha SS, Garcia-Manero G, Levine AM, Estey EH, Beran
     M, O’Brien S, Koller C, Andreeff M, Kantarjian H: TroxatylTM plus topotecan, Ara-C, or Idarubicin in
     patients with refractory acute myeloid leukemia (AML), myelodysplastic syndrome (MDS), or
     blastic-phase chronic myeloid leukemia (CML-BP): A randomized phase I/II study. Blood 98:594a,
     2001 (abstract #2490).

215. Wilson S, Hurst D, Yuen A, Gluck L, Dayton M, Gockerman JP, Levine AM, Navis D, Zhou L,
     DiFrarncesco A, Milan S, Wolin M: IL-2 mediated NK cell expansion correlates with clinical
     response to Rituximab: Results of two phase I trials of the combination of IL-2 and Rituximab.
     Blood 98:594a, 2001 (abstract #2525).

216. Douer D, Mohrbacher A, Watkins K, Rutledge P, Onetto N, Levine AM: Treatment of newly
     diagnosed acute myelogenous leukemia adults younger than age 56 with liposomal daunorubicin
     (Daunoxome) and Ara-C. Blood 98:211b, 2001 (abstract 4558).

217. Levine AM, Tulpule A, Espina BM, Berman NE, Buchanan LH, Boswell WD, Welles L: A phase I/II
     trial of liposomal doxorubicin (TLC D-99, Myocet) with cyclophosphamide, vincristine and
     prednisone in newly diagnosed aggressive non-Hodgkin's lymphoma. Proc ASCO 2002; 21: 284a
     (Abstract # 1133).

218. Tulpule A, Espina BM, Dharmapala D, Boswell WD, Welles L, Levine AM: Treatment of newly
     diagnosed AIDS-related lymphomas with liposomal doxorubicin (TLD-D99, Myocet) combined with
     cyclophosphamide, vicristine and prednoside: Results of a phase I/II trial. Proc ASCO 2002; 21:
     284a (Abstract # 1135).

219. Levine AM, Ervin C, Gange SJ, Anastos K, Young M, Cohen M, Newman M, Augenbraun M, Watts
     H: Prevalence and correlates of neutropenia among a large cohort of HIV infected women and HIV
     negative women at risk: WIHS. 14th International AIDS Conference, Barcelona, July 7-12, 2002.
     Abstract # MoPeC3354.

220. Levine AM, Tulpule A, Espina BM, Mocharnuk RS, Dharmapala D, Boswell WD, Welles L:
     Liposomal doxorubicin (TLCX D-99, Myocet) in combination with cyclophosphamide, vincristine,
     and prednisone is an active regimen for HIV associated lymphoma. 14th International AIDS
     Conference, Barcelona, July 7-12, 2002. Abstract # WePpB2091.

221. Anastos K, Barron Y, Young M, Minkoff H, Coihen M, Greenblatt R, Levine AM, Gange SJ: CD4
     cell count and HIV RNA as time varying predictors of AIDS morbidity and death after HAART
     initiation. 14th International AIDS Conference, Barcelona, July 7-12, 2002. Abstract # ThPeB7398.

222. Hessol N, Preston-Martin S, Seaberg EC, Massad S, Melnick S, Sacks HB, Silver S, Abulafia O,
     Levine AM: Increased incidence of cancer among participants in the Women's Interagency HIV
     Study. 14th International AIDS Conference, Barcelona, July 7-12, 2002. Abstract # ThPeC7482.

223. Golda N, Seneviratne L, Espina BM, Tulpule A, Mocharnuk RS, Levine AM: AIDS related non-
     Hodgkin's lymphoma in females. Clinical, immunologic and pathologic characteristics. Blood 2002:
     100: 469a (abstract # 1818).

224. Mocharnuk RS, O'Connell C, Espina BM, Seneviratne L, Tulpule A, Levine AM: Characteristics of
     rectal involvement in patients with AIDS related non-Hodgkin's lymphoma: results of a single
     institution study of 381 cases. Blood 2002: 100; 469a (abstract # 1819).

225. Lieberman RD, Tulpule A, Espina BM, Seneviratne L, Levine AM: Virologic response to HAART in
     AIDS related lymphoma patients undergoing front-line chemotherapy. Blood 100; 469a (Abstract #
     1820).




                                                  60
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 87 of 145


226. Levine AM, Espina BM, Mohrbacher A, Buchanan LH, Berman N, Mark L, Khan AU, Tulpule A,
     Douer D: Fludarabine, mitoxantrone and tiruxan: An effective regimen for the treatment of mantle
     cell lymphoma. Blood 2002; 100: 361a (Abstract # 1399).

227. Levine AM, Quinn DI, Gorospe G, Mohrbacher A, Weber J, Iqbal S, Tulpule A: Phase I trial of
     vascular endothelial growth factor-antisense (VEGF-AS, Veglin) in relapsed and refractory
     malignancies. Blood 2003; 102:123a (Abstract #418).

228. Levine AM, Fayad L, Tulpule A, Modiano M, Espina BM, Camboni G, Cabanillas F: Results of a
     phase I/II trial with BBR-2778 (Pixantrone), Methylprednisolone, Cisplatin, and Cytosine
     Arabinoside (BSHAP) in Relapsed/Refractory Aggressive Non-Hodgkin’s lymphoma (NHL). Blood
     2003; 102:640a (Abstract #2364).

229. Tulpule A, Khan AU, Mohrbacher A, Weitz I, Espina BM, Boswell WD, Nathwani BN, Levine AM:
     Preliminary results of a phase II trial of pegylated liposomal Doxorubicin (Doxil), Rituxan,
     Cyclophosphamide, Vincristine, and Prednisone (DR-COP) in aggressive B-cell non-Hodgkin’s
     lymphoma. Blood 2003; 102:286b (Abstract #4868).

230. Khalsa A; Karim R; Mack W; Minkoff H; Cohen M; Young M; Anastos K; Greenblatt R; Gange S;
     Levine, AM: Hypertension in HIV infected women related to HAART: Women’s Interagency HIV
     Study (WIHS). 11th Conference on Retroviruses and Opportunistic Infections, 2003.

231. Levine AM; Quinn DI; Gorospe G; Lenz HJ; Tulpule A: Phase I trial of anti-sense oligonucleotide
     vascular endothelial growth factor (VEGF-AS, Veglin) in patients with relapsed and refractory
     malignancies. Proc ASCO 2004; 23:197 (abstract 3008).

232. Mohrbacher A; Khan AU; Tulpule A; Espina BM; Berman N; Mark L; Douer D; Feinstein DI; Levine
     AM: Results of a pilot trial of fludarabine, mitoxantrone and rituximab in mantle cell lymphoma.
     Proc ASCO 2004: 23: 604 (abstract 6697).

233. Camboni G; Fayad L ;Tulpule A; Modiano M; Espina BM; Cabanillas F; Levine AM: A phase I/II
     trial of BBR-2778 (pixantrone), methylprednisolone, cisplatin, and cytosine arabinoside (BSHAP) in
     relapsed/refractory aggressive non-Hodgkin’s lymphoma. PROC ASCO 2004; 23: 578 (abstract
     6590).

234. Tulpule A; Khan AU; Mohrbacher AF; Espina BM; Buchanan L; Berman N; Gorospe G; Boswell
     WD; Nathwani BN; Levine AM: A phase I/II trial of pegylated liposomal doxorubicin, rituximab,
     cyclophosphamide, vincristine, and prednisone (DR-COP) in aggressive B cell non-Hodgkin’s
     lymphoma. Proc ASCO 2004; 23: 602 (abstract 6688).

235. Lim ST, Karim R, Nathwani BN, Tulpule A, Espina B, Levine AM: AIDS Related Small Non-
     Cleaved (Burkitt or Atypical Burkitt) Lymphoma Versus Diffuse Large Cell Lymphoma in the Pre-
     and Post-HAART Eras: Significant Differences in Survival. Blood 2004; 104; 179a, # 601.

236. Tulpule A; Dharmapala D; Burian P; Espina BM; Jayne G; George S; Levine AM: Treatment of
     anemia with Aranesp (darbepoetin-alfa) given once every two weeks in HIV seropositive patients.
     Blood 2004: 104: 849a, #3108.

237. Levine AM, Vigen C; Gravink J; Liebman HA: Development of prothrombotic repertoire with
     progressive HIV disease: Data from the Women's Interagency HIV Study. Blood 2004: 104: 301a,
     # 1057.

238. Douer D; Watkins K; Louie R; Weitz I; Mohrbacher A; Levine AM: Treatment of acute
     myelogenous leukemia (non-APL) with intravenous trisenox (arsenic trioxide) and ascorbic acid:
     Preliminary results. Blood 2004: 104; 502a, #1815.



                                                 61
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 88 of 145


239. Pearce CL; Mack WJ; Levine AM; Gravink J; Cohen MH; Machtinger EL; Anastos K; Silverberg
     MJ; Young MA; Minkoff H; Watts DH: Thrombocytopenia is a strong predictor of all cause and
     AIDS specific mortality in women with HIV: the Women's Interagency HIV Study. Blood 2004: 104:
     569a, #2068.

240. Levine AM, Leitz GJ: Efficacy of epoetin alfa, 40,000 U subcutaneously every two weeks to
     maintain hemoglobin levels in anemic HIV infected patients. Proc Infectious Disease Society of
     America, 2004; # 923. Boston, MA, October 1, 2004.

241. Lim ST, Karim R, Nathwani BN, Tulpule A, Levine AM. Prognostic Factors in HIV-related Diffuse
     Large Cell Lymphoma (HIV-DLCL) in the Pre and Post-HAART (HT) Era. Proc Am Soc Clin Oncol
     2005. # 6523a.

242. Mohrbacher A, Levine AM: Reversal of advanced renal dysfunction on bortezomib treatment in
     multiple myeloma patients. Proc ASCO 2005: 23; 612s (Abstract 6714).

243. Tulpule A, Duran CA, Smith DL, Berman NE, Buchanan L, Gorospe G, Boswell W, Nathwani B,
     Levine AM: A phase II trial of pegylated liposomal doxorubicin, rituximab, cyclophosphamide,
     vincristine, and prednisone (DR-COP) in aggressive B cell non-Hodgkin’s lymphoma. Proc ASCO
     2005: 23; 593s (Abstract 6634).

244. Levine AM; Tulpule A; Smith L; Espina BM; Mohrbacher AF; Feinstein DI: Results of a pilot trial of
     fludarabine, mitoxantrone, and rituxan in mantle cell lymphoma. Blood 2005; 106; 278a [abstract #
     945]

245. Levine AM; Schwartzberg L; Smith S; Beli R; Knight R; Carlson D; Hippensteel R; Kahl B: A
     phase 2 study of the thrombospondin-mimetic peptide ABT-510 in patients with refractory
     lymphoma. Blood 2005; 106: 430a [abstract # 1493]

246. Tulpule A; Levine AM; Berman NE; Smith L; Auerbach A; Douer D: Phase I study of noscapine for
     patients with non-Hodgkin’s lymphoma or chronic lymphocytic leukemia refractory to
     chemotherapy. Blood 2005; 106: 933a [abstract # 3341].

247. Douer D; Watkins K; Louie R; Weitz I; Mohrbacher AM; Mark L; Levine AM: Treatment of non-APL
     acute myelogenous leukemia with intravenous arsenic trioxide plus ascorbic acid. Blood 2005;
     106: 230b [abstract # 4603].

248. Gu H, Berman N, Tulpule A, Duran C, Groshen SG, Buchanan L, Boswell W, Nathwani B, Levine
     AM: Phase II trial of pegylated liposomal doxorubicin (PLD), rituxan, cyclophosphamide, vincristine
     and prednisone in aggressive B cell non-Hodgkin’s lymphoma. Proc ASCO 2008: 26: 469s.
     Abstract # 8563.

249. Levine AM, Lee J, Kaplan L, Liebe LF, Sparano JA: Efficacy and toxicity of concurrent rituximab
     plus infusional EPOCH in HIV associated lymphoma: AIDS Malignancy Consortium Trial 034.
     Proc ASCO 2008; 26: 460s. Abstract # 8527.


MISCELLANEOUS

1.   Levine, A.: Understanding Your Illness: Acute Granulocytic Leukemia. A slide-tape presentation
     for patient education. Completed: March, 1978.

2.   Levine, A.: Understanding Your Illness: Lymphoma (I):     A slide-tape presentation for patient
     education. Completed: June, 1982.




                                                 62
         Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 89 of 145


3.   Levine, A.: Understanding Your Illness: Lymphoma (II):    A slide-tape presentation for patient
     education. Completed: June, 1982.

4.   Levine, A.: Understanding Your Illness: Chronic Leukemia: A slide-tape presentation for patient
     education. Completed: June, 1982.

5.   Levine, A.: Understanding Your Illness: Multiple Myeloma:    A slide-tape presentation for patient
     education. Completed: June, 1982.

6.   Levine, A.: Understanding Your Illness: Hodgkin's Disease: A slide-tape presentation for patient
     education. Completed: June, 1982.

7.   Levine, A.: Understanding Your Illness: Acute Leukemia:     A slide-tape presentation for patient
     education. Completed: June, 1982.

8.   Levine AM and Whoopi Goldberg: AIDS: Everything you should know (2nd edition). A.I.M.S. Video,
     1995.




                                                63
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 90 of 145


FORMAL PRESENTATIONS

A.   INTERNATIONAL PRESENTATIONS:

     1.     Second International Symposium on Lymphoma “Clinical Aspects of T-Cell Lymphomas".
            Athens, Greece, 4/81.

     2.     Second International Symposium on Lymphoma “Clinical Aspects of Immunoblastic
            Proliferation". Athens, Greece, 4/81.

     3.     Invited Speaker: The Second Seminar on Difference in Lymphocytic Disease in the U.S.
            and Japan: "T-Cell Immunoblastic Sarcoma". Under the U.S.-Japan Cooperative Cancer
            Research Program, sponsored by the Japan Society for promotion of Sciences (JSPS) and
            National Cancer Institute, USA.
            Seattle, Washington, D.C., 9/82.

     4.     Invited as Visiting Professor, University of Toronto Medical School
            --Royal Society of Medicine: "Update on Non-Hodgkin's Lymphomas"
            --University of Toronto: "Hodgkin's Disease", 3/83.

     5.     Invited Speaker: International Symposium on Medical Virology: "Malignant lymphoma in
            homosexual men: Virologic, immunologic, and clinical aspects in 28 patients".
            Anaheim, California, November 8, 1984.

     6.     Invited Speaker: International Symposium on Lymphoproliferative Disease: Pathogenesis,
            Diagnosis, Therapy.
            Human T-lymphoproliferative Disorders in Homosexual Men.
            Los Angeles, California. November 16-17, 1984.

     7.     Wightman Visiting Professor, Toronto General Hospital: T-cell lymphomas. March 8, 1985.

     8.     Invited speaker. Society of Hematopathology, International Association of Pathology,
            March 10, 1985, Toronto, Canada. Lymphoproliferative disorders in AIDS.

     9.     Invited speaker. American Association for the Advancement of Science. “AIDS”. May 29,
            1985. Los Angeles, California.

     10.    Invited speaker. International Symposium on AIDS. "Lymphoproliferative Disorders in
            Patients at Risk for AIDS. January 22-24, 1986, Nagasaki, Japan. Sponsored by Ministry of
            Education, Science and Culture, Government of Japan.

     11.    Invited Keynote Speaker. Canadian National Cancer Society. "Human aspects of care to
            the cancer patient" Toronto, Canada. May, 1987.

     12.    Invited Speaker: HIV-related lymphoma. IVth International Conference on AIDS, June 15,
            1988. Stockholm, Sweden.

     13.    Invited Speaker: Salk-HIV immunogen:     Preliminary Results. Pasteur Institute, Paris.
            November 4, 1988.

     14.    Vth International Conference on AIDS. Montreal, Canada: Therapeutic approach to
            management of neoplastic disease in AIDS. June 4, 1989.

     15.    Vth International Conference on AIDS, Montreal Canada: Immunization with inactivated,
            envelope-depleted HIV immunogen in HIV infection men with ARC: Preliminary report of
            exploratory studies in progress. June 8, 1989.


                                                64
  Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 91 of 145


16.   VI International Conference on AIDS; San Francisco, Calif, USA. Active specific
      immunization in HIV seropositives. Invited speaker. 6/22/90.

17.   International Workshop: On Cancer in developing countries. Invited speaker. National
      Cancer Institute. Bethesda, MD, 9/6/90.

18.   International Conference on Lymphoma: Invited Keynote Speaker, National Cancer
      Institute, Mexico: AIDS related Lymphoma. 2/13-14/92.

19.   International Lymphoma Conference, Lugano, Switzerland, "Lymphomas in States of
      Immunocompromise". Keynote address, June 10, 1993.

20.   IX International AIDS Conference, Berlin, Germany. "Salk HIV Immunogen". June 9, 1994.

21.   Carmelita Lawlor Endowed Lectureship. University of Toronto Faculty of Medicine,
      Toronto, Canada. April 21, 1994.

22.   British Society of Haematology. Keynote address. "Lymphomas in the Setting of
      Immunocompromise". Harrogate, UK, April 28, 1994.

23.   National Conference on HIV/AIDS. Buenos Aires Argentina. Plenary address: "AIDS
      Related Cancers". September 26, 1994.

24.   Invited lecture: HIV Disease in Women. Osaka General Hospital, Osaka, Japan,
      November 7, 1994.

25.   National Conference on HIV/AIDS. Sao Paolo, Brazil. "HIV in Women". June 7, 1995.

26.   Keynote Address: Pan Pacific Conference on Lymphoma. Maui, Hawaii. "AIDS related
      Malignancies". July 26, 1995.

27.   White House Conference on HIV and AIDS. Chair, Research Issues. Moderated by
      President Clinton, White House, Washington, D.C. December 6, 1995.

28.   Meet the Expert: AIDS-related malignancies. XI International Conference on AIDS.
      Vancouver, Canada, July 8, 1996.

29.   Keynote Address: AIDS-related lymphoma. International Society of Hematology.
      Singapore, August 26, 1996.

30.   Keynote Address: Update: HIV disease: Venezuelan Society of Hematology, Caracas,
      Venezuela, October 5, 1997.

31.   Keynote Address: Update: AIDS-related malignancies. Venezuelan Society of Hematology,
      Caracas, Venezuela, October 6, 1997.

32.   Current status of HIV infection in India and USA. Presentation to Minister of Health, New
      Delhi, India, October 13, 1997.

33.   AIDS-related lymphoma: Future classification systems. World Health Organization meeting
      on lymphomas in immunodeficiency diseases. Airlie Conference Center, Virginia,
      November 4, 1997.

34.   Keynote Address: AIDS-related cancers. 14th Pacific Asian Cancer Congress, Hong Kong,
      China, November 17, 1997.



                                          65
  Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 92 of 145


35.   Malignant complications in HIV infected women. Invited lecture. XII World Conference on
      AIDS, Geneva, Switzerland, 7/98.

36.   AIDS-related malignancies. University of Geneva, Switzerland, 7/98.

37.   Presentation on AIDS prevention efforts to: President, Russian Academy of Sciences; Vice
      Minister of Health, Russia; Minister of Health, Moscow, President of Moscow Duma:
      Moscow, Russia, 7/98.

38.   Multiple presentations in Beijing, China concerning HIV/AIDS prevention issues: provided to
      Peking Union Medical College; Chinese Academy of Preventive Medicine; Beijing Hospital
      of Infectious Diseases, 8/98.

39.   Multiple presentations in Beijing, China to Chinese Academy of Preventive Medicine, 11/98.

40.   Update: HIV disease. Hope International. Hong Kong, China, 11/13/98.

41.   Update: Hodgkin’s Disease. SOAD Foundation, Porto Allegra, Brazil, March 27, 1999.

42.   AIDS related malignancies. SOAD Foundation, Porto Allegra, Brazil, March 28, 1999.

43.   Therapy of lymphoma. International Lymphoma Conference, Lugano, Switzerland. June 1,
      1999.

44.   AIDS related malignancies. Puerto Rican Society of Hematology, San Juan, Puerto Rico.
      September 4, 1999.

45.   HIV/AIDS: Update 1999. Chinese Academy of Preventive Medicine, Beijing, China.
      October 12, 1999.

46.   Presentation on HIV/AIDS in Los Angeles, to Counsel, Mexico. Los Angeles, CA. January
      28, 2000.

47.   Transmission and prevention of HIV infection. Huhhot, China. Sponsored by Chinese
      National Academy of Preventive Medicine. August 31, 2000.

48.   HIV disease in women. Sponsored by Chinese National Academy of Prevention Medicine,
      Huhhot, China. August 31, 2000.

49.   AIDS related malignancies. Sponsored by Chinese National Academy of Preventive
      Medicine, Huhhot, China. September 1, 2000.

50.   COPE chemotherapy in newly diagnosed patients with aggressive non-Hodgkin’s
      lymphoma. European Society of Clinical Oncology, Hamburg, Germany. October 16,
      2000.

51.   Advances in cancer therapy: Will any of these advances be applicable to the “Third World”?
      Phnom Penh, Cambodia. February 6, 2001.

52.   Update in HIV/AIDS. Phnom Penh, Cambodia. February 7, 2001.

53.   AIDS-related lymphoma. Invited Keynote speaker. International Conference on
      Lymphoma, Lugano, Switzerland, June 13, 2002.




                                          66
  Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 93 of 145


54.   Liposomal doxorubicin (TLC D-99; Myocet) in combination with cyclophosphamide,
      vincristine and prednisone in patients with AIDS related lymphoma. 14th International AIDS
      Conference, July 10, 2002, Barcelona, Spain.

55.   American Medical Association Press Conference, Invited by the AMA, 14th International
      AIDS Conference, July 7, 2002, Barcelona, Spain.

56.   Anemia in HIV infected women. Invited speaker. 14th International AIDS Conference, July
      9, 2002, Barcelona, Spain.

57.   Infectious and neoplastic complications of HIV infection. Centers for Disease Control,
      Chengdu, China, September 4, 2002.

58.   Visiting Professor, Ministry of Health, Singapore: September 23-October 4, 2002.

59.   AIDS related lymphoma: Cancer Center of Singapore. September 23, 2002.

60.   HIV/AIDS: Update 2002: Hospital of Infectious Diseases, Singapore, September 24, 2002.

61.   AIDS related Malignancies: Government Hospital, Singapore, September 25, 2002.

62.   Hematologic complications of HIV disease. Cancer Center of Singapore, September 26,
      2002.

63.   Hodgkin's Disease, Update 2002: Cancer Center of Singapore, September 27, 2002.

64.   Update: Aggressive lymphoma, Singapore Medical Center, Singapore, September 30,
      2002.

65.   Update: Indolent lymphomas, Cancer Center of Singapore, Singapore, October 1, 2002.

66.   Anemia associated with Cancer and HIV. Shangri-La Hotel, Singapore, October 1, 2002.

67.   HIV disease in women. Singapore Medical Center, Singapore, October 2, 2002.

68.   AIDS related lymphoma: Pathogenesis and therapy. Oncology Colloquium, Society of
      Medical Oncology. Las Brisas Ixtapa Hotel, Playa Vista Hermosa, Mexico. 8/29/03.

69.   HIV, per se, is not a risk factor for lung cancer in women: Data from the Women’s
      Interagency HIV study. Oral presentation at the IXth International Conference on AIDS
      malignancies and opportunistic illnesses (ICAMOI). Sponsored by NIH/NCI. Bethesda,
      Maryland. September 26, 2005.

70.   Round table discussion on Current Controversies in AIDS related lymphoma. Invited State-
      of-the-Art Symposium, sponsored by NIH/NCI. IXth International Conference on AIDS
      malignancies and opportunistic illnesses (ICAMOI). Bethesda, Maryland, September 27,
      2005.

71.   AIDS-related lymphoma: Asian Summit in Oncology, Singapore, April 2, 2009.

72.   Update in hematologic malignancy: Asian Summit in Oncology, Singapore, April 3, 2009.

73.   Translational research: Mazumder-Shaw Cancer Center, Bangalore, India, June 4, 2009.

74.   Hematologic malignancies caused by infectious organisms. XXXIV World Congress.
      International Society of Hematology. Cancun, Mexico. April 25-28, 2012.


                                          67
          Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 94 of 145


B.   NATIONAL PRESENTATIONS (note: documented through 12/95; 1997 to present)

     1.     American Society of Hematology
            “Immunoblastic Sarcoma: A Clinical Description”
            San Diego, California: 12/77.

     2.     American Federation of Clinical Research
            Co-Chairman, Session on Hematologic Malignancies.
            Carmel, California: 4/79.

     3.     Response to Pneumcoccal Vaccine in Patients with Hodgkin’s Disease, Lymphoma and
            Myeloma, American Society of Clinical Oncology
            Washington, DC: May 1979.

     4.     New Approaches to the Evaluation of Neoplastic Lymphoproliferative Disorders, USC Post-
            Graduate Course, “Non-Hodgkin’s Lymphoma”.
            Hawaii: October 1979.

     5.     American Society of Hematology
            "The Clinical Features of T-Cell Versus B-Cell Immunoblastic Sarcoma".
            New Orleans, Louisiana: 12/79.

     6.     Kansas City Society of Internists
            Management of non-Hodgkin's Lymphoma
            Kansas City: 1/30/80.

     7.     American College of Physicians
            New Orleans, Louisiana: 4/80.

     8.     New Approaches to the Evaluation of Neoplastic Lymphoproliferative Disorders
            USC Post-Graduate Course.
            "Clinical Manifestations of B-Cell Lymphomas"
            "Clinical Manifestations of T-Cell Lymphomas"
            "Clinical Manifestations of Immunoblastic Proliferations"
            Hawaii: 10/80.

     9.     American Society of Clinical Oncology
            "Therapeutic Response and Survival in B and T Cell Lymphomas in Relation to Tumor Cell
            Aneuploidy and Proliferative State".
            Washington, D.C.: 5/81.

     10.    University of Southern California Hematopathology Unit and University of Hawaii School of
            Medicine.
            Annual Course of New Approaches to the Evaluation of Neoplastic Lymphoproliferative
            Disorders. "Clinical Manifestations of B-Cell Lymphomas", "Clinical Manifestations of T-Cell
            Lymphomas", "Clinical Manifestations of Immunoblastic Proliferations", "Clinical Aspects of
            Hodgkin's Disease".
            Hawaii: 10/81.

     11.    American Society of Hematology
            Education Session: “Chronic Lymphoid Leukemias”
            San Antonio, Texas: 12/81.

     12.    American Society of Hematology - Small non-Cleaved Follicular Cell Lymphoma: Burkitt
            and non-Burkitt variants in the United States.
            San Antonio, Texas: 12/81.


                                                68
  Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 95 of 145


13.   American Society of Hematology
      "Correlations between tumor cell DNA synthetic fraction and aneuploidy on clinical course
      and response to treatment in non-Hodgkin's lymphoma/leukemia".
      Washington, D.C.: 12/82.

14.   American Society Hematology
      Education Sessions: Chronic Lymphoid Leukemia,
      Washington, D.C.: 12/82.

15.   USC Post-Graduate Course
      "Clinical Manifestations of B-Cell Lymphoma", "Clinical Manifestations of Immunoblastic
      Proliferations", "Clinical Manifestations of T-Cell Lymphomas".
      Williamsburg, Virginia: 5/83.

16.   American Society of Clinical Oncology
      The biology of tumor growth in the non-Hodgkin's lymphoma: A dual parameter flow
      cytometry study of 220 cases.
      San Diego, California: 5/83.

17.   American Psychologic Associational National Convention
      "Compliance with Chemotherapy in Patients with Hematologic Malignancy".
      Anaheim, California: 8/83.

18.   Cancer Day - Sacred Heart General Hospital Medical Center
      Featured Speaker: Clinical Aspects of B-Cell Lymphomas, T-Cell Lymphomas, and
      Immunoblastic Proliferations.
      Eugene, Oregon: 10/83.

19.   USC Hematopathology Unit and University of Hawaii School of Medicine.
      Ninth Annual Course of New Approaches to the Evaluation of Neoplastic
      Lymphoproliferative Disorders.
      "Clinical Manifestations of B-Cell Lymphomas", "Clinical Manifestations of T-Cell
      Lymphomas", and "Clinical Manifestations of Immunoblastic Proliferations".
      Hawaii: 10/83.

20.   27th Annual Clinical Conference
      University of Texas System Cancer Center
      M.D. Anderson Hospital and Tumor Institute
      New Perspective in Human Lymphomas
      "Undifferentiated Lymphomas: Convoluted/Lymphoblastic and Small non-Cleaved"
      November 9-11, 1983.

21.   American Society of Hematology
      Education Session: Chronic Lymphoid Leukemia
      San Francisco, California: 12/83.

22.   American Society of Hematology
      Education Session: Non-Hodgkin's Lymphomas
      San Francisco, California: 12/83.

23.   American Society of Hematology
      Large Non-cleaved Follicular Center Cell Lymphoma:Clinical Features in 53 Patients
      San Francisco, California: 12/83.




                                          69
  Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 96 of 145


24.   American Society of Clinical Oncology
      Phase I Trial of Monoclonal Antibody %101 in Patients with T-cell Malignancies: Preliminary
      Clinical and Pharmocokinetic Observations. Poster session.
      Toronto, Canada: May 1984.

25.   American Society of Clinical Oncology
      Immunoglobulin Synthesis, Natural Cytotoxicity, and Interleukin Production in Homosexual
      Males with Persistent, Generalized Lymphadenopathy and AIDS.
      Toronto, Canada: May 1984.

26.   American Society of Clinical Oncology
      Clinico-pathologic Characteristics of Primary Central Nervous System Lymphoma in
      Patients with Acquired Immunodeficiency Syndrome.
      Toronto, Canada: May 1984.

27.   American Society of Clinical Oncology
      Level of Compliance and Effect of Patient Education on Compliance with Chemotherapy
      Among Patients with Hematologic Malignancy.
      Toronto, Canada: May 1984.

28.   American Federation of Clinical Research
      Reconstitution of T-cell Function in AIDS Patients by use of a Leukocyte-derived
      Endogenous Immunomodulator
      Washington, DC: May 1984.

29.   USC Hematopathology Unit and University of Hawaii School of Medicine.
      Tenth Annual Course of New Approaches to the Evaluation of Neoplastic
      Lymphoproliferative Disorders. "Clinical Manifestations of T-cell Lymphomas",
      "Clinical Aspects of B-cell Lymphomas", "Clinical Aspects of Immunoblastic Proliferations",
      "AIDS: An Oncologists View"
      Maui, Hawaii: October 22-29, 1984.

30.   American Society of Hematology
      Chairman: Education Session on Lymphoma: "Management of Patients with High-Grade
      Lymphomas".
      Miami, Florida: December 2-5, 1984.

31.   American Society of Hematology
      Human T-lymphotrophic retrovirus (HTLV-III) antibody in homosexual men with persistent,
      generalized lymphadenopathy, and with malignant lymphoma"
      Miami, Florida: December 2-5, 1984.

32.   Update in Oncology: University of California, San Diego.
      "Clinical manifestations of T-cell lymphomas"
      San Diego, California: February 19, 1985.

33.   Lymphoproliferative Disorders in Patients at Risk for AIDS. Medical Grand Rounds:
      National Cancer Institute: July 31, 1985.

34.   American Society of Hematology
      Suramin anti-viral therapy for AIDS and AIDS-related lymphomas: Preliminary results.
      New Orleans, Louisiana: December 1985.




                                           70
  Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 97 of 145


35.   American Society of Hematology
      Chairman: Education Session on Lymphoma: "Management of Patients with High-Grade
      Lymphomas".
      New Orleans, Louisiana: December 2-5, 1985.

36.   American Society of Clinical Oncology
      Serial study of HTLV-III antibodies and peripheral blood culture in 86 health care workers,
      employed at a University based AIDS clinic.
      Los Angeles, California: May 6, 1986.

37.   University of Nebraska Medical School
      "Lymphoproliferative disorders in patients at risk for AIDS".
      Omaha, Nebraska: May 22, 1986.

38.   Creighton University School of Medicine
      "Compliance in patients with cancer"
      Omaha, Nebraska: May 22, 1986.

39.   American Society of Hematology
      Natural history of persistent, generalized lymphadenopathy in gay men: Risk of lymphoma
      and factors associated with development of lymphoma.
      San Francisco, California: December 1986.

40.   American Society of Hematology
      Chairman, Education session on Non-Hodgkin's lymphomas.
      San Francisco, California: December, 1986.

41.   Update in Oncology: Scripps Clinic and Research Institute.
      "T-cell lymphoproliferative disorders".
      San Diego, California: February 17, 1987.

42.   Intrascience Research Foundation. AIDS: Facts and Fiction.
      Los Angeles, California: January 22, 1987.

43.   American College of Physicians
      Update: Management of Lymphoma.
      Beverly Hilton Hotel
      Beverly Hills, California: Feb 20, 1987.

44.   AIDS: Group W Radio, Live presentation
      Los Angeles, California: 3/26/87

45.   American Society of Clinical Oncology
      Natural history of HIV infection among a cohort of homosexual men from Los Angeles.
      Atlanta, Georgia: May, 1987.

46.   Update in Oncology: Scripps Clinic and Research Foundation
      "Cancer associated with AIDS Update 1988: Lymphoma
      San Diego, California: February 16, 1988.

47.   Cancer Symposium "Update: Lymphoma; Update: Hodgkin's Disease".
      Salishan Lodge
      Oregon: March 11-12, 1988.




                                            71
  Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 98 of 145


48.   Oncology Update: Albert Einstein School of Medicine
      "Cancers Associated with AIDS". Sheraton Grande Hotel
      New York City, NY: March 18, 1988.

49.   IVth International Conference on AIDS: Response to HIV-immunogenic in patients with
      ARC.
      Stockholm, Sweden: June 15, 1988.

50.   American Society of Hematology
      HIV positive high or intermediate grade lymphoma: Prognostic factors related to survival.
      New Orleans: 12/88.

51.   Update on Oncology: Scripps Clinic and Research Foundation
      Treatment of low grade and high grade lymphomas.
      San Diego, California: February 21, 1989.

52.   Visiting Professor, University of Kansas
      Lymphoma and Cancers in AIDS.
      Kansas City, Missouri: March 30-31, 1989.

53.   American College of Physicians
      Malignant Complications of AIDS.
      San Francisco, California: April 12, 1989.

54.   Annual meeting of Quality Assurance/Utilization Review Association: AIDS.
      Lake Tahoe: April 13, 1989.

55.   Medical Student Forum on AIDS (national). University of Arizona
      AIDS: Therapeutic approaches.
      Tucson, Arizona: April 16, 1989.

56.   Keynote address: Changing Face of Medical Education. Western Division of AAMC.
      Asilomar, California: April 23, 1989.

57.   Education session. American Society of Clinical Oncology, Cancers in AIDS.
      San Francisco, California: May 2, 1989.

58.   American Society of Clinical Oncology. Low dose chemotherapy with early CNS
      prophylaxis and Zidovudine in AIDS related lymphoma.
      San Francisco, California: May 22, 1989.
59.   Laboratory of Tumor Cell Biology, NIH/NCI: Lymphoma in AIDS: Etiologic mechanisms.
      Bethesda, Maryland: August 24, 1989.

60.   American Society of Hematology. Low Dose chemotherapy with CNS prophylaxis and
      Zidovudine maintenance for AIDS related lymphoma.
      Atlanta, Georgia: December 4, 1989.

61.   Keynote Speaker: University of Nevada Medical School: Management of the HIV infected
      patient.
      Reno, Nevada: 9/29/89.

62.   American College of Physicians, Annual Meeting.
      Cancer in AIDS
      Chicago, Illinois: 4/24/90.




                                           72
  Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 99 of 145


63.   American Society of Clinical Oncology.
      Meet the Professor Session
      Washington D.C.: 5/20/90.

64.   Plenary Session. Lymphoma in AIDS. NIAID, AIDS Clinical Trials Groups.
      Bethesda, Maryland: 7/11/90.

65.   Organizer and speaker: AIDS-lymphoma Workshop: National Cancer Institute, Bethesda,
      Maryland: 5/10-12/92

66.   Special Seminar: AIDS-related malignancies. American Association for Cancer Research
      San Diego, California: 5/22/92.

67.   Cancer Symposium: AIDS related lymphoma. Copley Cancer Center
      Aurora, Illinois: 4/22/92.

68.   AIDS related lymphoma. Washington University School of Medicine
      St. Louis, Missouri: 4/16/92.

69.   American Society of Clinical Oncology: Meet the Professor Session
      San Diego, California: 5/17 and 5/18/92.

70.   Lesbian/Gay National Conference. AIDS. Los Angeles Airport Hilton
      Los Angeles, California: 7/10/92.

71.   National Medical Association. AIDS-related malignancies. Moscone Convention Center,
      San Francisco, California; 8/5/92.

72.   Update on Internal Medicine. USC School of Medicine. HIV vaccines. Kauai, Hawaii:
      8/17-8/19/92.

73.   Academy of Medicine. Rutgers University. Update: HIV Infection. New Jersey: 9/16/92.

74.   University of Miami School of Medicine. AIDS-related Malignancies. Miami, Florida:
      9/17/92.

75.   University of Tennessee. AIDS related malignancy. Memphis, Tennessee: 10/22/92.

76.   American Society of Clinical Oncology. Education Program: HIV. New Orleans, Louisiana:
      10/30/92.

10/92 through 1/95 have been deleted.

77.   American Federation of Clinical Research: Invited plenary address: "AIDS-related
      Cancers". Monterey, California: 2/10/95.

78.   International AIDS Society. Invited Plenary, "AIDS in Women". Los Angeles, California:
      2/11/95.

79.   National Conference on HIV in Women. Keynote address: "AIDS related Malignancy".
      Washington, D.C.: 2/22/95.

80.   American Society of Clinical Oncology. Chair: Education session on AIDS related
      malignancies. Los Angeles, California: 5/20/95.




                                          73
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 100 of 145


81.   Third Annual Western Regional Meeting. UC San Diego. Plenary speaker: "HIV in
      Women". San Diego, California: 9/22/95.

82.   State of Hawaii Conference on HIV/AIDS in Women. Keynote address: "HIV in Women".
      Honolulu, Hawaii: 9/28/95.

83.   American Society of Hematology. "Meet the Investigator". Seattle, Washington: 12/4/95.

84.   AIDS-related malignancies. Oncology Grand Rounds, Emory University, Atlanta, Georgia:
      September 9, 1997.

85.   Public Broadcasting System: Women’s Health Issues. Round Table Discussion, hosted by
      Lauren Hutton. Filmed at National Museum of Women and the Arts, Washington DC:
      September 10, 1997.

86.   HIV disease in women. Symposium in honor of the memory of Constance Wolfsy, M.D.,
      UC San Francisco: September 17, 1997.

87.   Update, HIV disease, 1997: National Conference of Physician Assistants, Palm Springs,
      California: October 24, 1997.

88.   Leptomeningeal involvement in AIDS-lymphoma. Second National AIDS malignancy
      Conference, Bethesda, Maryland: 4/10/98.

89.   Epidemiologic factors associated with development of AIDS-lymphoma. Second National
      AIDS Malignancy Conference, Bethesda, Maryland: 4/10/98.

90.   Bone Marrow Involvement in AIDS-lymphoma: Clinical, immunologic and pathologic
      characteristics. Am Society of Clinical Oncology, Los Angeles, California: May 18, 1998.

91.   HIV disease in women. University of Miami School of Medicine: May 22, 1998.

92.   Update: AIDS-related cancers. Memorial Hospital, Hollywood, Florida: May 21, 1998.

93.   HIV disease in Women, 1998: National Conference of Physicians Assistants. Salt Lake
      City, Utah: May 27, 1998.

94.   Update: HIV Disease. Life Foundation. Honolulu, Hawaii: 7/29/98.

95.   Treatment of Aggressive Lymphomas “Corporate Friday”
      American Society of Hematology, Miami, Florida: 12/4/98
.
96.   Hematologic manifestations of HIV. Baylor University, Houston, Texas: 1/20/99.

97.   Viral-associated lymphomas. MD Anderson Cancer Center, Houston, Texas: 1/21/99.

98.   Group Room, KRLA AM 1110 “Care of the Caregiver”: 2/28/99.

99.   AIDS-related malignancies. American School of Oncology, Atlanta, Georgia: 10/1/99.

100. AIDS: Accomplishments and future goals. Desert AIDS Project, Palm Springs, California:
     2/13/99.

101. Hematologic complications of HIV disease. Tulane University, New Orleans, Louisiana:
     2/18/99.



                                          74
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 101 of 145


102. Group Room, KRLA, AM 1110, “Lymphoma”, Los Angeles, California: 4/18/99

103. Adherence with anti-retroviral medications. University of California at Davis, Sacramento,
     California: 5/2/99.

104. HIV in women. African American Conference on AIDS, Los Angeles, California: 8/4/99.

105. Group Room, KRLA, AM 1110, “Cancer Support”, Los Angeles, California: 8/22/99.

106. AIDS related malignancies. American School of Oncology, Atlanta, Georgia: 10/1/99.

107. Newly described entities in Non-Hodgkin’s lymphoma. Hematology Club, Houston, TX:
     1/19/00.

108. Viral lymphomagenesis. MD Anderson Cancer Center, Houston, TX: 1/20/00.

109. Hematologic manifestations of HIV infection. Baylor University, Houston, TX: 1/20/00.

110. Group Room Radio Show: KRLA, AM 1110, 2-4 pm. National radio call-in show, Los
     Angeles, California: 3/19/00.

111. Newly described entities in non-Hodgkin’s lymphoma. Cleveland Clinic, Grand Rounds,
     Cleveland, Ohio: 4/21/00.

112. Viral oncogenesis. Conference: Clinical care options for HIV/AIDS. Scottsdale, AZ:
     5/6/00.

113. HIV in women. Grand Rounds. Medical Center of Louisiana. New Orleans, Louisiana:
     5/19/00.

114. Group Room Radio Show, KRLA, AM 1110, 2-4 pm, National radio call-in show, Los
     Angeles, California: 6/11/00.

115. Update: HIV in women. New York City, NY: 7/29/00.

116. Distinguished Visiting Professorship, UC Irvine. Irvine, California: August 27-29, 2000.
117. Relationship between mind and body: The art of medicine. Irvine, California: 8/28/00.

119. Grand Rounds, UCI: AIDS-related malignancies. Irvine, California: 8/28/00.

120. Presentation on HIV vaccine work to President Bill Clinton, Oval Office, White House.
     9/22/00.

121. Group Room, National radio show on cancer. Featured guest. 10/8/00.

122. Update: Non-Hodgkin’s lymphoma. Group Room national radio show. Broadcast from
     American Society of Hematology, San Francisco, California: 12/3/00.

123. Group room national radio show on cancer. Featured guest. 2/18/01.

124. HIV in women. University of Hawaii School of Medicine. Honolulu, Hawaii: 3/22/01.

125. AIDS related malignancies. University of Hawaii School of Medicine. Honolulu, Hawiaa:
     3/22/01.




                                          75
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 102 of 145


126. Presentation to Secretary Tommy Thompson, Secretary DHHS, United States DHHS
     offices. Washington, DC: 5/7/01.

127. Group Room Radio Show, AM 1110, “Lymphoma”, Los Angeles, California: 9/30/01.

128. HIV infection. National Religious Education Conference, Catholic Church, Anaheim,
     California: February 16, 2002.

129. Group Room, radio talk show. Lymphoma. February 17, 2002.

130. Anemia associated with HIV and with cancer. Ritz-Carleton Hotel, Miami, Florida: March
     16, 2002.

131. Anemia associated with HIV: Development of guidelines. Regent Beverly Wilshire Hotel,
     Los Angeles, California: April 3, 2002.

132. AIDS related malignancies in the era of HAART. Med Options Conference. Ritz Carlton
     Hotel, Key Biscayne, Florida: April 26, 2002.

133. Anemia in HIV. Roundtable discussion. Doubletree Hotel, Chicago, Illinois: June 1, 2002.

134. Group Room, radio talk show, Lymphoma. July 28, 2002.

135. Malignant disease in HIV infected women. NIH, Doubletree Hotel, Bethesda, Maryland:
     November 25, 2002.

136. Group Room, radio show. Lymphoma. Philadelphia, Pennsylvania: December 7, 2002.

137. AIDS related lymphoma: Update 2003. Pan Pacific Lymphoma Conference. Kona, Maui,
     Hawaii: 7/25/03.

138. Management of mantle cell lymphoma. Pan Pacific Lymphoma Conference, Kona, Maui,
     Hawaii: 7/24/03.

139. Lymphomas associated with infectious organisms. Sansei Restaurant, Honolulu, Hawaii:
     8/5/03.
140. AIDS: State of the Epidemic, 2003. CBS News. 4/25/03.

141. HIV in Women, Update, 2003: McDowell Healthcare, Phoenix, Arizona: 10/2/03.

142. AIDS-related lymphoma: Education Session: American Society of Hematology, San Diego,
     California: 12/7/03.

143. Topoisomerase inhibitors in non-Hodgkin’s lymphoma. American Society of Hematology.
     San Diego, California: 12/7/03.

144. Antisense oliogonucleotide against vascular endothelial growth factor (VEGF): Phase I
     trial. American Society of Hematology, San Diego, California: 12/8/03.

145. Therapeutic options in low grade lymphoma. Challenging Cases in Oncology series.
     NOCR. Four Seasons Hotel, Washington DC: 3/20/04.

146. USC Medical: Two stories of my patients and our patient/doctor relationships. National
     Television, Discovery Health Channel, 2/11/04 and 2/18/04.




                                         76
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 103 of 145


147. Meet the Expert Session: American Society of Hematology. AIDS-related lymphoma. San
     Diego, California: December 4, 2004.

148. Hematologic Manifestations of HIV. National Heme/Onc Update. Scripps Cancer Center:
     February 19, 2005.

149. Recent controversies in AIDS related lymphoma. Invited presentation. American Society of
     Clinical Oncology, Orlando, Florida:. May 15, 2005.

150. HIV is not associated with lung cancer in women. National meeting, NIH/NIAID:
     WIHS/MACS, Arlington, Virginia: May 26, 2005.

151. AIDS related lymphoma. Pan Pacific Lymphoma Conference. Sponsored by the
     University of Nebraska Medical School. Hyatt Hotel, Kauai, Hawaii: July 14, 2005.

152. Pixantrone: New agent with efficacy in relapsed/refractory lymphoma. Pan Pacific
     Lymphoma Conference. Sponsored by the University of Nebraska Medical School. Hyatt
     Hotel, Kauai, Hawaii: July 14, 2005.

153. AIDS related malignancies. State-of-the-Art Symposium. Infectious Disease Society of
     America, 43rd Annual meeting. San Francisco, California: October 6-9, 2005.

154. Evaluation, significance and therapy of anemia. Review Course in Internal Medicine,
     sponsored by Keck School of Medicine, USC. Cabo San Lucas, Mexico: October 21,
     2005.

155. AIDS related malignancies: Paradigm for etiology of many cancers in man. Review Course
     in Internal Medicine, sponsored by Keck School of Medicine, USC. Cabo San Lucas,
     Mexico: October 21, 2005.

156. Controversies in the therapy of patients with AIDS related lymphoma: Symposium,
     Corporate Friday. American Society of Hematology Annual Meeting, Georgia World
     Congress Center, Atlanta, Georgia: December 9, 2005.

157. Targeted therapy in AIDS related malignancies. Invited speaker. Clinical Science
     Symposium. American Society of Clinical Oncology, Atlanta, Georgia: June 6, 2006.

158. AIDS related malignancies. Kansas University Medical Center, Kansas City, Missouri:
     September 21, 2006.

159. AIDS-related lymphoma. Nebraska Lymphoma Study Group. Omaha, Nebraska:
     September 14, 2007.

160. Schwartz Lectureship: Scripps ,AIDS-related malignancies, La Jolla, Calivornia: February
     8, 2007.

161. AIDS related lymphoma. Pan Pacific Lymphoma Meeting. Maui, Hawaii: June 14, 2007.

162. Update: cancer and its therapy. Public symposium, Skirball Center, Los Angeles,
     California: Sept 16, 2007.

163. HIV in women. Women’s symposium, sponsored by City of Hope. Las Vegas, Nevada:
     November 3, 2007.

164. Meet the Expert: American Society of Hematology, Atlanta, Georgia: December 8 and 9,
     2007.


                                         77
      Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 104 of 145


     165. AIDS-related lymphoma. Symposium on Hematologic Malignancy, sponsored by City of
          Hope. Kauai, Hawaii: January 24, 2008.

     166. AIDS-related lymphoma: Visiting Professor, University of Chicago, March 17, 2008.

     167. AIDS-related malignancies. Visiting Professor, University of Chicago, March 18, 2008.

     168. Diffuse large B cell lymphoma: Update 2008. Corporate symposium, American Society of
          Clinical Oncology (ASCO), Chicago, Ilinois: May 30, 2008.

     169. Cancers in HIV infected women. Women’s symposium, sponsored by City of Hope. Las
          Vegas, Nevada: November 1, 2008.

     170. How I treat diffuse large B cell lymphoma. In symposium: How I treat hematologic
          malignancies: Kauai, HI: Sponsored by City of Hope. January 29, 2009.


C.   COMMUNITY PRESENTATIONS

     1.   St. George Society
          University of Southern California
          "Life as a Hematologic Oncologist"
          Los Angeles, California, 3/20/79

     2.   Good Samaritan Hospital
          "Symposium on Non-Hodgkin's Lymphoma: Chemotherapy of Hodgkin's Disease and Non-
          Hodgkin's Lymphoma".
          Los Angeles, California, 4/20/79

     3.   KABC (Channel 2)
          Cancer Documentary
          Burbank, California, 6/25/79

     4.   Los Angeles Society of Dermatology
          "Mycosis Fungoides"
          Los Angeles, California, 11/6/79

     5.   Technical Advisor to film "Promises in the Dark", 1979

     6.   Glendale Adventist Hospital
          "Approach to Hodgkin's Disease”
          Glendale, California, 2/4/80

     7.   American Red Cross
          Lecture on Cancer to Community
          Los Angeles, California, 4/2/80

     8.   Women's Coordinating Council
          Panel Discussion
          Los Angeles, California, 4/25/80

     9.   B'nai Brith
          Award Luncheon
          Pasadena, California, 4/27/80




                                               78
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 105 of 145


10.   C.A.R.E.S.
      "Women in Medicine: 1980"
      Dorothy Chandler Pavilion
      Los Angeles, California, 5/1/80

11.   University of California, Los Angeles
      "Biology of Cancer"
      Los Angeles, California, 5/5/80

12.   Good Samaritan Hospital
      "Management of Non-Hodgkin's Lymphoma"
      Los Angeles, California, 5/21/80

13.   Business and Professional Women
      Sheraton Townhouse
      Los Angeles, California, 8/14/80

14.   Jewish Federation Council
      Guest Speaker
      Encino, California, 10/24/80

15.   MCAP Review Course
      Los Angeles Hilton
      Los Angeles, California, 7/29/80

16.   Huntington Memorial Hospital
      "Non-Hodgkin's Lymphoma"
      Pasadena, California, 7/30/80

17.   Huntington Memorial Hospital
      Lecture on "Lymphoma" to Staff
      Pasadena, California, 8/11/80

18.   Sportsman's Lodge
      Lecture to Staff of Riverside Hospital
      Encino, California, 9/8/80

19.   Loma Linda Community Hospital
      Grand Rounds "Non-Hodgkin's Lymphoma"
      Loma Linda, California, 11/5/80

20.   Desert Hospital
      "Non-Hodgkin's Lymphoma"
      Palm Springs, California, 12/8/80

21.   Tarzana Medical Center
      Grand Rounds, "Acute and Chronic Leukemias"
      Encino, California, 12/19/80

22.   CBS (Channel 2)
      Cancer Documentary, 6/81

23.   Monterey Hospital
      "Approach to Common Hematologic Problems"
      Monterey, California, 7/23/81



                                               79
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 106 of 145


24.   KTLA (Channel 5)
      "Leave it to the Women", 8/81

25.   Kaiser Hospital, Panorama City
      Grand Rounds, "Acute and Chronic Leukemias"
      Panorama City, California, 9/18/81

26.   Tarzana Medical Center
      Grand Rounds--"Chronic Lymphoid Leukemias"
      Encino, California, 9/25/81

27.   Valley Presbyterian Hospital
      Grand Rounds, "Clinical Significance of Newer Lymphomas Classification"
      Van Nuys, California, 9/28/81

28.   University of California, Los Angeles
      Grand Rounds, Department of Internal Medicine
      Los Angeles, California, 11/12/81

29.   Multi-Interest Day
      Guest Speaker, "Life as a Physician"
      Adat Ari El Temple
      North Hollywood, California, 1/13/82

30.   Town and Gown Alumni Association
      University of Southern California
      Guest Speaker
      Los Angeles, California, 1/20/82

31.   Camp Pendleton
      Visiting Professor
      "Lymphoproliferative Disorder"
      Oceanside, California, 2/11/82

32.   Holy Cross Hospital
      Medical Grand Rounds
      "Chronic Lymphoid Leukemias"
      Mission Hills, California, 3/12/82

33.   St. Joseph's Hospital
      Medical Grand Rounds, "Treatment of Non-Hodgkin's Lymphoma"
      Burbank, California, 3/18/82

34.   Doheny Eye Foundation
      University of Southern California
      "Orbital Lymphomas"
      Los Angeles, California, 4/2/82

35.   California Hospital Medical Center
      Medical Grand Rounds
      "Clinical Significance L-C System"
      Los Angeles, California, 7/30/82

36.   LAC-USC Medical Center
      "Diffuse Histiocytic Lymphoma Revisited, 1982"
      7/82


                                           80
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 107 of 145


37.   Harbor General Hospital
      Medical Grand Rounds
      "Non-Hodgkin's Lymphoma"
      Torrance, California, 8/3/82

38.   Good Samaritan Hospital
      Lecture to Tumor Registrars
      Los Angeles, California, 11/22/82

39.   UCLA Medical Center
      Hematology/Oncology Grand Rounds
      "Diffuse Histiocytic Lymphoma"
      Los Angeles, California, 1/83

40.   Trojan Guild
      University of Southern California
      Guest Speaker
      Los Angeles, California, 2/3/83

41.   Memorial Hospital Medical Center,
      --"Acquired Immune Deficiency Syndrome"
      --"Update: Non-Hodgkin's Lymphoma"
      Long Beach, California, 3/83

42.   Peninsula Hospital Medical Center
      -- "Hodgkin's Disease"
      Palos Verdes, California, 3/83

43.   LAC-USC Medical Center
      Internal Medicine Grand Rounds
      "AIDS Syndrome"
      3/16/83

44.   LAC-USC Medical Center
      Internal Medicine Grand Rounds
      "T-Cell Immunoblastic Sarcoma"
      3/30/83

45.   KHJ-TV: Mid-Morning LA
      "AIDS Syndrome"
      5/13/83

46.   Pacific Hospital
      "AIDS Syndrome"
      Long Beach, California, 8/8/83

47.   LAC-USC Medical Center
      Surgery Grand Rounds: "AIDS and Related Disorders”
      8/19/83

48.   Huntington Memorial Hospital
      Medical Grand Rounds
      "Hairy Cell Leukemia"
      Pasadena, California, 9/1/83




                                          81
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 108 of 145


49.   Glendale Memorial Hospital
      "An Oncologist’s View of AIDS"
      Glendale, California, 9/12/83

50.   Medicine Service: VA Hospital, Wadsworth
      AIDS
      Los Angeles, California, 9/30/83

51.   ARCS Scholarship Group
      Lecture on Compliance with Therapy
      Beverly Hills, California, 10/3/83

52.   Granada Hills Community Hospital
      Quarterly Staff Meeting
      AIDS
      Granada Hills, California, 10/4/83

53.   Santa Barbara Society of Internal Medicine
      Monthly Education Meeting
      AIDS: An Oncologist’s View
      Miramar Hotel, Santa Barbara, 1/12/84

54.   Huntington Memorial Hospital
      Medical Grand Rounds: "B-cell Lymphoma in Homosexual Men”
      Pasadena, California, 4/26/84

55.   Women's Hispanic Council
      Formal Presentation Delivered
      4/30/84

56.   LAC-USC Medical Center
      Surgery Grand Rounds
      "Non-Hodgkins Lymphoma"
      5/15/84

57.   Cancer Management Network, USC Cancer Center
      Fum Lum Restaurant
      Non-Hodgkin's Lymphomas
      Universal City, California, 5/15/84

58.   Martin Luther King, Jr. Hospital
      Medical Grand Rounds
      "AIDS: An Oncologist’s Perspective"
      Los Angeles, California, 6/26/84

59.   California College of Acupuncture
      "Biology of Cancer"
      Los Angeles, California, 9/29/84

60.   Rancho Encino Hospital
      "Malignant Lymphoma in Homosexual Men"
      Encino, California, 11/7/84




                                            82
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 109 of 145


61.   Cancer Management Network Annual Conference
      Pasadena Hilton
      "Compliance with Chemotherapy"
      Pasadena, California, 4/24/85

62.   St. Joseph's Hospital Medical Center
      "Lymphoproliferative disorders in patients at risk for AIDS"
      Burbank, California, 5/14/85

63.   Queen of the Valley Hospital
      "AIDS"
      Montebello, California, 5/21/85

64.   Symposium for Community Affiliates,
      USC School of Medicine
      "Lymphoproliferative disorders in AIDS"
      7/19/85

65.   Wilcox Memorial Hospital
      "AIDS"
      Lihue, Kauai, Hawaii, 7/5/85

66.   Huntington Memorial Hospital
      "AIDS: An oncologist's view"
      Pasadena, California, 7/26/85

67.   Encino Community Hospital
      "Lymphoproliferative Disorders in AIDS"
      Encino, California, 1/6/86

68.   California Medical Association,
      Annual Scientific Meeting
      "AIDS"
      Los Angeles, California, 3/31/86

69.   Pacific Hospital
      "AIDS"
      Long Beach, California, 4/10/86

70.   Presbyterian Intercommunity Hospital
      "The Art of Nursing"
      West Covina, California, 5/9/86

71.   Centinela Hospital
      "Cancers associated with AIDS"
      Los Angeles, California, 6/3/86

72.   Glendale Memorial Hospital
      "Lymphomas in AIDS"
      Glendale, California, 6/23/86

73.   Ventura County Medical Center
      "Lymphoma"
      Ventura, California, 9/11/86




                                           83
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 110 of 145


74.   AIDS in the Hispanic Community
      Sponsor: Visiting Nurse Association
      9/18/86

75.   Southern California Council of Rabbis
      AIDS: Facts and Fiction
      Los Angeles, California, 1/20/87

76.   AIDS: Facts and Fiction
      Mental Health Symposium: AIDS Project Los Angeles
      Queen Mary
      Long Beach, California, 2/21/87

77.   AIDS: Facts and Fiction
      Los Angeles County Medical Association, Auxiliary
      Pasadena, California, 2/23/87

78.   Two on the Town: CBS-TV: AIDS in the Heterosexual community
      3/4/87

79.   Physician's Journal Update: Lifetime Cable Network
      AIDS
      3/8/87

80.   AIDS: Good Samaritan
      Hospital Auxiliary
      Los Angeles, California, 3/9/87

81.   AIDS: Facts and Fiction
      Marbourgh School for Girls
      Los Angeles, California, 3/12/87

82.   Riverside County General Hospital
      "Malignancies in AIDS"
      Riverside, California, 3/17/87

83.   Mt Sinai Hospital
      "T-cell lymphomas"
      Toronto, Canada, 4/2/87

84.   California Hospital Medical Center
      "AIDS"
      Los Angeles, California, 4/17/87

85.   Physicians Journal Update
      Lifetime Cable Television
      "ARC"
      4/30/87

86.   Hour Magazine
      Fox Television Studios
      AIDS-related conditions
      6/4/87




                                            84
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 111 of 145


87.   El Centro Human Services, Corp.
      AIDS: Facts and Fiction
      Los Angeles, California, 8/20/87

88.   Hughes Corporation, Management
      AIDS: Facts and Fiction
      9/10/87

89.   Visiting Nurses Association
      Video presentation: AIDS
      Los Angeles, California, 10/5/87

90.   A.I.M.S. Productions
      Video: AIDS: Everything You Should Know
      AM Levine, MD and Whoopi Goldberg
      For national distribution to school districts, etc
      October, 1987

91.   National Charity League, 30th anniversary
      Keynote speaker
      Rolling Hills Estates, California, 11/4/87

92.   Physicians Journal Update
      Lifetime Cable T.V.
      "AIDS"
      3/8/87

93.   Daniel Freeman Medical Center
      "AIDS"
      Los Angeles, California, 5/7/87

94.   Kauai Medical Group
      Continuing Medical Education Series
      New approaches to Dermatology
      "AIDS"
      Lihue, Hawaii, 8/29/87

95.   South Coast Medical Center
      "Lymphoproliferative disorders in AIDS"
      Laguna Beach, California, 9/15/87

96.   City of Hope National Medical Center
      "Ethical Issues related to AIDS"
      Duarte, California, 9/15/87

97.   LAC-USC Medical Center
      Medical Grand Rounds
      "Natural history of HIV infection"
      S9/30/87

98.   Sherman Oaks Community Hospital and Medical Center
      "Cancers in AIDS"
      Sherman Oaks, California, 10/8/87




                                              85
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 112 of 145


99.   UCLA Extension
      "Interferon in hematologic malignancies"
      Los Angeles, California, 11/7/87

100. University of Chicago
     "Interferon in AIDS-KS"
     Chicago, Illinois, 11/11/87

101. Alumni Day
     USC School of Dentistry
     Sheraton Grande Hotel
     "AIDS"
     Los Angeles, California, 11/20/87

102. Los Angeles Radiological Society
     Century Plaza Hotel
     "AIDS"
     Los Angeles, California, 1/30/88

103. Oncology Video Journal (PBS)
     HIV Infection
     3/8/88

104. Physician's Journal Update
     Lifetime TV (Cable)
     Management of pain in cancer patients
     Channel 28 (PBS)
     3/20/88

105. Physicians Journal Update
     Lifetime TV (Cable)
     Compliance with chemotherapy
     Channel 28 (PBS)
     3/20/88

106. Clinical Oncology Conference
     "Lymphoma"
     Marina del Rey, California, 3/25/88

107. Physicians Journal Update
     Lifetime TV (Cable)
     HIV Infection
     Channel 28 (PBS)
     3/27/88

108. MD Anderson Hospital
     "Cancers Associated with AIDS"
     Houston, Texas, 4/20/88

109. American Association of Public Administrators
     Metropolitan LA
     AIDS
     LaCuminiere
     Los Angeles, California, 4/21/88




                                           86
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 113 of 145


110. City of Hope National Medical Center
     "AIDS: Cause and Transmission"
     Duarte, California, 4/22/88

111. Museum of Science and Industry
     Teen/AIDS Awareness Day; Keynote Speaker
     500 High School students from LA
     "AIDS: Facts and Fiction"
     4/28/88

112. Kaiser Bellflower
     "AIDS"
     Bellflower, California, 5/4/88

113. Radio WHYY Philadelphia
     1 hour interview: AIDS
     5/12/88

114. Radio WDVT Talk-900
     Carol Saline Show
     1 hour interview: AIDS
     Philadelphia, Pennsylvania, 5/13/88

115. California Emergency Physicians
     "AIDS"
     Rancho Bernardo, California, 6/30/88

116. Channel 13: KTTV
     Lifeline
     AIDS in the Heterosexual Community
     6/15/88

117. California Museum of Science and Industry
     Advisor: AIDS Exhibit
     June, 1988

118. South Coast Hospital
     "AIDS"
     Laguna Beach, California, 7/26/88

119. LAC-USC Medical Center
     Medical Grand Rounds
     Natural History of HIV Infection
     8/10/88

120. Hot Spots in Dermatology
     "AIDS"
     Molokai, Hawaii, 8/22/88

121. St. Judes Hospital
     "AIDS"
     Orange, California, 9/20/88

122. University of Hawaii
     "Clinical Aspects of Lymphoma"
     October, 1988


                                           87
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 114 of 145


123. AIDS Interview
     ABC-TV
     11/24/88

124. Society of Graduate Medical Internists
     "Compliance" and "Update 1988: Lymphoma"
     Los Angeles,California, 12/2/88

125. Medical Grand Rounds
     UCLA: Harbor
     "Cancers Associated with HIV"
     Los Angeles, California, 12/20/88

126. GU Symposium
     Good Samaritan Hospital
     "AIDS"
     Los Angeles, California, 1/19/89

127. Lyman Brewer Surgical Society
     "Lyman Brewer As I Knew Him"
     Los Angeles, California, 1/28/89

128. Orange County Association of Oncology
     "Malignancies Associated with AIDS"
     3/2/89

129. California Medical Association
     "Natural History of HIV Infection"
     Anaheim, California, 3/3/89

130. South Gate High School
     AIDS
     3/4/89

131. Centinella Hospital
     "Cancers in AIDS"
     Los Angeles, California, 4/4/89

132. UCLA Grand Rounds
     "Compliance in patients with malignant disease"
     Los Angeles, California, 4/5/89

133. ICN
     "Cancer In AIDS"
     Pasadena, California, 4/6/89

134. City of Hope National Medical Center
     "AIDS"
     Duarte, California, 9/1/89

135. Riverside County General Hospital
     "Management of the HIV infection patient"
     Riverside, California, 9/14/89




                                          88
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 115 of 145


136. University of Southern California, University Park
     "AIDS"
     Los Angeles, California, 9/13/89

137. UCLA Grand Rounds
     "Malignancies associated with HIV"
     Los Angeles, California, 10/4/89

138. Annual Course on Lymphoproliferative Malignancy
     Lectures: B cell lymphomas/T-cell lymphomas/Malignancies associated with HIV
     infection/Therapy of lymphoproliferative disease/Hodgkin's Disease
     Maui, Hawaii, October 16 – 20, 1989

139. USC School of Pharmacy
     "AIDS: The Facts"
     Los Angeles, California, 11/13/89

140. US Naval Hospital
     "Malignancies in HIV infection"
     San Diego, California, 11/16/89

141. USC School of Medicine
     Orthopedic Grand Rounds
     "AIDS"
     1/13/90

142. National Meeting: Metropolitan Church
     Role of the clergy in the AIDS epidemic
     Keynote speaker
     Houston, Texas, 1/19/90

143. National Teleconferences:
     "AIDS-related Kaposi's sarcoma"
     2/20/90; 4/2/90; 4/16/90; 5/17/90; 5/30/90; 9/13/90;9/27/90

144. Temple Adat Ari-El.
     AIDS. The Facts
     Morning lecture and discussion groups with congregation and children
     Burbank, California, 3/25/90

145. Medical Grand Rounds.
     Ventura County Hospital
     "Lymphoma: Update 1990"
     Ventura, California, 3/29/90

146. Sisterhood. Adat Ari-El
     AIDS
     Valley Village, California, 4/4/90

147. Daniel Freeman Hospital,
     "AIDS"
     Torrance, California, 4/17/90




                                          89
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 116 of 145


148. AIDS Project Los Angeles
     Lecture to volunteer staff
     Update on Therapies for HIV
     4/18/90

149. California Association of Quality Assurance Professionals
     Keynote Address
     Statewide Annual Meeting
     Anaheim, California, 4/19/90

150. Southern California Psychiatric Association
     Keynote Address
     "AIDS"
     Santa Monica, California, 4/21/90

151. Pomona Valley Hospital
     “AIDS”
     Pomona, California, 7/31/90

152. Torrance Hospital Medical Center
     "Lymphoma"
     Torrance, California, 8/8/90

153. Home Care Nursing Association
     "AIDS: Update 1990”
     Palm Springs, California, 9/13/90

154. City of Hope National Medical Center
     "AIDS: Update 1990”
     Duarte, California, 9/14/90

155. AIDS: Overview, Malignancies, psychosocial aspects.
     State of Alaska sponsored symposium
     Anchorage, Alaska, 1/24-1/26/91

156. AIDS: New Therapies
     Centinela Hospital
     Los Angeles, California, 2/22/91

157. AIDS: Current status of vaccine development
     UCLA Symposium
     Los Angeles, California, 3/23/91

158. AIDS: Issues in Transmission
     California Medical Association, District 4.
     Glendale, California, 4/15/91

159. Living Today
     Jane Pauley, Host
     NBC TV - 4/22/91

160. HIV-related Lymphoma
     LAC-USC Medical Center
     Medical Grand Rounds
     5/8/91



                                           90
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 117 of 145


161. Acute and Chronic Leukemia
     Martin Luther King Hospital
     Medical Grand Rounds
     Los Angeles, California, 5/29/91

162. Being Alive
     Medical Update: HIV, delivered to general community audience and televised on cable
     6/3/91

163. Hematopoietic Growth Factors
     St. Vincent’s Medical Center
     Los Angeles, California, 6/10/91

164. AIDS Vision
     Cable TV
     Update: HIV
     6/21/91

165. NcNeil-Leher Report
     Channel 28 (Public TV)
     HIV Vaccine
     6/24/91

166. HIV-related Malignancy
     Hematology Grand Rounds
     LAC/USC Medical Center
     7/5/91

167. Women in AIDS
     Channel 9, KTTV
     Five day series
     July 15-19, 1991

168. Keynote Speaker
     National Conference: Metropolitan Church of Christ
     Phoenix, Arizona, 7/18/91

169. AIDS Project Los Angeles
     News briefing
     1/9/92

170. AIDS Interfaith Council
     AIDS
     Los Angeles, California, 1/9/92

171. Las Floristas
     AIDS
     1/15/92

172. University of Pennsylvania
     AIDS Related Cancers
     Philadelphia, Pennsylvania, 1/23/92




                                           91
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 118 of 145


173. Baylor University School of Medicine
     Update in Oncology
     AIDS Related malignancies
     Snowmass, Colorado, 1/30/92

174. Claremont College
     Lecture Series
     AIDS: Facts and Fiction
     2/6/92

175. Tom Likus Show
     KFI Radio
     AIDS
     2/27/92

176. Home Care Nursing
     AIDS: Update 1992
     Anaheim, California, 2/27/92

177. Centinella Hospital Medical Center
     Ramada Renaissance Hotel
     HIV: Therapeutic aspects
     Los Angeles, California, 2/28/92

178. Life and Times
     Featured piece
     KCET, Channel 28 TV
     4/20/92

179. MUSES
     Support group for California Museum of
     Science and Industry
     Keynote Speaker
     4/30/92

180. Critical Care America
     AIDS Vaccines: Current status and future prospects
     Phoenix, Arizona, 5/3/92

181. Encino Hospital
     HIV: Update 1992
     Encino, California, 5/4/92

182. UCLA-Harbor General Hospital
     Medical Grand Rounds
     HIV-related Cancers
     7/7/92

183. Laguna Beach Community Hospital
     Update: HIV Infection, 1992
     Laguna Beach, California, 8/4/92

184. Infectious Disease Society of Los Angeles
     HIV Vaccines
     Marina del Rey, California, 9/19/92



                                            92
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 119 of 145


185. University of Arizona, Phoenix
     Lymphoma: Update 1992
     10/9/92

186. Napa Symposium on Lymphoma
     AIDS-related Lymphoma
     Use of BMT in Low Grade Lymphoma
     Napa Valley, California, 10/10/92

187. Science Writers News Conference
     AMA
     Marina Del Rey, California, 10/13/92

188. Naval Hospital
     Medical Grand Rounds: Lymphoma
     San Diego, California, 10/14/92

189. Scripps Clinic
     T cell Lymphomas
     La Jolla, California, 10/15/92

190. Francisco Bravo Magnet High School
     AIDS
     Los Angeles, California, 10/20/92

191. Los Angeles Unified School District
     Update: HIV Infection
     Los Angeles, California, 10/27/92

192. Adat Ari-El Temple
     Breast Cancer
     Burbank, California, 11/11/92

193. City of Los Angeles Commission on Women
     HIV in Women
     Hilton Hotel
     Downtown Los Angeles, 11/14/92

194. Huntington Hospital
     Medical Grand Rounds: HIV Vaccine
     Pasadena, California, 11/19/92

195. Midway Hospital
     AIDS-Lymphoma
     Los Angeles, California, 1/20/93

196. Coney Island Hospital, NYC, UNY
     Medical Grand Rounds
     AIDS related Lymphoma
     New York City, New York, 1/21/93

197. Roswell Park Cancer Institute
     AIDS Related Malignancy
     Buffalo, New York, 1/22/93




                                            93
         Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 120 of 145


       198. Glendale Memorial Hospital
            HIV in Women
            Glendale, California, 2/8/93

       199. Kaiser Sunset
            AIDS-Malignancy
            Los Angeles, California, 2/18/93

       200. Cedars Medical Center
            T-cell Lymphoma
            AIDS Related Lymphoma
            Miami, Florida, 3/4 and 3/5/93

NOTE: Discontinued these listings in 3/93 to 1999


       201. South Coast Hospital
            AIDS Update
            Laguna Beach, California, 1/5/99

       202. Cancer and Genetic Counseling
            Symposium on Cancer and the Jewish Family
            Skirball Center
            Los Angeles, California, 1/9/99

       203. St. Vincent’s Medical Center
            Lymphoma: Update 1999
            Los Angeles, California, 2/3/99

       204. Chiron Corporation
            AIDS Related Lymphoma
            Oakland, California, 2/9/99

       205. Phillips Graduate Institute
            HIV in Women
            Sherman Oaks, California, 2/20/99

       206. Phillips Graduate Institute
            Adherence with Anti-Retroviral Medications
            Sherman Oaks, California, 2/20/99

       207. Phillips Graduate Institute
            AIDS Related Cancers
            Sherman Oaks, California, 2/20/99

       208. Presenter: Ribbon of Hope Awards
            Television Arts and Sciences
            Los Angeles, California, 3/13/99

       209. Verdugo Hills Hospital
            Cancer: What’s it all about?
            Glendale, California, 3/18/99

       210. AIDS: Update 1999
            Santa Barbara, California, 4/21/99



                                                 94
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 121 of 145


211. California Institute of Technology
     The Art of Medicine
     Pasadena, California, 4/22/99

212. Ventura County Hematology Roundtable
     AIDS Related Cancers
     Oxnard, California, 4/27/99

213. Los Angeles Board of Supervisors
     HIV in Women
     Los Angeles, California, 5/19/99

214. AIDS
     Lecture to High School students
     Los Angeles, California, 7/29/99

215. Kaiser, Harbor City
     HIV in Women
     Long Beach, California, 10/27/99

216. La Canada High School
     HIV/AIDS
     La Canada, California, 11/18/99

217. Skirball Center
     Cancer Genetics for the Jewish Family
     Los Angeles, California, 12/9/99

218. Care of the Terminally Ill Person
     Hebrew Union College
     Los Angeles, California, 2/3/2000

219. Hebrew Union College (Rabbinical students)
     Spiritual aspects of patient care
     Los Angeles, California, 2/3/00

220. Trojan League
     The art of medicine
     San Diego, California, 2/9/00

221. Medical Update Session to Community: HIV/AIDS
     Women’s Interagency HIV Study
     Los Angeles, California, 3/6/00

222. Vantage Productions, PBS filming
     HIV/AIDS: State of the epidemic
     Los Angeles, California, 3/9/00

223. Stop Cancer Executive Committee
     New Advances in Cancer Therapy
     Beverley Hills, California, 6/5/00

224. HIV/AIDS: Update 2000
     HEPP Program for gifted minority high school students
     USC campus
     7/27/00


                                          95
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 122 of 145


225. Community wide medical update: HIV in Women
     Los Angeles, California, 8/7/00

226. Hematologic aspects of HIV infection
     Amgen Corporation
     Los Angeles, California, 8/17/00

227. Relationship Between Mind and Body: The Art of Medicine
     Board of Directors
     University of California-Irvine Cancer Center
     Irvine, California, 8/27/00

228. AIDS-Related Malignancies
     Grand Rounds, University of California
     Irvine, California, 8/28/00

229. Hematologic aspects of HIV disease
     Rose Restaurant
     Irvine, California, 8/28/00

230. Newly described entities in non-Hodgkin’s lymphoma
     Fountain Valley Regional Cancer Center
     Costa Mesa, California, 9/9/2000

231. Update: AIDS related malignancies
     Intercity HIV/AIDS rounds
     Hollywood Roosevelt Hotel
     Hollywood, California, 9/15/2000

232. The ethics of human research
     Faculty of University of Southern California
     Davidson Conference Center
     9/23/00

233. The Art of Medicine
     Norris Auxiliary
     9/27/00

234. Kaiser Symposium
     HIV and pregnancy
     Westin Plaza Hotel
     Costa Mesa, California, 10/20/00

235. The Art of Medicine. Breast Health Day
     University of Southern California, Ritz Carlton Hotel
     Pasadena, California, 10/21/00

236. The Art of Medicine, Keynote speaker
     Wellness Community, Foothills
     Ritz Carlton Hotel
     Pasadena, California, 11/1/00

237. Anemia and HIV disease
     Jeffrey Goodman Clinic
     Los Angeles, California, 11/3/00



                                           96
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 123 of 145


238. Update: Therapy of non-Hodgkin’s lymphoma
     Chop House
     Pasadena, California, 11/16/00

239. Hematologic aspects of HIV disease
     White Memorial Hospital Grand Rounds
     Olive View Medical Center
     Los Angeles, California, 11/17/00

240. HIV/AIDS: Community lecture series
     Hyde Park Elementary School
     South Central Los Angeles, California, 11/18/00

241. Overview and update: Non-Hodgkin’s lymphoma
     Whittier Presbyterian Community Hospital
     Whittier, California, 11/21/00

242. HIV in women
     Torrance Memorial Hospital
     Torrance, California, 3/9/01

243. HIV in Women
     University of Hawaii, School of Medicine
     Honolulu, Hawaii, 3/21/01

244. AIDS Related Malignancies
     University of Hawaii, School of Medicine
     Honolulu, Hawaii, 3/22/01

245. Community Lecture Series
     USC/University Hospital: What is cancer, and what’s new in our ability to treat it?
     Doheny Hospital, USC Campus
     Los Angeles, California, 5/3/01

246. Update: HIV in Women. Keynote address
     Prototypes, Marina Beach Marriott Hotel
     Marina Del Rey, California, 5/17/01

247. Infectious Etiology of Malignant Disease. Society of Medical Internists
     USC School of Medicine
     Los Angeles, California, 5/18/01

248. Update: HIV disease. Association of Prevention/Infection Consortia
     Good Samaritan Hospital
     Los Angeles, California, 5/22/01

249. Community lecture series: Medical Update: HIV in Women
     AIDS Healthcare Foundation
     Los Angeles, California, 5/22/01

250. The Art of Medicine
     Trojan Leagues
     Descanso Gardens
     La Canada, California, 5/24/01




                                           97
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 124 of 145


251. Invited speaker: Clinical years of Medical School
     San Antonio Winery, Invited by Year II Class
     USC School of Medicine
     Los Angeles, California, 5/25/01

252. Monoclonal antibody therapy for non-Hodgkin’s lymphoma
     Annual Kaiser Symposium
     Anaheim Hilton Hotel
     Anaheim, California, 6/8/01

253. Healing: The Importance of Hope
     Camp Shalom, Jewish Family Services
     Malibu, California, 6/10/01

254. Update HPV related cancers
     Pinot Hollywood
     Hollywood, California, 6/14/01

255. HIV Infection
     Francisco Bravo High School
     Los Angeles, California, 7/24/01

256. HIV/AIDS
     St. Brigid Church
     South Central Los Angeles, California, 7/28/01

257. Update: Hodgkin’s Lymphoma
     Annual Review of Internal Medicine, Keck School of Medicine
     Maui, Hawaii, 8/13/01

258. HIV Disease in Women
     Annual Review of Ob/Gyn, Keck School of Medicine
     Maui, Hawaii, 8/14/01

259. Infectious Etiology of Non-Hodgkin’s Lymphoma
     Hawaii Cancer Research Center, University of Hawaii
     Honolulu, Hawaii, 8/21/01

260. HIV/AIDS
     Community Advisory Meeting, Keck School of Medicine
     Los Angeles, California, 9/28/01

261. HIV in Women
     Women’s Link
     Los Angeles, California, 10/2/01

262. AIDS-Related Cancers
     LA Physicians AIDS Forum
     Hollywood, California, 10/4/01

263. HIV in Women
     Special Community Lecture, Ortho Biotech
     San Francisco, California, 10/18/01




                                          98
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 125 of 145


264. HIV in Women
     Grand Rounds, South Coast Hospital
     Laguna Beach, California, 10/30/01

265. HIV in Women
     OB/Gyn Grand Rounds, LAC/USC Medical Center
     Los Angeles, California, 11/30/01

266. Management of High Grade Lymphoma
     American Society of Hematology
     Orlando, Florida, 12/7/01

267. Management of Non-Hodgkin’s Lymphoma in the Elderly
     Grand Rounds, Glendale Adventist Hospital
     Glendale, California, 12/12/01
268. Anemia in HIV Infection: Incidence and Significance
     ICAAC National Meeting
     Chicago, Illinois, 12/16/01

269. Ethics of Medical Care
     Hebrew Union College
     Los Angeles, California, 2/4/02

270. Ethics of Human Research
     Hebrew Union College
     Los Angeles, California, 2/4/02

271. HIV/AIDS: Update 2002
     Skirball Community Health Conference
     Los Angeles, California, 2/23/02

272. Consequences of Anemia in HIV Infected Persons
     ICAAC National Meeting
     Chicago, Illinois, 3/16/02

273. Therapy of High Grade Lymphoma
     Southern California Society of Oncology
     Los Angeles, California, 3/21/02

274. Consequences and Management of Anemia in Patients with Cancer and with HIV/AIDS
     Advisory Board Meeting, Ortho Biotech
     Los Angeles, California, 4/3/02

275. Medical Update: HIV/AIDS in Women
     Community presentation, Women’s Interagency HIV Study
     Los Angeles, California, 4/15/02

276. Malignancies Associated with HIV/AIDS
     Clinical Care Options in HIV Disease
     Key Biscayne, Florida, 4/26/02

277. The Art of Medicine
     Cares Annual Awards Luncheon, LAC/USC Medical Center
     Pasadena, California, 5/2/02




                                        99
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 126 of 145


278. Carotid Intimal Thickening in HIV Infected Women
     Executive Committee Meeting, Women’s Interagency HIV Study
     Bethesda, Maryland, 5/6/02

279. Hope and Healing
     Sherman Oaks Community Hospital Grand Rounds
     Sherman Oaks, California,5/30/02

280. Consequences and Therapy of Anemia in Patients with HIV and Cancer
     Ortho Biotech, Advisory Board
     Chicago, Illinois, 6/1/02

281. Hodgkin’s Disease
     Hoag Cancer Center Grand Rounds
     Newport Beach, California, 6/20/02

282. Highlights from American Society of Clinical Oncology: 2002
     Cancer Care Associates
     Torrance, California, 6/27/02

283. Update: HIV in Women
     Women’s Link
     Inglewood, California, 7/30/02

284. Keynote Speech – 9/11/02 Remembering….
     Mayer Auditorium, HSC
     9/11/02

285. Cancer Research at USC
     Stop Cancer
     Peninsula Hotel
     Beverly Hills, California, 11/12/02

286. Survivor Group: USC/Norris Hospital
     Hope and Healing
     11/19/02

287. HIV in women
     Grand Rounds, OB/Gyn
     LAC/USC Medical Center
     12/20/02

288. Healthcare Crisis in America
     Stephen Wise Temple
     Los Angeles, California, 1/19/03

289. Hope and Healing
     Joint Hadassah and Jewish Federation Education Day
     Palm Springs, California, 2/2/03

290. Hope and Healing
     Valley Beth Shalom Temple
     Encino, California, 2/27/03




                                           100
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 127 of 145


291. HIV/AIDS: Update 2003: HEPP Program
     USC undergraduates
     Pardee Tower, USC
     Los Angeles, California, 7/7/03

292. Lymphoma Secondary to Infectious Organisms
     Medical Grand Rounds
     St Josephs’ Hospital
     Burbank, California, 9/18/03

293. HIV in Women
     Working Wonders
     Palm Springs, California, 8/24/03

294. Aggressive lymphoma: Update in Treatment Options, 2003
     Arnie Mortons of Chicago
     Beverly Hills, California, 9/25/03

295. Medical Update: HIV in Women
     AIDS Healthcare Foundation
     Hollywood, California, 10/2/03

296. Evaluation and Therapy of Anemia
     Symposium for PA’s and NP’s
     Equestrian Center
     Burbank, California, 11/8/03

297. Hope and Healing
     Temple Beth Am
     Burbank, California, 11/23/03

298. HIV/AIDS: Update, 2003
     Medical Grand Rounds
     Holy Cross Hospital
     Mission Hills, California, 11/25/03

299. Leadership: Personal Experiences.
     Graduate course, Medical Education, USC School of Medicine
     Hilton Hotel
     Los Angeles, California, 12/13/03

300. HIV/AIDS: International Perspective
     Claremont-McKenna College
     Claremont, California, 2/12/04

301. Approach to the Chronically Ill Patient
     Rabbinical Students, Hebrew Union College
     Los Angeles, California, 2/17/04

302. Indolent lymphoma: Approach to Therapy
     Lawry’s Restaurant
     Beverly Hills, California, 2/19/04

303. Infectious Etiology of Malignant Lymphoma
     Medical Grand Rounds, White Memorial Hospital
     Los Angeles, California, 3/18/04


                                           101
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 128 of 145


304. Evaluation and therapy of anemia
     JJ's Steakhouse
     Pasadena, California, 3/24/04

305. Management of Indolent Lymphomas, 2004
     Aubergine Restaurant
     Newport Beach, California, 3/25/04

306. HIV/AIDS: Update 2004
     Medical Grand Rounds, Pacific Coast Medical Center
     Laguna Beach, California, 3/30/04

307. Management of Indolent Lymphoma
     Mario’s Restaurant
     Riverside, California, 4/1/04

308. Mechanisms of Hepatitis C Related B Cell Lymphoma
     Scientific Mini symposium
     Comprehensive Cancer Center, USC School of Medicine
     Los Angeles, California, 04/09/04

309. Lymphoma due to infectious organisms
     Medical Grand Rounds
     St Johns Hospital
     Santa Monica, California, 4/1/04

310. Investors meeting; Pixantrone
     CTI Pharmaceuticals
     ASCO
     San Diego, California, 6/6/04

311. Lymphoma due to infectious organisms
     Medical Grand Rounds
     St Vincent’s Hospital
     Los Angeles, California, 6/10/04

312. AIDS related malignancies
     Long Beach, California, 9/9/04

313. Indolent lymphoma
     Redondo Beach, California, 11/11/04

314. AIDS related malignancies
     Medical Grand Rounds, Cedars Sinai Med Center
     Los Angeles, California, 11/23/04

315. AIDS related malignancies
     Medical Grand Rounds
     Olive View Med Center
     Sylmar, California, 11/26/04

316. Investigators Meeting; Pixantrone
     CTI
     San Diego, California, 12/4/04




                                         102
 Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 129 of 145


317. Investors meeting: Pixantrone
     CTI
     San Diego, California, 12/5/04

318. Symposium: New agents in non-Hodgkin's lymphoma
     American Society of Hematology
     San Diego, California, 12/3/04

319. Hematologic manifestations HIV
     SF Society of Pharmacists
     Studio City, California, 2/10/05

320. Update: Lymphoma/Leukemia 2005 – Innovations in Treatment
     Southern California Academy of Clinical Oncology
     Moderator for Pacific Coast teleconference
     Beverly Hills, California, 6/8/05

321. Perspectives on Treatment Options for Indolent Lymphoma
     La Parisienne
     Monrovia, California, 6/30/05

322. Mantle Cell Lymphoma – Oncology Best Practices
     Jonathan’s at Piranos
     Ventura, California, 8/25/05

323. B-Cell Lymphomas – Oncology Best Practices
     Wyndham Bel Age Hotel
     West Hollywood, California, 9/1/05

324. Aggressive Lymphomas
     Comprehensive Blood and Cancer Center
     Bakersfield, California, 11/3/05

325. Update in HIV and AIDS related lymphoma
     2nd Annual Lymphoma Symposium
     Desert Hospital Medical Center
     Zoca Hotel
     Palm Springs, California, 2/3/06

326. Update: Cancer and advances in therapy
     Skirball Center
     Los Angeles, California, 3/19/06

327. Update: B cell lymphoma
     Glendale Memorial Hospital
     Glendale, California, 4/3/06

328. Update: Lymphoma
     Providence/St Josephs Medical Center
     Burbank, California, 4/27/06

329. AIDS related malignancies
     La Mesa Restaurant
     Sponsored by Bristol Meyer Squibb
     Phoenix, Arizona, 4/27/06



                                         103
      Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 130 of 145


     330. HIV and AIDS - Presented to the student body
          Sacred Heart Academy
          La Canada Flintridge, California, 5/25/06

     331. Cancer Update 2006
          Larry Zarian Show
          IMRV TV Channel 26
          Glendale, California, 7/6/06

     332. AIDS: What’s New?
          KPFK Radio
          Hollywood, California, 7/17/06

     333. Update: AIDS-related malignancies
          Ritz
          Newport Beach, California, 9/13/06

     334. Update: Lymphoma
          Pomona Valley Hospital
          Pomona, California, 10/3/06

     335. Update: AIDS-related malignancies
          Providence Hospital
          Mission Hills, California, 10/10/06

     336. Update in treatment for HIV: Panel for media and press
          Universal Hilton Hotel
          Universal City, California, 3/16/07

     337. Update: cancers in women
          Santa Barbara Women’s Festival
          Santa Barbara Community College
          Santa Barbara, California, 3/8/08

     338. AIDS Summit
          Sponsored by Congressman Anthony Portantino and City of Hope
          Duarte, California, 11/11/08

     339. Non-AIDS defining malignancies. AIDS Healthcare Foundation
          Hollywood Presbyterian Hospital
          Los Angeles, California, 6/17/09

     340. Aggressive Lymphomas
          Physicians Education Bureau
          Madeleines Restaurant
          Pasadena, California, 7/9/09


E.   UNIVERSITY SERVICE

      6/25/79           U.S.C. Cancer Information Service Orientation
      11/7/79           to volunteers.
      3/14/80
      7/25/81
      1/30/81
      7/16/81


                                                104
Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 131 of 145


3/10/82
9/79         Formal Presentation: Southern California Lymphoma Group
12/79
3/80
6/80
12/80
3/81
6/81
6/81
10/81
6/82

3/18/80      Lecture to U.S.C. Medical Students after viewing film “Promises in the Dark".
             "Promises in the Dark". Psychosocial aspects of malignant disease.

4/14/80      U.S.C. Tumor Registrars
             "Non-Hodgkin's Lymphoma"

5/8/80       Lecture to Graduating Nursing Students.
12/18/80
5/21/81
12/17/81
5/20/82
12/14/83
5/17/84
5/12/80      Lecture to Nurses at USC Cancer Center

11/6/80      Lecture to "Medical Explorers and Candy Striper Volunteers at LAC/USC
             Medical Center

1/21/81      Good Samaritan Hospital
             "Informed Consent and the Cancer Patient"
             Sponsored by U.S.C. Cancer Center Regional Activities Program

3/11/81      Lecture to U.S.C. Faculty Wives

8/20/81      Guest Speaker at Fund Raising Event for USC Cancer
6/13/82      Associates.

3/24/82      Lecture to Leaders Forum, USC Cancer Center given to Hospital and County
             Administration

5/18/82      USC Post-Graduate Course
             "Cancer: The Personal Aspects"

1/83         Seminar: Art of Medicine, delivered to Family Medicine Elective Course
5/2/83       "The Art of Caring"--Lectures during Nurse Appreciation Week, LAC-USC
             Medical Center

5/4/83       "Patient Compliance with Doctor's Orders"
             Family Medicine Course, USC Medical School

5/16/83      Panel Member: Career alternatives for women in medicine. Women's Faculty
             Group. LAC-USC Medical Center




                                   105
Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 132 of 145


9/18/83      Guest Speaker: Salerni Colegium
             San Diego, California

10/1/83      Update: Norris Cancer Hospital and Research Institute. To: Board of
             Councilors
             University of Southern California
             Palm Springs, California

10/14/83     Lecture to Medical Ethics Course
             USC Main Campus

11/2/83      Lecture to Faculty Wives Group
             USC School of Medicine

11/18/83     Lecture to Dieticians Involved in Cancer Patient Care
             USC School of Medicine

1/12/84      Lecture on New Therapeutics
             LAC/USC Nursing Services
             "Monoclonal Antibodies and Interferons"

2/2/84       Presentation to the Trojan Guild
             USC Norris Cancer Hospital

3/15/84      Featured Speaker, AOA Annual Awards Dinner
             Beverly Hills Hotel
             Beverly Hills, California

9/25/84      Presentation to Cancer Research Associates
             Doheny Eye Institute
             USC School of Medicine

2/16/85      Career Day, USC Medical Alumni Association
             Speaker: Oncology

3/25/85      Trojan League, USC Alumni
             Introduction to oncology, and the Kenneth Norris Cancer Hospital and
             Research Institute

4/29/85      Hour Magazine, subject of Feature Story
             Channel 2, NBC

6/l/85       Keynote speaker, Graduation, LAC-USC School of Nursing, Class 1985:
             Pasadena Civic Auditorium

3/27/85      Health Careers Junior Club (Candy Stripers)
             Featured speaker: "Becoming a doctor"

1/7/86       Trojan League, University of Southern California
             Compliance with Oral Chemotherapy in Patients with AIDS

1/12/86      KTTV-Channel ll. AIDS fund-raising
             "Rock Hudson Retrospective" for USC School of Medicine




                                   106
Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 133 of 145


4/11/86         "Life as a Faculty Member"
                USC Board of Trustees
                Palm Springs, California

4/18/86         Participant, Workshop on Civic and Community Relations
                USC, Los Angeles

6/11/86         Featured Speaker: AIDS. First annual Widney Fellows dinner, USC, Health
                Sciences Campus.

6/26/86         KABC-Channel 7: Hodgkin's Disease. Lifeline with Art Ulene.

7/8/86          The Doctor-Patient Relationship. Lecture to Edmondson summer fellows

8/12/86         Becoming a Doctor. Lecture to Bridge Students, HCOP Program

9/16/86         Compliance with oral chemotherapy in patients with cancer. Lecture to St.
                George Society

9/26/86         For Love of Teaching. Lecture to Kick-off The Campaign, USC

5/28/87         AIDS Research. Lecture to Board of Directors,
                Norris Cancer Hospital and Research Institute

7/30/87         The Doctor-Patient Relationship
                Edmondson Summer Fellowship Program

9/12/87         Board of Councillors, USC School of Dentistry
                AIDS: Facts and Fiction

9/24/87         AIDS. Lecture to lay personnel and employees at USC School of Medicine

10/19-10/23/87 Update on Lymphoproliferative Disorders
               Four lectures delivered. Hawaii. USC and University of Hawaii

11/20/87        AIDS: Facts and Fiction
                Alumni Day, USC Dental School
                Sheraton Grande Hotel, Los Angeles, California

2/5/88          Medicine: The Power of the Art
                The Campaign: Designated Donors
                USC, Main Campus

4/11/88         Norris Hospital
                AIDS Update
                Nursing Staff

4/19/88         Public Relations Officers and Academic Cancer Center
                Bonaventure Hotel

7/27/88         HEPP Program for Minority Students
                Featured Speaker

9/14/88         The AIDS Course
                USC Main Campus
                Undergraduate Course


                                      107
Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 134 of 145


1/25/89      Women's Day: USC
             Collage of Knowledge
             "AIDS"

9/5/90       Oncology Nursing Course
             LAC/USC School of Nursing
             "Hematology Malignancy"

9/11/90      Physician Assistant Board Review Course
             "AIDS"
             USC

9/19/90      AIDS Class
             Undergraduates, USC
             Los Angeles, California

2/15-15/91   Societal Implication of Modern Technology
             Sponsored by USC School of Law

3/16/91      Board of Councillors, USC School of Medicine
             AIDS Research
             La Quinta, Palm Springs

5/14/91      USC Symposium: Opening of USC-University Hospital
             AIDS-related malignancy: What causes cancer in man.
             Los Angeles, California

2/23/92      USC School of Pharmacy
             Hematopoietic growth factors

4/4/92       USC School of Medicine
             Dept of Family Practice
             HIV Infection: Update 1992

4/4/92       USC School of Medicine
             Physician's Assistant Program
             Biltmore Hotel, Long Beach
             AIDS

6/4/92       Staff Assembly
             USC
             AIDS

8/7/92       Doheny Eye Institute
             HIV Infection

9/2/92       LAC/USC School of Nursing
             Hematologic Malignancies

12/6/92      Opening Ceremonies
             AIDS Quilt
             USC School of Medicine

12/16/92     Physician Assistant Board Review Course
             USC School of Medicine
             HIV Infection


                                    108
         Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 135 of 145




NOTE: Listings discontinued in 12/92; too numerous




                                               109
Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 136 of 145




                          Exhibit B
    Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 137 of 145

Dr. Alexandra Levine - Materials Considered List (Hardeman)


                                             Literature
1. American Cancer Society. "Key Statistics for Non-Hodgkin Lymphoma." Last revised Aug. 1,
   2018. https://www.cancer.org/cancer/non-hodgkin-lymphoma/about/key-statistics.html.
2. Andreone,P; Zignego,AL Cursaro,C et al: Prevalence of monoclonal gammopathies in patients
   with Hepatitis C virus infection. Ann Intern Med 1998: 129: 294-98

3. Andreotti G, Koutros S, Hofmann JN, Sandler DP, Lubin JH, et al. Glyphosate Use and Cancer
   Incidence in the Agricultural Health Study. J Natl Cancer Inst. 2018 May 1;110(5):509-516.

4. Arcaini,L; Besson,C; Frigeni,M et al: Interferon-free antiviral treatment in B cell
   lymphoroliferative disorders associated with hepatitis C virus infection. Blood 2016:
   128;2527-2532
5. Armitage,JO; Gascoyne,RD; Lunning,MA; Cavalli,F: Non-Hodgkin lymphoma (Seminar)
   Lancet 2017; 390: 298-310.
6. Austria A, Wu GY. Occult Hepatitis C Virus Infection: A Review. J Clin Transl Hepatol. 2018
   Jun 28;6(2):155-160.
7. Bruix,J; Sherman,M; American Association for the Study of Liver Diseases: Management of
   hepatocellular carcinoma: an update. Hepatology 2011; 53: 1020-2.
8. Canioni D, Michot JM, Rabiega P, Molina TJ, Charlotte F, et al. In Situ Hepatitis C NS3
   Protein Detection Is Associated with High Grade Features in Hepatitis C-Associated B-Cell
   Non-Hodgkin Lymphomas. PLoS One. 2016;11(6):e0156384.
9. Cerhan,JR; Kricker,A Paltiel,O et al: Medical history, lifestyle, family history and
    occupatonial risk factors for diffuse large B cell lymphoma: The InterLymph Non-Hodgkin
    Lymphoma Subtypes Project. J Natl Cancer Inst Monogr 2014; 48: 15-25
10. Chen AY, Zeremski M, Chauhan R, Jacobson IM, Talal AH, et al. Persistence of hepatitis C
    virus during and after otherwise clinically successful treatment of chronic hepatitis C with
    standard pegylated interferon α-2b and ribavirin therapy. PLoS One. 2013;8(11):e80078.
11. Chen,MH; Hsiao,LT; Chiou,TJ et al: High prevalence of occult hepatitis B virus infection in
    patients with B cell NHL. Ann Hematol 2008: 87: 475-4809
12. Chiu BC, Soni L, Gapstur SM, Fought AJ, Evens AM, et al. Obesity and risk of non-Hodgkin
    lymphoma (United States). Cancer Causes Control. 2007 Aug;18(6):677-85.
13. Dal Maso,L and Franceschi,S: Hepatitis C virus and risk of lymphoma and other lymphoid
    neoplasms: A meta-analysis of epidemiologic studies. CEBP 2006; 15: 2078-85
14. Dalia,S; Chavez,J; Castillo,JJ, Sokol,L; Hepatitis B infection increases the risk of NHL: a
    meta-analysis of observational studies. Leuk Res 2013: 37: 1107-1115.
15. De Martel,C; Ferlay,J; Franceschi,S et al: Global burden of cancers attributable to infections in
    2008: a review and synthetic analysis. Lancet Oncol 2012: 13: 607-15
16. De Roos AJ, Zahm SH, Cantor KP, Weisenburger DD, Holmes FF, et al. Integrative
    assessment of multiple pesticides as risk factors for non-Hodgkin's lymphoma among men.
    Occup Environ Med. 2003 Sep;60(9):E11.
17. de Sanjose S, Benavente Y, Vajdic CM, Engels EA, Morton LM, et al. Hepatitis C and non-
    Hodgkin lymphoma among 4784 cases and 6269 controls from the International Lymphoma
    Epidemiology Consortium. Clin Gastroenterol Hepatol. 2008 Apr;6(4):451-8.
    Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 138 of 145




18. Deng,L; Song,Y; Young,KH et al: Hepatitis B virus associated diffuse large B cell lymphoma:
    Unique clinical features, poor outcome, and hepatitis B surface antigen-driven origin.
    Oncotarget 2015: 6: 25061025073
19. Duberg,A S; Nordstrom,M; Torner,A et al: Non-Hodgkin’s lymphoma and other non-hepatic
    malignancies in Swedish patients with Hepatitis C virus infection. Hepatology 2005; 41: 652-
    59
20. Dunleavy. K; Wilson,WH: Appropriate management of molecular subtypes of DLBCL.
    Oncology April, 2014: 326-340.
21. Engels,EA, Cho,ER; Jee,SH: Hepatitis B virus infection and risk of NHL in South Korea: a
    cohort Study. Lancet Oncol 2010: 11: 827-834
22. Environmental Protection Agency, Office of Pesticide Programs. Revised glyphosate issue
    paper: evaluation of carcinogenic potential. 2017 Dec 12.; 12-143.
23. Eriksson M, Hardell L, Carlberg M, Akerman M. Pesticide exposure as risk factor for non-
    Hodgkin lymphoma including histopathological subgroup analysis. Int J Cancer. 2008 Oct
    1;123(7):1657-63.
24. Franzin,F; Efremov,DG; Pozzato,G et al: Clonal B cell expansions in peripheral blood of HCV
    infected patients. British J Haematology; 1995; 90: 548-552
25. Fujiwara K, Allison RD, Wang RY, Bare P, Matsuura K, et al. Investigation of residual
    hepatitis C virus in presumed recovered subjects. Hepatology. 2013 Feb;57(2):483-91.
26. Hardell L, Eriksson M, Lenner P, Lundgren E. Malignant lymphoma and exposure to
    chemicals, especially organic solvents, chlorophenols and phenoxy acids: a case-control study.
    Br J Cancer. 1981;43:169-76.
27. Hermine,O; Lefrere,F Bronowicki,J-P et al: Regression of splenic lymphoma with villous
    lymphocytes after treatment of hepatitis C virus infection. N Engl J Med 2002; 347:89-94
28. Horning,SJ, Hardy,R(1997): Lymphomas: Non-Hodgkin’s. In Everyone’s Guide to Cancer
    Therapy, Revised 3rd Edtiion, Dollinger, Malin; Rosenblaum, Enrest H, and Cable G. editors.
    Andrews McMeel Publish, Kansas City, 1997.
29. Horning,SJ and Hardy,R (2012): Lymphomas: Non-Hodgkin’s. In: Everyone’s Guide to
    Cancer Therapy, Revised 3rd Edition, Dollinger, Malin; Rosenblaum, Ernest H, and Cable,
    Greg, editors. Andrews McMeel Publishing, Kansas City, 1997.
30. Jakobsen,LH; Bogsted,M; Brown,PdN et al: Minimal loss of lifetime for patients with diffuse
    large B cell lymphoma in remission and event free 24 months after treatment: A Danish
    population based study. Journal of Clinical Oncology 2017: 35: 778-784.
31. Kawamura,Y; Ikeda,K; Arase, Y et al: viral elimination reduces incidence of malignant
    lymphoma in patients with hepatitis C. American Journal of Medicine 2007: 120: 1034-41
32. Kitay-Cohen,Y; Amiel,A; Hilzenrat,N et al: Bcl2 rearrangement in patients with chronic
    hepatitis C associated with essential mixed cyroglobulinemia type II. Blood 2000; 96: 2910-13
33. Levine,AM; Shimodaira,S; Lai,MMC: Treatment of HCV related mantle cell lymphoma with
    ribavirin and pegylated interferon alfa. New England J Medicine 2003: 349: 2078-79
34. Machida,K; Cheng,K; Sung,V M-H; Levine,AM, Lai,MMC: Hepatitis C virus infection
    activates the immunologic (type II) isoform of nitric oxice syntase and therby enhances DNA
    damage and mutations of cellular genes. J Virology 2004: 78: 8835-43
35. Machida,K; Cheng,KTH; Sung,VM-H; Levine,AM; Foung,Sl; Lai,MMC: Hepatitis C virus
    induces Toll like receptor 4 expressoin leading to enhanced production of IFN-b and IL-6. J
    Virology 2006: 80: 866-74
    Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 139 of 145




36. Machida,K; Cheng,KTN; Sung,VM-H; Shimodaira,S; Lindsay,KL: Levine,AM; Lai,M-Y;
    Lai,MMC: Hepatitis C virus induces a mutator phenotype: enhanced mutations of
    immunoglbulbin and protoconogenes. Proc National Academy of Science, USA 2004: 1201:
    4262-67.
37. Mahale P, Engels EA, Li R, Torres HA, Hwang LY, et al. The effect of sustained virological
    response on the risk of extrahepatic manifestations of hepatitis C virus infection. Gut. 2018
    Mar;67(3):553-561.
38. Marcucci,F; Mele,A: Hepatitis viruses and non-Hodgkin lymphoma: epidemiology,
    mechanisms of tumorigenesis, and therapeutic opportunities. Blood 2011: 117: 1792-98
39. Marcucci,F; Mele,A; Spada,E et al: High prevalence of hepatitis B virus infection in B cell
    NHL. Haematologica 2006; 91: 554-557
40. McDuffie HH, Pahwa P, McLaughlin JR, Spinelli JJ, Fincham S, et al. Non-Hodgkin's
    lymphoma and specific pesticide exposures in men: cross-Canada study of pesticides and
    health. Cancer Epidemiol Biomarkers Prev. 2001 Nov;10(11):1155-63.
41. Nieters,A; Kallinowski,B; Brennan,P et al: Hepatitis C and risk of lymphoma: Results of the
    European Multicenter Case-Control study EPILYMPH . Gastroenterology 2006; 131: 1879-86
42. Pahwa M, Spinelli JJ, Freeman LB, Demers PA, Blair A, et al. An evaluation of glyphosate use
    and the risk of non-Hodgkin lymphoma major histological sub-types in the North American
    Pooled Project. PowerPoint presented at: International Society for Environmental
    Epidemiology Conference; 2015 Aug 31; São Paulo, Brazil.
43. Pardo M, López-Alcorocho JM, Castillo I, Rodríguez-Iñigo E, Perez-Mota A, et al. Effect of
    anti-viral therapy for occult hepatitis C virus infection. Aliment Pharmacol Ther. 2006 Apr
    15;23(8):1153-9.
44. Pasqualucci,L; Dalla-Fav era,R: Genetics of diffuse large B cell lymphoma. (Review Series):
    Blood 2018; 131; 2307-2319
45. Pearlman BL, Traub N. Sustained virologic response to antiviral therapy for chronic hepatitis C
    virus infection: a cure and so much more. Clin Infect Dis. 2011 Apr 1;52(7):889-900.

46. Penn,I: Cancer is a long-term hazard of immunosuppressive therapy. J Autoimmunity 1: 545-
    558, 1988.
47. Penn,I: Lymphomas complicating organ transplantation. Transplantation Proceedings.
    Volume XV (supp 1): pages 2790-2797, 1979.
48. Ren,W; Ye,X Su,H et al: Genetic landscape of hepatitis B virus associated diffuse large B cell
    lymphoma. Blood 2018: 131: 2670-2681
49. Seeff LB. Sustained virologic response: is this equivalent to cure of chronic hepatitis C?
    Hepatology. 2013 Feb;57(2):438-40.
50. Seeff,LB: Miller,RN; Rabgkin,CS et al: 45 year follow up of HCV infection in healthy young
    adults. Ann Internal Medicine 2000: 132: 105-11.
51. Smith-Palmer J, Cerri K, Valentine W. Achieving sustained virologic response in hepatitis C: a
    systematic review of the clinical, economic and quality of life benefits. BMC Infect Dis. 2015
    Jan 17;15:19.
52. Stallone,DD: The influence of obesity and its treatment on the immune system. Nutr Rev 1994;
    52: 37-50.
    Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 140 of 145




53. Stroffolini,T; Sagnelli,E; Almasio,P etal: Italian Hospitals Collaborating Groups:
    Characteristics of liver cirrhosis in Italy: results from a multicenter national study. Dig Liver
    Dis 2004; 36: 56-60.
54. Su TH. Hepatitis C viral infection increases the risk of lymphoid-neoplasms: a population-
    based cohort study. Hepatol. 2016;63(3):721-30.
55. Sung,VMH; Shimodaira,S; Doughty,AL; Can,H; Yen,B; Lindsay,KL; Levine,AM; Lai,MMD:
    Establishment of B cell lymphoma cell lines persistently infected with Hepatitis C virus in vivo
    and in vitro: the apoptotic effects of virus infection. J Virology 2003: 77: 2134-46
56. Takeshita M, Sakai H, Okamura S, Higaki K, Oshiro Y, et al. Prevalence of hepatitis C virus
    infection in cases of B-cell lymphoma in Japan. Histopathology. 2006 Jan;48(2):189-98.
57. Takeshita M, Sakai H, Okamura S, Oshiro Y, Higaki K, et al. Splenic large B-cell lymphoma in
    patients with hepatitis C virus infection. Hum Pathol. 2005 Aug;36(8):878-85.
58. Vajdic CM, Falster MO, Sanjose S, et al. Atopic disease and risk of non-Hodgkin lymphoma:
    an InterLymph pooled analysis. Cancer Res. 2009 Aug 15; 69(16):6482-6489.
59. Villa,D: Novel antivirals for HCV-associated lymphomas (editorial): Blood 2016: 128: 2482-3

60. Visentini,M; Casato,M; HBV messing with the B cell genome leads to DLBCL. Blood 2018:
    131: 2602-2603
61. Wang F, Xu RH, Han B, Shi YX, Luo HY, et al. High incidence of hepatitis B virus infection
    in B-cell subtype non-Hodgkin lymphoma compared with other cancers. Cancer. 2007 Apr
    1;109(7):1360-4.
62. Wang Y, Wang H, Pan S, Hu T, Shen J, et al. Capable infection of hepatitis B virus in diffuse
    large B-cell lymphoma. J Cancer. 2018;9:1575-81.
63. Weisenburger DD. Pathological Classification of Non-Hodgkin’s Lymphoma for
    Epidemiological Studies. Cancer Research (SIPPL.) 52, 5456s-5465s. 1992 Oct. 1.
64. Wood,DE; Kazerooni,EA; Baum,SL et al: Lung cancer screening, Version 3.2018. J National
    Comprehensive Cancer Network 2018; 16: 412-441.
65. World Health Organization, International Agency for Research on Cancer (IARC). Monograph
    112 (Glyphosate) 2015.
66. World Health Organization, International Agency for Research on Cancer (IARC). Hepatitis B
    virus. IARC Monographs on the Evaluation of Carcinogenic Risks to Humans.
    2012;100(B):93-133.
67. World Health Organization, International Agency for Research on Cancer (IARC). Hepatitis C
    virus. IARC Monographs on the Evaluation of Carcinogenic Risks to Humans.
    2012;100(B):135-68.
68. Zelentz,AD; Gordon,LI; Wierda,WG et al: Diffuse large B cell lymphoma. Version 1.2016: J
    Natl Compr Canc Netw 2016; 14: 196-231
69. Zuckerman,E; Zuckerman,T; Levine, AM et al: Hepatitis C virus infection in patients with B
    cell Non-Hodgkin lymphoma. Ann Internal Medicine 1997: 127: 423-28
70. Zuckerman,E; Zuckerman,T; Sahar,D et al: The effect of antiviral therapy on translocation and
    immunoglobulin gene rearrangement I patients with chronic hepatitis C virus infection Blood
    2001; 97: 1555-1559
Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 141 of 145




                          Exhibit C
    Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 142 of 145




                                  Depositions and Exhibits
Edwin Hardeman Deposition Transcript ( 11/8/2018)
Mary Hardeman Deposition Transcript ( 11/8/2018)
Roger Turk, M.D. Deposition Transcript ( 10/31/2018)
Roger Turk, M.D. Deposition Exhibits 3,4,5,6 (10/31/2018)
Richard Turley, M.D. Deposition Transcript ( 10/30/2018)
Jeffrey Ye, M.D. Deposition Transcript ( 10/30/2018)
                                        Expert Reports
William Fleming, M.D. MDL Report (7/31/2017)
Lorelei Mucci, M.D. MDL Report (7/31/2017)
Lorelei Mucci, M.D. MDL Supplemental Report (12/21/2017)
Chadi Nabhan, M.D. MDL Report (4/28/2017)
Chadi Nabhan, M.D. MDL Supplemental Report (12/1/2017)
Beate Ritz, M.D. MDL Report, (5/1/2017)
Beate Ritz, M.D. MDL Rebuttal Report (8/18/2017)
Beate Ritz, M.D. MDL Supplemental Report (12/21/2017)
Chadi Nabhan M.D. Hardeman Report (11/20/2018)
Andrei Shustov, M.D. Hardeman Report (11/20/2018)
Dennis Weisenburger, M.D. Hardeman Report (11/20/2018)
William Sawyer, Ph.D. Hardeman Report (11/20/2018)
                                      Medical Records
Edwin Hardeman Medical Records (See attached index)
Edwin Hardeman Radiology Imaging (See attached index)
                                    Miscellaneous
Complaint
Plaintiff Fact Sheet
           Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 143 of 145
                                                           Edwin Hardeman
                                                          Medical Records Index


           Provider Info                                                     Bates Range
Internal Revenue Service          Bates Range: Confidential-Hardeman-EHardeman-IRS-000001 - Confidential-Hardeman-EHardeman-IRS-
(RAIVS Team)                      000016
Stop 37106
Attn: RAIVS Team
Fresno, CA 93888
(800) 829-0922

Kaiser Permanente North Valley    Bates Range: Confidential-Hardeman-EHardeman-KPNValley-MD-000001 - Confidential-Hardeman-
(Medical Records Department)      EHardeman-KPNValley-MD-002481
1680 East Roseville Pkwy, Suite   Confidential-Hardeman-EHardeman-KPNValley-MD-002482 - Confidential-Hardeman-EHardeman-KPNValley-
151                               MD-004963
Attn: Legal ROI Department        Confidential-Hardeman-EHardeman-KPNValley-MD-004964 - Confidential-Hardeman-EHardeman-KPNValley-
Roseville, CA 95661               MD-005537
(916) 746-3895




Kaiser Permanente North Valley    Bates Range: Confidential-Hardeman-EHardeman-KPNValley-BD-000001 - Confidential-Hardeman-
(Patient Accounts)                EHardeman-KPNValley-BD-000036
2835 Mitchell Drive, Suite 200
Walnut Creek, CA 94598
(925) 979-7534


Kaiser Permanente Oakland         Bates Range: Confidential-Hardeman-EHardeman-KPOMC-RD-000001 - Confidential-Hardeman-EHardeman-
Medical Center                    KPOMC-RD-000001
(Radiology Department)
280 West MacArthur Blvd.
Oakland, CA 94611
(510) 752-1000

Kaiser Permanente Oakland         Bates Range: Confidential-Hardeman-EHardeman-KPOMC-PD-000001 - Confidential-Hardeman-EHardeman-
Medical Center                    KPOMC-PD-000001
(Pathology Department)
275 West MacArthur Blvd.
Oakland, CA 94611
(510) 752-6187

Kaiser Permanente San Francisco Bates Range: Confidential-Hardeman-EHardeman-KPSFMC-RD-000001 - Confidential-Hardeman-EHardeman-
Medical Center                  KPSFMC-RD-000001
(Radiology Department)
3200 Arden Way
Sacramento, CA 95825
(415) 833-2000

Kaiser Permanente San Francisco Bates Range: Confidential-Hardeman-EHardeman-KPSFMC-PD-000001 - Confidential-Hardeman-EHardeman-
Medical Center                  KPSFMC-PD-000001
(Pathology Department)
350 St. Joseph Ave. 134A
San Francisco, CA 94118
(415) 833-3778
             Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 144 of 145
                                                        Edwin Hardeman
                                                       Medical Records Index

Kaiser Permanente Santa Rosa   Bates Range: Confidential-Hardeman-EHardeman-KPSRosaMC-MD-000001 - Confidential-Hardeman-
Medical Center                 EHardeman-KPSRosaMC-MD-000823
(Medical Records Department)
401 Bicentennial Way
Hospital-1st Floor
Santa Rosa, CA 95403
(707) 571-3741


Kaiser Permanente Santa Rosa   Bates Range: Confidential-Hardeman-EHardeman-KPSRosaMC-PD-000001 - Confidential-Hardeman-
Medical Center                 EHardeman-KPSRosaMC-PD-000001
(Pathology Department)
401 Bicentennial Way
Pathology Dept.
Santa Rosa, CA 95403
(707) 571-4000

Kaiser Permanente Santa Rosa   Bates Range: Confidential-Hardeman-EHardeman-KPSRosaMC-RD-000001 - Confidential-Hardeman-
Medical Center                 EHardeman-KPSRosaMC-RD-000003
(Radiology Department)         Confidential-Hardeman-EHardeman-KPSRosaMC-RD-000004 - Confidential-Hardeman-EHardeman-
401 Bicentennial Way           KPSRosaMC-RD-000004
Santa Rosa, CA 95409           Confidential-Hardeman-EHardeman-KPSRosaMC-RD-000005 - Confidential-Hardeman-EHardeman-
(707) 571-4000                 KPSRosaMC-RD-000036

Plaintiff Fact Sheet           Bates Range: Confidential-Hardeman-EHardeman-PFS-000001 - Confidential-Hardeman-EHardeman-PFS-
                               000012
                               Confidential-Hardeman-EHardeman-PFS-000013 - Confidential-Hardeman-EHardeman-PFS-000024
                               Confidential-Hardeman-EHardeman-PFS-000025 - Confidential-Hardeman-EHardeman-PFS-000026


Plaintiff Produced Records     Bates Range: Confidential-Hardeman-EHardeman-PPR-00001 - Confidential-Hardeman-EHardeman-PPR-
                               00869
                               Confidential-Hardeman-EHardeman-PPR-000870 - Confidential-Hardeman-EHardeman-PPR-003887
             Case 3:16-md-02741-VC Document 2589-2 Filed 01/30/19 Page 145 of 145
                                                              Edwin Hardeman
                                                               Radiology Index



       Custodian                 Custodian Info                 Date Of Test           Type Of Test                 Film #
Kaiser Permanente    401 Bicentennial Way         1/12/2009                      US Abdomen (55 imgs.) + Hardeman-EHardeman-
Santa Rosa Medical   Santa Rosa, CA 95409                                        1 doc                   KPSRosaMC-RD-000001CD*
Center
Kaiser Permanente    401 Bicentennial Way         7/31/2009                      US Abdomen B Scan            Hardeman-EHardeman-
Santa Rosa Medical   Santa Rosa, CA 95409                                        Limited (31 imgs.) + 1       KPSRosaMC-RD-000001CD*
Center                                                                           doc
Kaiser Permanente    401 Bicentennial Way         8/22/2014                      US Abdomen B Scan            Hardeman-EHardeman-
Santa Rosa Medical   Santa Rosa, CA 95409                                        Limited (63 imgs.) + 1       KPSRosaMC-RD-000001CD*
Center                                                                           doc
Kaiser Permanente    401 Bicentennial Way         2/3/2015                       CT Soft Tissue Neck w        Hardeman-EHardeman-
Santa Rosa Medical   Santa Rosa, CA 95409                                        Contrast (5 se.) + 2 docs.   KPSRosaMC-RD-000001CD*
Center
Kaiser Permanente    401 Bicentennial Way         2/20/2015                      CT PET Tumor                 Hardeman-EHardeman-
Santa Rosa Medical   Santa Rosa, CA 95409                                        Localization, Skull Base     KPSRosaMC-RD-000001CD*
Center                                                                           to Mid Thigh (4 se.) + 4
                                                                                 docs.
Kaiser Permanente    401 Bicentennial Way         2/20/2015                      CT PET Tumor                 Hardeman-EHardeman-
Santa Rosa Medical   Santa Rosa, CA 95409                                        Localization, Skull Base     KPSRosaMC-RD-000002CD*
Center                                                                           to Mid Thigh (11 se.)

Kaiser Permanente    401 Bicentennial Way         7/10/2015                      CT PET Tumor                 Hardeman-EHardeman-
Santa Rosa Medical   Santa Rosa, CA 95409                                        Localization, Skull Base     KPSRosaMC-RD-000002CD*
Center                                                                           to Mid Thigh (5 se.) + 4
                                                                                 docs.
Kaiser Permanente    401 Bicentennial Way         7/10/2015                      CT PET Tumor                 Hardeman-EHardeman-
Santa Rosa Medical   Santa Rosa, CA 95409                                        Localization, Skull Base     KPSRosaMC-RD-000003CD*
Center                                                                           to Mid Thigh (8 se.)

Kaiser Permanente    401 Bicentennial Way         2/16/2016                      CT Abdomen and Pelvis        Hardeman-EHardeman-
Santa Rosa Medical   Santa Rosa, CA 95409                                        w Contrast (3 se.) + 3       KPSRosaMC-RD-000003CD*
Center                                                                           docs.
Kaiser Permanente    401 Bicentennial Way         2/16/2016                      CT Soft Tissue Neck w        Hardeman-EHardeman-
Santa Rosa Medical   Santa Rosa, CA 95409                                        Contrast (6 se.)             KPSRosaMC-RD-000004CD*
Center
Kaiser Permanente    401 Bicentennial Way         6/20/2017                      CT Chest, Abdomen and        Hardeman-EHardeman-
Santa Rosa Medical   Santa Rosa, CA 95409                                        Pelvis w Contrast (6 se.)    KPSRosaMC-RD-000004CD*
Center                                                                           + 5 docs.
Kaiser Permanente    401 Bicentennial Way         6/20/2017                      CT Chest, Abdomen and        Hardeman-EHardeman-
Santa Rosa Medical   Santa Rosa, CA 95409                                        Pelvis w Contrast (1 se.)    KPSRosaMC-RD-000005CD*
Center
Kaiser Permanente    401 Bicentennial Way         6/28/2017                      CT Soft Tissue Neck w      Hardeman-EHardeman-
Santa Rosa Medical   Santa Rosa, CA 95409                                        Contrast (5 se.) + 5 docs. KPSRosaMC-RD-000005CD*
Center
Kaiser Permanente    401 Bicentennial Way         6/15/2018                      CT Chest, Abdomen and Hardeman-EHardeman-
Santa Rosa Medical   Santa Rosa, CA 95409                                        Pelvis (7 se.) + 6 docs. KPSRosaMC-RD-000005CD*
Center
